Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 1 of 46




                 EXHIBIT J
       Case No. 21-CV-0817-TSZ

          (Exhibit J to Mann Declaration)
                   Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 2 of 46




                             IN ARBITRATION PROCEEDINGS BEFORE JAMS
                                          NO. 5160000075


              BUNGIE, INC.
                                                    EXPERT REPORT OF DREW E. VOTH
              Claimant,                             September 20, 2022

              v.

              AIMJUNKIES.COM; PHOENIX
              DIGITAL GROUP LLC; JEFFREY
              CONWAY; DAVID SCHAEFER;
              JORDAN GREEN; and JAMES MAY

              Respondents.




                                          HIGHLY CONFIDENTIAL
158285939.1




                                             BX143.001
           Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 3 of 46



Expert Report of Drew E. Voth

Table of Contents


I. Nature of Involvement ............................................................................................................................... 3
II. Summary of Opinions .............................................................................................................................. 3
III. Credentials and Compensation................................................................................................................ 4
IV. Facts, Data, and Other Information Considered ..................................................................................... 5
V. Basis for Opinions .................................................................................................................................... 5
   V.1. Background and Parties .................................................................................................................... 5
   V.2 Operative Matter ................................................................................................................................ 9
   V.3 Bungie’s Claimed Intellectual Property ............................................................................................. 9
   V.4 Remedy Calculations ....................................................................................................................... 11
VI. Conclusion ............................................................................................................................................ 12



Exhibits and Schedules


Schedules


Exhibit 1 Curriculum Vitae, including Testimony, Speeches, and Publications of Drew E.
Voth
Exhibit 2 Documents Considered




                                                            HIGHLY CONFIDENTIAL
                                                                 Page 2 of 13




                                                                  BX143.002
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 4 of 46



Expert Report of Drew E. Voth

I. Nature of Involvement



1.     I have been engaged as a damages expert on behalf of Bungie, Inc. ( “Bungie” or
“Claimant”) in this matter versus AimJunkies.com (“AimJunkies”), Phoenix Digital
Group LLC (“Phoenix”), Jeffrey Conway, David Schaefer, Jordan Green, and James May
(or collectively, “Respondents”) to provide my opinions on economic damages in this
matter.


2.     I understand that Claimant has alleged that Respondents are liable for the
following claimed causes of action: circumvention of technological measures (17 U.S.C. §
1201(a)); trafficking in circumvention technology (17 U.S.C. §§ 1201(a)-(b)); breach of
contract; tortious interference; violation of the Washington Consumer Protection Act
(RCW 1986.020); and unjust enrichment.


3.     I offer no opinions on liability, and have necessarily assumed liability for purposes
of any damages calculations.


II. Summary of Opinions


4.     In the event that Respondents are found liable, based on my analysis, education,
training, experience, and review of various evidence as discussed throughout this report
and the accompanying schedules, I have calculated Respondents’ sales revenues of
alleged infringing Destiny 2 products totaling $41,904. I understand it is Respondents’
burden to prove any deductions of cost from this sales revenue measure in the calculation
of Respondents’ profits.


5.     I reserve the right to update and or amend my opinions based on additional
information I receive subsequent to this disclosure.




                                   HIGHLY CONFIDENTIAL
                                        Page 3 of 13




                                      BX143.003
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 5 of 46



Expert Report of Drew E. Voth

III. Credentials and Compensation


6.        I am a Senior Director with Alvarez & Marsal Valuation Services, LLC (“A&M”)
in Seattle, Washington. A&M is a U.S. member firm of Alvarez & Marsal Holdings LLC,
a global tax and business advisory organization. With offices in 30 countries, including
27 offices in the United States, the employees of member and affiliated firms provide tax
and advisory services to private and public clients around the world. My practice
includes valuation, litigation expert witness services, and investigative services. Damages
calculations and other forms of litigation support services are a part of this practice. Over
the past 30 years, I have testified in arbitration, at trial, and in depositions on a variety of
damages matters; I have authored writings and continuing education courses on
damages topics, including co-authoring the book Calculating Damages in Intellectual
Property Matters, 4th Ed., at the request of the American Institute of Certified Public
Accountants; and I have delivered speeches on various economic and damages topics. I
hold an honors degree in Economics and I am a Certified Public Accountant certified in
financial forensics and licensed in Washington, a Certified Valuation Analyst, a Certified
Fraud Examiner, and a Certified Insolvency and Reorganization Advisor certified in
distressed business valuation. I am a member of the American Institute of Certified Public
Accountants, the Association of Certified Fraud Examiners, the Association of Insolvency
Advisors, the National Association of Certified Valuation Analysts, and the Licensing
Executives Society. I have been retained as an expert on numerous occasions to address
commercial damages across a wide variety of industries, including the software and
gaming industries. My curriculum vitae including all prior speeches and publications in
the last 10 years, and testimony within the last four years is included as Exhibit 1 of this
report.


7.        My firm is being compensated for our involvement in this matter based upon our
hourly billing rates. A&M charges clients for my time at an hourly rate of $550, and rates



                                    HIGHLY CONFIDENTIAL
                                         Page 4 of 13




                                        BX143.004
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 6 of 46



Expert Report of Drew E. Voth

for staff working at my direction range from $250 - $900. My firm’s fee is not contingent
upon the outcome of this matter.


IV. Facts, Data, and Other Information Considered


8.      My opinions in this matter are based upon my judgment, training, education, and
expertise in financial and damages analyses, my analysis, as well as my assessment of
documents that have been provided to me, as shown in attached Exhibit 2, or otherwise
referenced in this report. In some cases, where only a portion of a document might be
cited in this report, I reserve the right to rely on the entire document. I may present or
utilize portions of this report and/or the documents I have considered as demonstratives
in support of testimony.


V. Basis for Opinions


       V.1. Background and Parties1


9.      Bungie is a Delaware corporation with its principal place of business at 550 106th
Avenue NE, Suite 207, Bellevue, Washington, 98004-5088.


10.     Bungie is the owner of the popular Destiny franchise including Destiny 2, a
successful shared-world first-person action video game. Destiny (2014) and Destiny 2
(2017) and its expansions (2018, 2019, 2020 and ongoing) have been persistent recipients
or nominees for rewards worldwide since their release. Destiny, Destiny 2, and its
expansions have met with commercial success due in part to their persistent multiplayer
features, matchmaking, cooperative Player vs. Environment (PvE) and Player vs. Player
(PvP) modes, and in-game rewards. Such rewards include items, seals, and titles that are




1 Information per the Demand for Arbitration (“Demand”) or Complaint with Jury Demand

(“Complaint”), both dated June 15, 2021, unless otherwise noted.

                                        HIGHLY CONFIDENTIAL
                                             Page 5 of 13




                                            BX143.005
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 7 of 46



Expert Report of Drew E. Voth

obtainable by players through skillful gameplay and that are visible to other players, this
visibility being an important aspect of the social, always-online nature of the games.


11.    The franchise launched in September 2014 with the release of Destiny. In Destiny,
players are Guardians of the last safe city on Earth, protecting humanity from aliens and
combatting the looming threat of the Darkness, an ongoing threat to humanity. Destiny
has a large community of players. Since its release in 2014, Destiny attracted more than
10 million players worldwide. Post-launch, Bungie supported the growth of Destiny and
the Destiny community by selling downloadable content (“DLC”) expansions with new
content and in-game events that offered challenges, new game modes, and rewards for
its players.


12.    The most recent game in the Destiny franchise, Destiny 2, was released in
September 2017 and builds on the success of the original game. Destiny 2 is now a free-
to-play game with paid expansions, continually refreshed DLC, and a player base
estimated over 30 million players. As with the original Destiny, Bungie continues to offer
new DLC post-launch in Destiny 2 with three major expansions and substantial seasonal
releases, including the most recent expansion, Destiny 2: Beyond Light, which allows
players to harness new powers and explore a new frontier, Europa.


13.    Respondents maintain a website offering video game “mod” and “cheat” products
which give the users of those software products advantages in various video games.2
Respondents developed, advertised, used, and distributed a software cheat that
purported to give players an unfair advantage in Destiny 2. Respondents are alleged to
be infringing Bungie’s intellectual property rights, circumventing technological measures




2 https://www.aimjunkies.com/available-cheats accessed September 13, 2022.



                                      HIGHLY CONFIDENTIAL
                                           Page 6 of 13




                                          BX143.006
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 8 of 46



Expert Report of Drew E. Voth

protecting access to Destiny 2, and breaching and inducing other players to breach
Bungie’s Limited Software License Agreement (“LSLA”).


14.       Cheaters are alleged to be harmful to the continued commercial success of Destiny
2. As a free-to-play game, Destiny 2’s commercial success is dependent upon continued
player engagement, including the purchase of DLC and Destiny 2 expansions. When
cheating occurs, or when there is a perception that players are cheating, then non-
cheating players may become frustrated that cheaters obtain the same rewards and stop
playing and purchasing Claimant’s paid products. I have noted examples of Twitter
comments supporting Claimant’s position such as:3




      




      

15.       I understand Claimant’s expert, Mr. Steven Guris, will opine that cheats such as
those offered by Respondents are harmful to companies like Bungie.


16.       Respondents are alleged to have created, advertised, sold, and distributed cheat
software, including for Destiny 2. Respondents advertised and sold their cheats through
their website, AimJunkies.com. Respondents’ sold their cheat, “Destiny 2 Cheat,” for



3 Taken from a Twitter thread at

https://twitter.com/DestinyBulletn/status/1557495414550568961?ref_src=twsrc%5Etfw on September
13, 2022.

                                     HIGHLY CONFIDENTIAL
                                          Page 7 of 13




                                        BX143.007
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 9 of 46



Expert Report of Drew E. Voth

$34.95/month in most cases. An example of Respondents’ offer to sell the cheat-at-issue
from AimJunkies’ website is shown below:




17.    As of December 4, 2020, Phoenix Digital was listed as the seller of the Destiny 2
cheat software purchased through AimJunkies.


18.    Destiny 2 players who purchase and deploy Respondents’ cheat may be given an
unfair advantage over non-cheating Destiny 2 players. For example, Respondents’
“Destiny 2 Aimbot” claims to automatically aim at enemy players without requiring
input from the cheat user; the “Destiny 2 No Recoil” purports to eliminate recoil from
weapons, allowing the user to stay locked on to his/her enemies; and the “ESP” feature
purportedly allows the cheat user to see players and items through walls, which non-
cheating players cannot do.


                                 HIGHLY CONFIDENTIAL
                                      Page 8 of 13




                                     BX143.008
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 10 of 46



Expert Report of Drew E. Voth

       V.2 Operative Matter


19.     On June 15, 2021, Bungie filed a complaint in Federal Court in Seattle alleging
copyright infringement (17 U.S.C. § 501 et seq., trademark infringement (15 U.S.C. § 1114),
false designation of origin (15 U.S.C. § 1125(a)), in addition to the causes of action noted
above. Bungie filed the Demand for Arbitration in this matter on February 10, 2022,
referring all claims except the intellectual property infringement claims to arbitration.


20.     Respondents allegedly copied and distributed Bungie's copyrighted works in
order to reverse engineer, disassemble, decompile, decrypt, and modify those works
without Bungie's authorization.4


       V.3 Bungie’s Claimed Intellectual Property


21.     I understand that Bungie has asserted the following intellectual property in
relation to this matter:


Copyrights




Trademarks


Bungie owns multiple trademarks associated with the Destiny franchise including but
not limited to DESTINY, DESTINY (& design), DESTINY 2, DESTINY 2: LIGHTFALL,




4 Per the Complaint.



                                   HIGHLY CONFIDENTIAL
                                        Page 9 of 13




                                      BX143.009
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 11 of 46



Expert Report of Drew E. Voth

DESTINY 2: BEYOND LIGHT, and DESTINY 2: THE WITCH QUEEN (the “DESTINY
Marks”).


22.    Bungie began using the DESTINY and DESTINY (& design) marks in commerce
at least as early as February 1, 2013. Since their first use, Bungie has continually used
those marks in connection with video game software.


23.    Bungie also owns United States Patent and Trademark Office (“USPTO”)
Registration No. 4,321,315 for the DESTINY (& design) mark:




24.    Bungie also has pending applications for DESTINY 2: LIGHTFALL (Serial No.

88/955,399), DESTINY 2: BEYOND LIGHT (Serial No. 88/955,392), and DESTINY 2: THE

WITCH QUEEN (Serial No. 88/955,395).

LSLA


25.    By downloading, installing, and/or playing Destiny 2, players accept the terms of
Bungie’s LSLA. If a player does not agree to the LSLA or wishes to reject the terms of the
LSLA, then the player may not install, copy, or use Destiny 2.


26.    Bungie claims it employs a variety of technological protection measures that, in
the ordinary course of their operation, require the application of information, or a process
or a treatment, with the authority of Bungie, to gain access to Destiny 2 and prevent,
restrict, or otherwise limit a player’s ability to access, copy, or modify Destiny 2. At a high
level, the Destiny 2 game client attempts to safeguard critical player data and prevent


                                    HIGHLY CONFIDENTIAL
                                         Page 10 of 13




                                        BX143.010
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 12 of 46



Expert Report of Drew E. Voth

unauthorized reading and writing of this data, as well as unauthorized execution of game
logic. Bungie claims additional measures are taken to prevent otherwise normal game
functionality (e.g. firing a weapon) from being manipulated, misused, or over-used to
gain an unfair advantage.


       V.4 Remedy Calculations


27.     I have calculated compensatory damages in this matter in the form of
Respondents’ profits. In calculating Respondents’ profits, I understand it is Claimant’s
burden to prove Respondents’ sales, and that it is Respondents’ burden to prove any
deductible costs. Based on my analysis of Respondents’ financial data, I have calculated
that Respondents’ sales relating to Destiny 2 products have been $41,904 as follows:


                                           Respondents' Sales

                                                    Number of
                                          Amount   Transactions  Detail
                        Data per PayPal $   21,683         706 Schedule 1
                        Data per Stripe $   20,221         655 Schedule 2
                         Total          $   41,904       1,361



28.     Respondents produced PayPal payment system data for various products in the
file titled PayPal0000034.xlsx, and Stripe payment system data for various products in
the file titled PDG0101.xlsx.5 Based on my analysis of the data in these files, I have
summarized the payment data related only to the Destiny 2 products as shown in
Schedules 1 and 2, excluding sales data for other products not specifically identified as
being related to Destiny 2. Where transaction type information in the data suggested



5 I note that Respondents’ supplemental response to Interrogatory 7 refers to this data as being responsive

to Claimant’s request to “identify all bank accounts, financial accounts, payment processor accounts, or
any other source(s) of funds or accounts owned by Phoenix Digital that are or have been used to process
and/or store funds related the sale of the Cheat Software.”

                                         HIGHLY CONFIDENTIAL
                                              Page 11 of 13




                                             BX143.011
      Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 13 of 46



Expert Report of Drew E. Voth

potential refunds or credits, in order to be conservative I have deducted those amounts
from claimed sales, even though such amounts were not represented in the data as
negative numbers which would normally be expected. Such refunds or credits were
found in the ”amount_refunded” column of data within the Stripe data, and within the
“transaction type” column of data within the PayPal data, for transaction types “Payment
Refund” or “Payment Reversal.”


29.    Sales from the PayPal data span the time period from December 2019 through May
2020. The time period covered by the Stripe data is not apparent in the data provided,
and I have assumed the Destiny 2 sales data contained therein is within the damages
period.


30.    As each sale I have included in my calculations were contained within
Respondents’ sales data explicitly showing Destiny 2 as the product sold, and I have
reviewed AimJunkies.com’s website screenshots such as the one shown previously which
explicitly associated Destiny 2 with cheat at issue, I have reasonably assumed that
Claimants will establish any legally required nexus between Respondents’ sales and
Claimant’s asserted claims.


VI. Conclusion


31.    Based on my work as discussed in this report, in the event that Respondents are
found liable, based on my analysis, education, training, experience, and review of various
evidence as discussed throughout this report and the accompanying schedules,
Respondents’ sales revenues of alleged infringing Destiny 2 products total $41,904.


32.    I understand discovery is ongoing and I reserve the right to update my analyses
and opinions should any new information be received. For example, I understand that
Respondents’ website lists cryptocurrency, specifically Bitcoin, as an avenue for



                                  HIGHLY CONFIDENTIAL
                                       Page 12 of 13




                                      BX143.012
      Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 14 of 46



Expert Report of Drew E. Voth

purchasing cheat software. My review did not include an accounting of cryptocurrency
purchases, and I reserve the right to modify my opinion if those data become available.




I declare under penalty of perjury of the laws of the United States of America that, to the
best of my knowledge, the foregoing is true and correct.




Drew E. Voth




                                  HIGHLY CONFIDENTIAL
                                       Page 13 of 13




                                      BX143.013
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 15 of 46


Bungie v. Aimjunkies et al.                                                                                                                                             Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                         Counterparty Account
Month       Year         Created Date       Item Title                                                         Amount        Transaction Type
                                                                                                                                                         Number
December    2019         12‐17‐2019 11:15:53 e4ad273f58b324927c089d3c783ad33f:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1909331153338865866
December    2019         12‐17‐2019 11:35:41 0ea6f5e4ac3bd0f86883181d8b1157ee:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1977332505615512735
December    2019         12‐17‐2019 12:08:12 dbf6a04c996e847ae58da154630922d4:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1883460860967811756
December    2019         12‐17‐2019 14:48:28 f2ce22224e3cfb2fc58255d47f1e7f1d:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1315385331367608775
December    2019         12‐17‐2019 14:51:38 42c6634d780c4ca15d082a55703526d5:Destiny 2 VIP Access                      24.95 Express Checkout Payment   2305733529545684587
December    2019         12‐17‐2019 16:50:36 ff80b3ddcdf759e85c875c08f4c43106:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1952433737560401665
December    2019         12‐17‐2019 21:32:32 19c55a55277e53498d5a3c0f9ffaac0a:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1987199043767311336
December    2019         12‐18‐2019 00:14:43 483ac2477ad63676b79775b579469f5b:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1736181645104486881
December    2019         12‐18‐2019 00:39:53 24ece332f272bfb89746f2b8d69e0135:Destiny 2 VIP Access                      24.95 Express Checkout Payment   2226378695513473689
December    2019         12‐18‐2019 05:46:48 bb458c76a338f133d7bee36b16e81327:Destiny 2 VIP Access                      12.48 Express Checkout Payment   1876518094899608977
December    2019         12‐18‐2019 08:05:12 f45c54fcca8a777d63e54392c6037920:Destiny 2 VIP Access                      24.95 Express Checkout Payment   2165915656284237290
December    2019         12‐18‐2019 08:42:53 eaee631d07693d1dc27a2bf3200b78da:Destiny 2 VIP Access:                     12.48 Express Checkout Payment   2160985858376756119
December    2019         12‐18‐2019 09:07:20 fb8e15a1fc7eb97d80f4d71643d581f2:Destiny 2 VIP Access                      12.48 Express Checkout Payment   2160985858376756119
December    2019         12‐18‐2019 09:52:07 09370cf9f5f2ae93ce19d5c9dc77c66d:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   2269460612184802527
December    2019         12‐18‐2019 10:29:36 31bc13b5604b2cf07725f100fd34ba9f:Destiny 2 VIP Access                      24.95 Express Checkout Payment   2184658761769828124
December    2019         12‐18‐2019 11:18:56 45ba1b5d8bf1a878668a81909879ac85:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1822272762945281399
December    2019         12‐18‐2019 15:10:17 bc4f0751ed562833304957dc0933329d:Destiny 2 VIP Access                      24.95 Express Checkout Payment   2289858407071686029
December    2019         12‐18‐2019 19:04:34 e5d0cc8d9be915b2889ae5b384e05b2e:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1472012203033822727
December    2019         12‐19‐2019 03:27:25 39e58e80b2e118bdc85332d240e7f271:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1913868991394776362
December    2019         12‐19‐2019 05:26:33 61810e9502f4d538e651bb86a7ea8668:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1794683978576863033
December    2019         12‐19‐2019 07:37:46 ab9875760602a9c8dc08df0b6f060f3d:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1374496557444677395
December    2019         12‐19‐2019 11:53:03 bcf670b736fc82bfbafba367ba527002:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1969482387572908735
December    2019         12‐19‐2019 12:53:56 5dda8ebba70f3ddde3fdee25fd4e9d78:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1179294485646342361
December    2019         12‐19‐2019 19:22:32 fe5fcc1791b64a35b0aa486f0015e1ba:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1190661797282091799
December    2019         12‐19‐2019 20:55:33 cdf187fdaa058b43a658b8107393979c:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1780029895463507463
December    2019         12‐20‐2019 01:28:06 21817f9bc32d6e859613204d3947dc75:Destiny 2 VIP Access                      24.95 Express Checkout Payment   1987727800081360687
December    2019         12‐20‐2019 12:25:25 12164209e9376fe22fa2cd9d2adf4e0a:Destiny 2 VIP Access:                     24.95 Express Checkout Payment   1534062285609383068
December    2019         12‐20‐2019 15:39:57 d785c0b438c658108ceae621152d612d:Destiny 2 VIP Access                      34.95 Express Checkout Payment   2235341050698765169
December    2019         12‐20‐2019 17:48:16 8c95db6424d3dc5ea219115ad6f13caa:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1978050175826976435
December    2019         12‐20‐2019 17:49:52 e9e63acd4f4f21b0c3a872caa3927441:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1978050175826976435
December    2019         12‐20‐2019 23:15:45 923ba7445d3ef706699133ee6bceb9df:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1154269910586285502
December    2019         12‐21‐2019 00:48:11 0eb39463508620461ed17395b2ab8366:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1626113638804955956
December    2019         12‐21‐2019 02:55:54 87cd90d178899a566c041f1453f8d81f:Destiny 2 VIP Access                      17.48 Express Checkout Payment   2160985858376756119
December    2019         12‐21‐2019 05:53:00 f0c76a302c060aac97ea3a0cf643980f:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1546693431605113637
December    2019         12‐21‐2019 05:59:51 b0df93bfb33eb8277fefa62f58e4975d:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2288765187668042739
December    2019         12‐21‐2019 07:07:59 cd98bc2f5a881588811e0e5cf422d851:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1226196019644484320
December    2019         12‐21‐2019 09:51:25 30cd02064095cacbf3a4f95985623e45:Destiny 2 VIP Access                      17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐21‐2019 09:53:48 f957b86750253c1e75f19f299ff0f2f0:Destiny 2 VIP Access                      17.48 Express Checkout Payment   2160985858376756119
December    2019         12‐21‐2019 11:11:53 5fe06a25d88ce2df3da66ab1a3027990:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1511999127480583027
December    2019         12‐21‐2019 11:58:41 73df5aa486c0d0f0b5d30bb38f38ed98:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1754096698047353662
December    2019         12‐21‐2019 13:32:54 577043465d163f573cb972410a99a1c6:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1935591616531214736
December    2019         12‐21‐2019 14:01:45 91ab6a7a862306955bbe6a4a02be7984:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2190666762937065491
December    2019         12‐21‐2019 14:03:01 b9c79a8df66c5de8245b0b413d3ac616:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1965269610037145996
December    2019         12‐21‐2019 16:31:06 fc0954203f74fb875310047ea4a03bce:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2097752432722171325
December    2019         12‐21‐2019 16:38:51 27ccf26735c91b3c3a9a0f98cccccd5b:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2052014366943170506
December    2019         12‐21‐2019 16:50:20 2b52b2a7a14bbb48a77d899e09892f2d:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1500402294169776147
December    2019         12‐21‐2019 18:36:14 071bbd23552d74d1fcbc9aa6a35f0873:Destiny 2 VIP Access                      17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐21‐2019 18:56:15 1cc14c88ff69da7b97980bc41f43565e:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1378227185517853754
December    2019         12‐21‐2019 20:55:40 8af18c05db7659da24471448df8c0024:Destiny 2 VIP Access                      17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐21‐2019 21:00:56 ccb1518af0bee3ceb7e995f9d10eef95:Destiny 2 ESP Only VIP Access:            24.95 Express Checkout Payment   1661375625709379691
December    2019         12‐21‐2019 21:30:21 cdb6d9a5e9a5889e46cb2e5940cee2a5:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2255406085638524806
December    2019         12‐21‐2019 21:39:40 7cc041ff19eb4265dde7595020cf3667:Destiny 2 VIP Access                      34.95 Express Checkout Payment   2265769360195092945
December    2019         12‐21‐2019 23:14:14 cd09932a9ce37a6482dde1f47a7dde91:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1288440428986473248
December    2019         12‐22‐2019 01:04:43 507f453956d7a0110b55159f7047e1eb:Destiny 2 VIP Access                      34.95 Express Checkout Payment   2016629644279815575
December    2019         12‐22‐2019 03:15:53 76d42061ca31878985aad68f9c46bbe7:Destiny 2 VIP Access                      34.95 Express Checkout Payment   2292862505195673370
December    2019         12‐22‐2019 06:01:40 7a151bc6fb08ae5d94d4b27cbe8ed16a:Destiny 2 VIP Access:                     17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐22‐2019 06:34:47 9d5010716c07e9c6b953de5df5dc9216:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1381653085935776910
December    2019         12‐22‐2019 06:38:20 25cb83aaae3a08d3848887ac794ab5dc:Destiny 2 VIP Access:                     17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐22‐2019 07:17:49 401015eea768d6558694a78e86531d9f:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1894488365245427343
December    2019         12‐22‐2019 07:54:02 1651d31963cb55b6237a84415a9ff91f:Destiny 2 VIP Access                      17.48 Express Checkout Payment   2160985858376756119
December    2019         12‐22‐2019 08:43:10 a8e5dd979c52e469c201b99f0cbe10dd:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1651670447707834185
December    2019         12‐22‐2019 14:04:50 c8fbb8b35c66763fdc37d9bdec2fbee7:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1873154313851877296
December    2019         12‐22‐2019 14:14:36 b8f1116db9bcc6c6726eb579ca1a30ac:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2212865149239225551
December    2019         12‐22‐2019 15:32:08 902a728e6b55c64ec3940e41f7a47f6e:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2210354890314387639
December    2019         12‐22‐2019 20:36:33 75d04aa1fc39efb77d975f1a08459e35:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2046056082524713592
December    2019         12‐22‐2019 21:25:04 b817d38bdb6f58db589639fafd6b0623:Destiny 2 VIP Access                      17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐22‐2019 23:38:26 763552d4636d48b3267e0976da55f0c3:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1287762027524127038
December    2019         12‐23‐2019 00:49:41 994694b27a9eae923008089a13f0c607:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1915025740708912535
December    2019         12‐23‐2019 05:07:53 3cbd4469a3d50d7cd13dcef51a145cfb:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1254552668754956128
December    2019         12‐23‐2019 06:38:33 23c5551675dde8abfbbf43acda45a098:Destiny 2 VIP Access:                     17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐23‐2019 06:52:31 34858a05d3fe1053615c54f127a7c83b:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1837806246684132810
December    2019         12‐23‐2019 08:41:48 46d5d6f3a90ae30bca87f60ae333b9fc:Destiny 2 VIP Access:                     17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐23‐2019 09:21:11 44ba8ea3c22b613a7ee7d7a3f99f0b3e:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2056564508369072244
December    2019         12‐23‐2019 14:21:12 fa05a6042fdff7bbccaa8ec116ca777e:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1311797865367666587
December    2019         12‐23‐2019 16:31:52 19bb36401039c08e4868131a4907c33e:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1394368387535758984
December    2019         12‐23‐2019 18:06:40 bf5821e23ff9105f933471685e47f437:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1960205730311604582
December    2019         12‐23‐2019 19:15:48 bb1596ad0a3f80d437c3b8ea42fe5089:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   2252793229360261338
December    2019         12‐23‐2019 21:28:45 ed29b4bebb68f722000a3332b29dc952:Destiny 2 VIP Access                      34.95 Express Checkout Payment   1429572104145929375
December    2019         12‐23‐2019 22:32:40 470de4b957f4fc920b9e8c0736f92f0c:Destiny 2 VIP Access                      34.95 Express Checkout Payment   2024360774866621119
December    2019         12‐23‐2019 23:44:51 4229ec7d65cd28257786baf39ea29ba3:Destiny 2 VIP Access:                     17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐24‐2019 07:20:00 60af33036fd9749cd655a3ebd6683075:Destiny 2 VIP Access                      17.48 Express Checkout Payment   1876518094899608977
December    2019         12‐24‐2019 08:08:08 dd0ee4349d595e36af47e2a8dc0f1fef:Destiny 2 VIP Access:                     34.95 Express Checkout Payment   1692984358706405725




                                                                                          Page 1 of 9




                                                                                  BX143.014
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 16 of 46


Bungie v. Aimjunkies et al.                                                                                                                                       Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                   Counterparty Account
Month       Year         Created Date       Item Title                                                Amount        Transaction Type
                                                                                                                                                   Number
December    2019         12‐24‐2019 12:28:45 1a3592036fb3ab52b1206e9235d03b85:Destiny 2 VIP Access             17.48 Express Checkout Payment         2160985858376756119
December    2019         12‐24‐2019 15:15:29 9afda22fd509aa08d769611eee08bbff:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1990241138701368124
December    2019         12‐24‐2019 19:14:24 50abf57f5486f55f7735adf8069d5738:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐24‐2019 21:48:58 108a5e9999fb9d57c2f0e6e56162f6a3:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐24‐2019 22:11:41 1fc260a599746e0f63d764ac4fee1143:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1812830569098008101
December    2019         12‐24‐2019 23:29:08 12a8f48a5fc0a45ef74071ae79bf75e9:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1391195338429302801
December    2019         12‐25‐2019 00:20:01 89e5a478c179deda97ff651ff5c9048c:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐25‐2019 02:57:40 c45cdd1e269a1831bad65e2f6ea9490a:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐25‐2019 05:16:34 833d7ec9d2a3d8895c94a9f7c3256a11:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1165795666709065848
December    2019         12‐25‐2019 08:07:29 dbb8ee7aa72d389270844d1d0e99de09:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1228250563251532298
December    2019         12‐25‐2019 11:56:04 057f23c2954ae543d810a4ec325bd572:Destiny 2 VIP Access             34.95 Express Checkout Payment         2221689168294319398
December    2019         12‐25‐2019 12:41:31 f4dd025387e2ed8b269fb92b8395d4fc:Destiny 2 VIP Access             17.48 Express Checkout Payment         2160985858376756119
December    2019         12‐25‐2019 16:09:36 b4921b8c0f8f8875f642a42b171df98d:Destiny 2 VIP Access             34.95 Express Checkout Payment         2151515355780342935
December    2019         12‐25‐2019 17:48:12 f2a8261d00dc1c2d12fc53cd73775434:Destiny 2 VIP Access             32.63 Cancellation of Hold for Dispute 1662652410351059055
December    2019         12‐25‐2019 17:11:54 f2a8261d00dc1c2d12fc53cd73775434:Destiny 2 VIP Access             34.95 Express Checkout Payment         1662652410351059055
December    2019         12‐26‐2019 02:54:36 81cf11418f09d46c7d1611c8bb76dd69:Destiny 2 VIP Access             34.95 Express Checkout Payment         1720665868470303538
December    2019         12‐26‐2019 03:58:41 dd85388347b5267f419d995978143cb9:Destiny 2 VIP Access             34.95 Express Checkout Payment         1252534669646433922
December    2019         12‐26‐2019 06:39:29 1aa4c669a576a6a83ce9f059e6e6da4e:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1438956513899444754
December    2019         12‐26‐2019 06:41:42 d9aca1cd64237de0f8b4b56aa291b0f4:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1181871085754845482
December    2019         12‐26‐2019 11:14:04 935086bd2e16c8695af94ad887e28e87:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1422223183616088095
December    2019         12‐26‐2019 11:18:26 f4da4274bc304606618ff36d8c50d074:Destiny 2 VIP Access             34.95 Express Checkout Payment         1417169016469367429
December    2019         12‐26‐2019 11:18:59 bb11500b7f4c7ba6b0b5d2b4486a0563:Destiny 2 VIP Access             34.95 Express Checkout Payment         1242224496939857973
December    2019         12‐26‐2019 11:20:53 335ab60b605b0ee49ea14c79eb146403:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2025113368827898730
December    2019         12‐26‐2019 13:02:02 b67be7b0cc6d39f8fc055b1860fe84a9:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1686049225647086253
December    2019         12‐26‐2019 13:55:07 b1c2eb857eaf4d77dd5348fefb989ee9:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1832994302673887710
December    2019         12‐26‐2019 14:05:59 992c428f09dab81727003b93fdc25be8:Destiny 2 VIP Access             34.95 Express Checkout Payment         1606422821559451643
December    2019         12‐26‐2019 20:54:00 034472561b0d1dc81953c6d90d0eafc2:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐27‐2019 06:07:34 fadcc3ebfed69fa410ac4ed4e1cfad7d:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐27‐2019 07:09:40 196636ba7c1e43dea75091902159766a:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐27‐2019 08:32:43 1899237910df9f6415bd69edf2521016:Destiny 2 VIP Access             34.95 Express Checkout Payment         1413558648044381279
December    2019         12‐27‐2019 08:43:06 6af811b3876b005b64192a5c49b0eb9d:Destiny 2 VIP Access             34.95 Express Checkout Payment         1913868991394776362
December    2019         12‐27‐2019 10:07:25 7ed16a88439081e2984f5136efbe764f:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1925055217454404623
December    2019         12‐27‐2019 12:51:41 5c8cbe98687c864188919dc90a126041:Destiny 2 VIP Access             34.95 Express Checkout Payment         1923356787245013736
December    2019         12‐27‐2019 13:39:37 10e86ffeae0dae5c8a1c86ea78431e41:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2029795596756576874
December    2019         12‐27‐2019 14:04:51 699c0d314cf01142312d96178df583ef:Destiny 2 VIP Access             34.95 Express Checkout Payment         1222704354042093940
December    2019         12‐27‐2019 15:37:12 9b91c6a2e0d4c651ceb8676afcbe59ca:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1225110863156941361
December    2019         12‐27‐2019 18:54:01 75be47749bac0cfb18a57b0040932eae:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1709651095560861517
December    2019         12‐27‐2019 20:28:19 902b3059a635206773ef5d98d0cf9c09:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐27‐2019 22:23:33 5b4a0d3083abc24ed281e2f018e24ed0:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1325474686834557820
December    2019         12‐27‐2019 22:23:33 5b4a0d3083abc24ed281e2f018e24ed0:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1325474686834557820
December    2019         12‐28‐2019 01:24:03 594ae448ab63318f7f7053ff6a2504f0:Destiny 2 VIP Access             34.95 Express Checkout Payment         1599511621091779242
December    2019         12‐28‐2019 04:26:50 af1f048b8e147ea62c04da786b018380:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1530647910122717342
December    2019         12‐28‐2019 13:20:28 95075e6aa523c639759d462df4aa52c4:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1345435278321374524
December    2019         12‐28‐2019 18:48:58 813b35b6f7466f0542179d58594ece1a:Destiny 2 VIP Access             34.95 Express Checkout Payment         1799615798133147496
December    2019         12‐28‐2019 19:48:17 26d1aaad11ece9cadf0d106b3bfdddab:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐29‐2019 00:19:04 80139abbf221cfdcaf3648aacc127aeb:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2016852440001216616
December    2019         12‐29‐2019 02:41:04 f7874009757394b968cfefd90fff17f3:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐29‐2019 02:43:01 91e6827c4392c00b72695980dc41db77:Destiny 2 VIP Access             34.95 Express Checkout Payment         2126534918767750143
December    2019         12‐29‐2019 08:30:02 0881f4de7c2290ce9feb162619235ed9:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2228848352190228899
December    2019         12‐29‐2019 09:20:01 ca48213d7d9a94c2cbd127e8c795f90d:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2124460545079423850
December    2019         12‐29‐2019 03:47:54 8022c24dca03b6be293b750dab30df8f:Destiny 2 VIP Access             32.63 Cancellation of Hold for Dispute 1308551635623455164
December    2019         12‐28‐2019 08:41:19 8022c24dca03b6be293b750dab30df8f:Destiny 2 VIP Access             34.95 Express Checkout Payment         1308551635623455164
December    2019         12‐29‐2019 16:07:10 728c3d70c1465c649a0b85285dc7cf1a:Destiny 2 VIP Access             34.95 Express Checkout Payment         1957861706719428749
December    2019         12‐29‐2019 16:34:49 3e479ee0f679315a4ebd8a375d821bcf:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1896611517091670020
December    2019         12‐29‐2019 18:54:02 f8a6da94307f3868540e2bdea1356a44:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1513407301861999457
December    2019         12‐29‐2019 20:58:27 681790846c5f695ee8c2a94c6dc1c959:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐29‐2019 22:31:34 e5da8b167d5995dd7c67c8a7bce4ac7b:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1961311367275830377
December    2019         12‐30‐2019 02:20:39 62cee156aca4712a4e2dd1b623d70b72:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐30‐2019 03:10:48 8a07153774f7bdef46fb139a41ab517e:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐30‐2019 03:46:42 b43992a437f66acdbd9dc4644b15e670:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐30‐2019 05:53:29 9e9bb32ecaf1aa3773645a69bcabf4fd:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐30‐2019 06:00:03 1ac0fbe369be7ec54a48476ce3c71c72:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1602606606045876447
December    2019         12‐30‐2019 06:11:22 158bbe9fa2b1865c27de9f0d0938e921:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐30‐2019 07:35:36 7728f4e616d9f820963ae0b816e4a7d1:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
December    2019         12‐30‐2019 08:36:07 d428528d5e46f5a0d122fec845e901e5:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1590858009168031850
December    2019         12‐30‐2019 10:49:52 a69b41d92b03954bed67ec4e394457ee:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2268447065828224294
December    2019         12‐30‐2019 14:17:19 c54824c0c7f7637d4bef89ffeda7ca88:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1319789339112966438
December    2019         12‐30‐2019 16:21:52 a7e847771aabee3447d81dec8d356f75:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2002495511059256660
December    2019         12‐31‐2019 00:33:33 935f5d70d66a6a59c671d409b9c2e905:Destiny 2 VIP Access             34.95 Express Checkout Payment         1864057054868772461
December    2019         12‐31‐2019 21:04:08 863de15fa687d0442d2495045bf35865:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐01‐2020 01:11:00 72b676e33363ce90a7743e84880fe7e1:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐01‐2020 03:20:49 37f37d0e145d057d374840c24c023cee:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐01‐2020 05:19:31 a064ccdba22409092cbe8d7b3799b687:Destiny 2 VIP Access             34.95 Express Checkout Payment         2208977694558993346
January     2020         01‐01‐2020 06:57:07 c3cf94aa7b31fd2f3837ba98a3eb67bb:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐01‐2020 07:23:21 ac0227930f2c8d37459470010bb81efa:Destiny 2 VIP Access             34.95 Express Checkout Payment         2084485234149301701
January     2020         01‐01‐2020 10:46:06 f77fd64274f6ee738b79618b659a0372:Destiny 2 VIP Access             34.95 Express Checkout Payment         1816712543112384964
January     2020         01‐01‐2020 10:49:11 52e979e0538de9cf815e37e4727e45b9:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1816712543112384964
January     2020         01‐01‐2020 10:54:08 0aa7fb01f7e890aadd9bcbfeaf28eab7:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1816712543112384964
January     2020         01‐01‐2020 10:59:08 ebddd6095775e0b7e76a3deb020d9eae:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1816712543112384964
January     2020         01‐01‐2020 15:06:51 5a74914ced44d4cf327bf1997ccb6e4b:Destiny 2 VIP Access:            17.48 Express Checkout Payment         2160985858376756119
January     2020         01‐01‐2020 15:07:39 5a74914ced44d4cf327bf1997ccb6e4b:Destiny 2 VIP Access:            17.48 Express Checkout Payment         2160985858376756119
January     2020         01‐01‐2020 15:07:51 5a74914ced44d4cf327bf1997ccb6e4b:Destiny 2 VIP Access:            17.48 Express Checkout Payment         2160985858376756119




                                                                                        Page 2 of 9




                                                                                BX143.015
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 17 of 46


Bungie v. Aimjunkies et al.                                                                                                                                    Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                Counterparty Account
Month       Year         Created Date       Item Title                                                Amount        Transaction Type
                                                                                                                                                Number
January     2020         01‐01‐2020 15:08:31 fcba1e3c947a0b3caf28ce59315129a7:Destiny 2 VIP Access:            17.48 Express Checkout Payment   2160985858376756119
January     2020         01‐01‐2020 17:07:02 cf754ae2e11d6928c41fd81258565685:Destiny 2 VIP Access             34.95 Express Checkout Payment   1899637670616667884
January     2020         01‐01‐2020 18:17:16 f6deffcf4fdcee8b08615dc25be1e6e1:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1809532239033836730
January     2020         01‐01‐2020 20:12:52 b89077b6e57cc30fab514d1ae3b97f09:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1156477191670879291
January     2020         01‐01‐2020 20:22:58 ba99c668956b8f73ab622a129f50eca0:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1704290207357755278
January     2020         01‐01‐2020 20:27:50 13a9f16cf5291d55642bd9705cb0187a:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐01‐2020 21:16:14 6d8bda69cdccc4d2e67c4f8c080979f0:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2101698701373128251
January     2020         01‐01‐2020 21:48:48 4997c090c4064ddbfd0d320b17cdb2ac:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐02‐2020 00:19:40 e26d4df4711b9cdc09df603d1043ad26:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐02‐2020 12:58:46 7acfa48f5ef7b8db20264be2b22ba7e0:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1711793172571604270
January     2020         01‐02‐2020 13:16:35 db2f98365f8938376ce84ffe629e1479:Destiny 2 VIP Access             34.95 Express Checkout Payment   2026370721604854287
January     2020         01‐02‐2020 13:48:26 f3a416b7651d9b5d35c869931025cd5e:Destiny 2 VIP Access             34.95 Express Checkout Payment   1930216137930389197
January     2020         01‐02‐2020 22:35:52 d686faaf0a484b8349c75d26d4100d73:Destiny 2 VIP Access             34.95 Express Checkout Payment   1517188981227564168
January     2020         01‐02‐2020 23:33:29 f3697dc74ad09a3fceb8f65c9c46d699:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐03‐2020 00:12:37 f6d7dd1dcf26327bdcd63e983b77e620:Destiny 2 VIP Access             34.95 Express Checkout Payment   1547009995164989552
January     2020         01‐03‐2020 02:57:17 ba63d0fe9dd2c25981f40f80fb08de41:Destiny 2 VIP Access             34.95 Express Checkout Payment   1649158254045989316
January     2020         01‐03‐2020 02:58:56 c10ad0c26a611fec08f756325a4ab9ac:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1649158254045989316
January     2020         01‐03‐2020 03:49:27 aee6a9f3f011be7f6689b0d5296d4e5d:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1543281046989924763
January     2020         01‐03‐2020 03:49:28 aee6a9f3f011be7f6689b0d5296d4e5d:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1543281046989924763
January     2020         01‐03‐2020 07:53:34 09ac5a4fe7728d5f6926b195c2a27844:Destiny 2 VIP Access             34.95 Express Checkout Payment   2266927967804399784
January     2020         01‐03‐2020 12:03:29 d14a4fbe806dc1faa89d46dea53c3d90:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1937692850320145564
January     2020         01‐03‐2020 13:38:47 5658d7fd8bbe615abc64ff79c60360a3:Destiny 2 VIP Access             34.95 Express Checkout Payment   1457216523844884855
January     2020         01‐03‐2020 15:18:57 0b7b83066c899ff9b41da8826f297168:Destiny 2 VIP Access             34.95 Express Checkout Payment   1945552609801980196
January     2020         01‐03‐2020 15:32:41 f76d1d966ef413e20179ff9365ebbcde:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2002962979149611697
January     2020         01‐03‐2020 17:14:23 0241fdad9d23dea6d61dafc65627789a:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1163438525721912790
January     2020         01‐03‐2020 17:55:08 23a590683a8a26d37f785ff635ba6019:Destiny 2 VIP Access             34.95 Express Checkout Payment   1316086886669400367
January     2020         01‐03‐2020 23:25:41 44ed964d3968e6d3caaad7d5ced8890c:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1261915123540166579
January     2020         01‐04‐2020 00:18:59 b4acbb585bcb94d58af8085b06ec0913:Destiny 2 VIP Access             34.95 Express Checkout Payment   2164477302639795700
January     2020         01‐04‐2020 07:52:54 2cf01077262ab9160f9426192d6a0b3d:Destiny 2 VIP Access             34.95 Express Checkout Payment   1469827071412746085
January     2020         01‐04‐2020 08:52:57 ae4eb3600d842a04bdc583289e50b097:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1472705728227276651
January     2020         01‐04‐2020 15:23:40 ba1e0777e9b9f478e50420931dcf6511:Destiny 2 VIP Access             34.95 Express Checkout Payment   1157955141947900929
January     2020         01‐04‐2020 16:24:23 a46b686a1879be9af16567536a1bedbd:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1655439881702125798
January     2020         01‐04‐2020 17:31:31 8ec0612693a1b93078fd1994033dbb60:Destiny 2 VIP Access             34.95 Express Checkout Payment   1926075868192798485
January     2020         01‐04‐2020 20:17:07 e7ebb9bd969479381d435fcbb0654044:Destiny 2 VIP Access             34.95 Express Checkout Payment   1335806581146055994
January     2020         01‐04‐2020 22:32:21 674c64a554312575e309c6fa53b89b45:Destiny 2 VIP Access             34.95 Express Checkout Payment   1747320825115125571
January     2020         01‐05‐2020 03:17:49 150e990ed7cc3e0dd83013f89c89a458:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐05‐2020 04:01:56 9caf022a1acc0fa06058963f1f99c9e6:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1527921107759664269
January     2020         01‐05‐2020 07:28:50 4a78e3ebd560c1b2a5dca5c917e77317:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1157094580439088343
January     2020         01‐05‐2020 16:53:39 053c76e31daac15f90a3743b2f713937:Destiny 2 VIP Access             34.95 Express Checkout Payment   1458239048751582596
January     2020         01‐05‐2020 19:41:39 06196999649299be76f4dc7cf4236907:Destiny 2 VIP Access             34.95 Express Checkout Payment   1743042778041301656
January     2020         01‐05‐2020 22:54:53 6d61b9a77baaa42d31815dde50859a00:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1886050390550115655
January     2020         01‐06‐2020 03:26:51 519df184f9d6158d45c6e03c98dc9c22:Destiny 2 VIP Access             34.95 Express Checkout Payment   1328470785200767215
January     2020         01‐06‐2020 04:18:34 c9760045573dc8b5a1c8754e00180f1d:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐06‐2020 04:42:15 0b693c2460b529802c700519159574ca:Destiny 2 VIP Access             34.95 Express Checkout Payment   1727883712842225362
January     2020         01‐06‐2020 18:31:19 7ba1816fa5558edf49ed4b9b65746c92:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐07‐2020 02:16:47 3ca749495b993b6cf3b153036db35456:Destiny 2 VIP Access             34.95 Express Checkout Payment   1344635804272049639
January     2020         01‐07‐2020 03:02:45 7db1016e0163fc376486158a1f368efe:Destiny 2 VIP Access             34.95 Express Checkout Payment   1898192796559598359
January     2020         01‐07‐2020 11:10:16 aab620ab3555bc5dce85a1efa4bdb92c:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1587398224244512129
January     2020         01‐07‐2020 12:19:21 a223150c67934169352d822dbd2341bd:Destiny 2 VIP Access             34.95 Express Checkout Payment   1691548984483882956
January     2020         01‐07‐2020 14:14:13 a82ee81552be7d94c059d79102d10bc1:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1222704354042093940
January     2020         01‐07‐2020 23:02:54 832167d8f532c205d36b3a07c60e5765:Destiny 2 VIP Access             34.95 Express Checkout Payment   1241527830293024212
January     2020         01‐08‐2020 03:49:08 968b75a6c8ce4cc061288f317e017810:Destiny 2 VIP Access             34.95 Express Checkout Payment   1374913740705604865
January     2020         01‐08‐2020 11:41:37 4b4394f9efc509c5240e9f59193cf5df:Destiny 2 VIP Access             34.95 Express Checkout Payment   2042088583057854641
January     2020         01‐08‐2020 14:43:21 e624c8f422c314f82ff6d85e948f2116:Destiny 2 VIP Access             34.95 Express Checkout Payment   1429294192633980347
January     2020         01‐08‐2020 14:44:23 d34716322967081bcc60c724823600b0:Destiny 2 VIP Access             34.95 Express Checkout Payment   1429294192633980347
January     2020         01‐08‐2020 14:48:32 d931f143d66a2363089cef9cfb44c9d1:Destiny 2 VIP Access             34.95 Express Checkout Payment   1429294192633980347
January     2020         01‐08‐2020 19:00:50 0ea270209d09017381357e4cd48fe121:Destiny 2 VIP Access             34.95 Express Checkout Payment   1454941371246630829
January     2020         01‐08‐2020 20:30:26 a9d3bb43da84b2dee47711a1dd5ce27a:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1388748973527678958
January     2020         01‐08‐2020 21:02:34 8c20c131245268e09b757d4aba448a61:Destiny 2 VIP Access             34.95 Express Checkout Payment   1671744298464622879
January     2020         01‐09‐2020 00:07:36 01a935637c838ebcdf86fb5c7caedec9:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2183390125829879067
January     2020         01‐09‐2020 00:08:48 66d198aa39b0379e1fe4084527977461:Destiny 2 VIP Access             34.95 Express Checkout Payment   2183390125829879067
January     2020         01‐09‐2020 01:02:47 d759c48d7b021f6d9790bd2e83c7e069:Destiny 2 VIP Access             34.95 Express Checkout Payment   1365357446784136951
January     2020         01‐09‐2020 01:03:51 6e848614b4e831c4143795ff113bfa9c:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐09‐2020 05:51:25 43724b6d9367a2c6c2f7012ed8ac1447:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐09‐2020 11:58:55 863ec47062700fc4e2459a41273855ce:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1740286139093102662
January     2020         01‐09‐2020 12:12:24 dbdf2249fa9d827ff8519b646a70dfc3:Destiny 2 VIP Access             17.48 Express Checkout Payment   2160985858376756119
January     2020         01‐09‐2020 13:05:09 abaf8bf15cbd1560299542eaad28dcdc:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1305363892669696672
January     2020         01‐09‐2020 17:16:02 b3fe9601d5861b618e464cc753503e55:Destiny 2 VIP Access             34.95 Express Checkout Payment   1955304639778862797
January     2020         01‐09‐2020 18:43:40 674bd124d5f46b35937bbb1ae6cf09f9:Destiny 2 VIP Access             34.95 Express Checkout Payment   1322817583026320001
January     2020         01‐10‐2020 00:15:29 892eb262d9aea0b5a75d07610151ee64:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐10‐2020 07:01:51 c1587ad84ed888a678bba55f302c0398:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐11‐2020 00:19:10 38dc004705f2d88165e82bd507cb0c9e:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐11‐2020 08:44:14 010bc6e3f6c89e8f90f12825c7ee41f1:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐11‐2020 15:27:30 a6c4bee78132347b1b7d0e29cefe3c4d:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1453636535429835391
January     2020         01‐11‐2020 18:43:06 50be1c74954439b7bcb69df1c4757d2c:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐11‐2020 22:28:53 caa972fa852dfbbfb352b0ae5a1ad4ad:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐12‐2020 01:24:51 99c77d95ffada2d882acceab52d596ae:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐12‐2020 03:08:41 8a1a6f6b22a9433c829469d7aa49e5b8:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐12‐2020 04:30:18 543d40931544110905d5e765d6d3ac64:Destiny 2 VIP Access             34.95 Express Checkout Payment   1884622333318941503
January     2020         01‐12‐2020 06:43:31 22db30314b5060f68cb90f78d32d47e6:Destiny 2 VIP Access             34.95 Express Checkout Payment   1561931852727976302
January     2020         01‐12‐2020 13:47:37 39ed76a95c36fa77602be5e9045ec675:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1961457018340687563
January     2020         01‐12‐2020 14:28:52 40b4fedc2026ee70b41b15949780e587:Destiny 2 VIP Access             34.95 Express Checkout Payment   1959102920997793705




                                                                                        Page 3 of 9




                                                                                BX143.016
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 18 of 46


Bungie v. Aimjunkies et al.                                                                                                                                               Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                           Counterparty Account
Month       Year         Created Date       Item Title                                                        Amount        Transaction Type
                                                                                                                                                           Number
January     2020         01‐12‐2020 17:12:48 95821f23be5c803e5ea3e0b32cc66398:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1794620636068718116
January     2020         01‐12‐2020 17:32:58 573439cca39f9b2ef51ee65338f9d04d:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1889292839416238919
January     2020         01‐12‐2020 17:49:11 231c0d1c8cc55c63027baa12db4fe0a3:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1554475572659396527
January     2020         01‐12‐2020 18:42:02 47a92fa412b7abe478cb4dcc29333bde:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐12‐2020 21:06:38 aedda7501a8adb8407f8e5b3bdeeeb71:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1390644943932691817
January     2020         01‐13‐2020 08:34:15 e8195d9a49a4695efdec4b74029cb6e7:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐13‐2020 09:42:49 bcd72a9cb9dd593a4634a3065468e79f:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1818077925990647248
January     2020         01‐13‐2020 10:50:27 0cb0c293a9de1affddaff932835e99f8:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1877785044086627283
January     2020         01‐13‐2020 12:46:10 8847dcdf81d50ff5ea58561bb59dc510:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1845476510849184208
January     2020         01‐13‐2020 13:59:47 04d5db3d8247e7f11eed1cdd15e84e62:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1539504800106139899
January     2020         01‐13‐2020 16:20:02 b0e15f1524e63b53f63ded209a801d35:Destiny 2 VIP Access                     34.95 Express Checkout Payment         2044128065813861802
January     2020         01‐13‐2020 18:50:15 20fa0d2b3b392b1dbdf2c6175224fb48:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1340674583781994640
January     2020         01‐13‐2020 21:47:37 e2e7d3e0f4753aa3dddc59e72510afd8:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2024310911824952795
January     2020         01‐13‐2020 22:29:51 a0b1fdd47c3742699e770b6572920bc6:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1875229921749190387
January     2020         01‐13‐2020 22:31:08 e00f3968b7c0b8e344db7dc86d18bd54:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1875229921749190387
January     2020         01‐13‐2020 22:50:24 06578949699563ff49eb99a98ca3c2b2:Destiny 2 VIP Access                     17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐14‐2020 01:16:56 25f9a8cf64c0cb3962e38a90976c5a57:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1169190370231765308
January     2020         01‐14‐2020 02:48:32 2d20a9b806328c80a24c6e6604a00eab:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2162279529098445412
January     2020         01‐14‐2020 03:35:55 0d60a542ca0c244387b59dd6a001ca91:Destiny 2 VIP Access                     34.95 Express Checkout Payment         2160184785089955367
January     2020         01‐04‐2020 12:22:26 8bdd3b4add84e5b2c44bae7897ffffbc:Destiny 2 VIP Access:                    33.15 Cancellation of Hold for Dispute 1279890405223967044
January     2020         01‐14‐2020 12:22:44 8bdd3b4add84e5b2c44bae7897ffffbc:Destiny 2 VIP Access:                    34.95 Payment Reversal                 1279890405223967044
December    2019         12‐31‐2019 23:10:23 8bdd3b4add84e5b2c44bae7897ffffbc:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1279890405223967044
January     2020         01‐15‐2020 05:09:48 51b330f6f85442fc63603c3365cbd357:Destiny 2 VIP Access                     17.48 Express Checkout Payment         2160985858376756119
January     2020         01‐15‐2020 06:17:29 33cce85b63face38ccabd63b01d6ffbc:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐15‐2020 12:53:09 a5a34d9d0314411e79adbc6ee754953e:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐15‐2020 12:53:59 3ba8ecd67365c1e60e8192f5ad0e754e:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐15‐2020 12:59:07 6cf2c449429ec18d664934c490f4ae05:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐15‐2020 13:04:20 2b97cf2b824e355954ae3ec0fc4aad20:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐15‐2020 13:06:35 00842bc79f8c8cf2c50e8d2802507692:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐15‐2020 13:08:06 1cb1d0281bb9ed263a7017c2281f2729:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐15‐2020 13:08:56 0d4f50ecaefadffacddb98e68d2c731c:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐15‐2020 19:50:34 c9bea93513a4581ff9e242ed15a8665e:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1777258463544275343
January     2020         01‐16‐2020 01:28:06 d1ccfd79a508df3ebbdd2ef4486ba2d8:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐16‐2020 13:26:20 da36b79403d76d254f16f74e71ef045f:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1995597340398343042
January     2020         01‐16‐2020 17:05:16 6d5b620fed5a70a34efbfb4f6a8bf6fd:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1653656119948630990
January     2020         01‐16‐2020 17:48:26 dd7d70448bf90cc6f16664c93cbe23f5:Destiny 2 VIP Access                     34.95 Express Checkout Payment         2017336483241655000
January     2020         01‐17‐2020 07:19:59 2dc8696e86b58d15658063b99934d1b0:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1340005763693635393
January     2020         01‐17‐2020 08:57:25 cf470528ca833bb9766e65080afe50fc:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1374677688413785003
December    2019         12‐28‐2019 10:59:35 b24700f9e026a6ded2ef3fbdd16a26f4:Destiny 2 ESP Only VIP Access            23.28 Cancellation of Hold for Dispute 1934283898035656794
December    2019         12‐28‐2019 10:01:48 b24700f9e026a6ded2ef3fbdd16a26f4:Destiny 2 ESP Only VIP Access            24.95 Express Checkout Payment         1934283898035656794
January     2020         01‐17‐2020 14:05:08 9995bc62a8ff1c7f2ee4c38e9d59e3fb:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1799078560479672624
January     2020         01‐18‐2020 01:04:29 26d4f1493e114211b931066a9bff7704:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1365467648664317914
January     2020         01‐18‐2020 03:33:43 95c06877ebc42d19220c7b50ee452ff8:Destiny 2 VIP Access                     17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐18‐2020 08:10:32 097c67595e58ae9d3fa4dcb763f59b2d:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1278367483792189632
January     2020         01‐18‐2020 08:17:25 519d0ba9c8294fde018e6a8cf2b95cce:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐18‐2020 09:44:17 0d5a3f6c3f0fe18c9ef77736aa0f277e:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2143396144933641219
January     2020         01‐18‐2020 12:31:11 d5848f0e1f2b3e8a25526525e8b67579:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1606646418852692784
January     2020         01‐18‐2020 12:48:22 accb3eed8cdb7f39bd0c20d51b66a6c8:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1187127732541100596
January     2020         01‐18‐2020 14:28:06 72ac13d295fb2d8a19de52c3772cfc71:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1298506634847369748
January     2020         01‐19‐2020 00:27:14 316bb707981f0c3826b58c97ef90bca5:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1269932774336412529
January     2020         01‐19‐2020 03:18:13 81d8b2cf8170fa8fb98a61dcebeade64:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐19‐2020 19:20:27 c3ad3da73700f4644dac42a6d4511cee:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1821482323230184558
January     2020         01‐20‐2020 10:16:11 7980b35650b9a489d8b221e13f0408ef:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1714718092522663011
January     2020         01‐20‐2020 15:01:04 675a12ad8b829fe2893ee1c4f344f316:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1347732535761580736
January     2020         01‐20‐2020 16:24:51 97f7fd738c3717dafdec57989086e699:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1385315874823221222
January     2020         01‐03‐2020 06:36:55 75bfb327a5c176edce05fc752a1f5e63:Destiny 2 VIP Access:                    32.63 Cancellation of Hold for Dispute 1311223014304875239
January     2020         01‐20‐2020 18:12:26 75bfb327a5c176edce05fc752a1f5e63:Destiny 2 VIP Access:                    34.95 Payment Reversal                 1311223014304875239
January     2020         01‐20‐2020 19:44:26 3bcd372aa9387c1a139a77f7ade1dc5b:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2017355972033858325
January     2020         01‐20‐2020 19:53:08 cc6b1a63f9c88714ccef215814fa6f58:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2017355972033858325
January     2020         01‐20‐2020 21:06:41 2e9139d093c7fdeef7c27a8d87f94393:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐21‐2020 01:25:47 d6114f91e76073a00c3049c33d791450:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1637789361788881357
January     2020         01‐21‐2020 19:19:55 09f7f01305781a34b69616bc03191a7c:Destiny 2 VIP Access                     34.95 Express Checkout Payment         2069696690735651434
January     2020         01‐21‐2020 19:21:26 84f2f14ece2dddf931a503715dcd5c7c:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2069696690735651434
January     2020         01‐21‐2020 20:00:42 0859fb4d9f500e27661261d257588221:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1161727757478830103
January     2020         01‐21‐2020 23:04:09 b8346b6c83ec61b8cbd6900576f18141:Destiny 2 VIP Access                     17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐21‐2020 23:48:12 2f16310d3aac197c314c082de5fe20e6:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐22‐2020 09:13:51 4b2e6a1cb2ed4a037dedf7bd379d14f4:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1236259267917043953
January     2020         01‐22‐2020 10:35:25 97a899690eec5a2b6d296fd8a7ed5109:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2152566191526643801
January     2020         01‐22‐2020 12:42:41 ef4bd8a35f6541ce1b7a470c06360fb3:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         1566181196554522731
January     2020         01‐22‐2020 22:18:44 c248a9d46ec61b95348fcaf3f278bf74:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1396270447976013321
January     2020         01‐23‐2020 00:41:48 c27bab65f483655b5c0067772d10ebc5:Destiny 2 VIP Access                     17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐23‐2020 05:39:10 85587d5a2a91a8dba46005b49853250e:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1544815229803211790
January     2020         01‐14‐2020 22:37:42 0c859dfec21b8305d0c2522332fb01c9:Destiny 2 VIP Access                     33.15 Cancellation of Hold for Dispute 1220718653348792477
January     2020         01‐14‐2020 21:27:56 0c859dfec21b8305d0c2522332fb01c9:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1220718653348792477
January     2020         01‐23‐2020 20:20:52 c8e756591b9fa38288c98bbf1a0f230f:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1997911094092383705
January     2020         01‐23‐2020 21:51:36 11f808310108eecbe4d07d7b56f83d0d:Destiny 2 VIP Access                     34.95 Express Checkout Payment         2150360647677865757
January     2020         01‐24‐2020 04:55:35 95f4d3791b4dd2ce70b60835cb84d005:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1867172896425691173
January     2020         01‐24‐2020 07:12:47 a2cdc48650b69b81766b426aa68845da:Destiny 2 VIP Access                     34.95 Express Checkout Payment         2044307671226733728
January     2020         01‐24‐2020 07:14:47 658a7be6e0a3e389a4678bfff08918f8:Destiny 2 VIP Access:                    34.95 Express Checkout Payment         2044307671226733728
January     2020         01‐24‐2020 08:30:55 9cdd501a688f8258148a533abb180708:Destiny 2 VIP Access                     34.95 Express Checkout Payment         1491600534258234418
January     2020         01‐24‐2020 20:29:15 2b9a7def52b0349e1fbb1ffd0c0ebcfa:Destiny 2 VIP Access:                    17.48 Express Checkout Payment         1876518094899608977
January     2020         01‐25‐2020 00:22:16 459ce852b60bb95ef83db8d3f125896b:Destiny 2 VIP Access                     17.48 Express Checkout Payment         1876518094899608977




                                                                                          Page 4 of 9




                                                                                 BX143.017
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 19 of 46


Bungie v. Aimjunkies et al.                                                                                                                                    Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                Counterparty Account
Month       Year         Created Date       Item Title                                                Amount        Transaction Type
                                                                                                                                                Number
January     2020         01‐25‐2020 01:33:34 0805e32849dcaba39b35702229e133e5:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐25‐2020 06:31:51 28a95781f497476dab5b5c25a23b4437:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐25‐2020 07:10:02 92b21ecd2a28da3fdd81c54dacb9df0d:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐25‐2020 13:34:02 0ca67b96856ed07b654fbf946cfe8f3e:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1704290207357755278
January     2020         01‐25‐2020 14:46:39 9336eb6ee29a1b1016f2d9bd2cd9e841:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1935991602540289327
January     2020         01‐25‐2020 15:49:51 fa6533123f84499fb6e615ce0de4ddc6:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1606646418852692784
January     2020         01‐25‐2020 16:01:59 fe321a9dc86e629c9733a13aaabb6d45:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1332013037273826712
January     2020         01‐25‐2020 16:24:04 97701aee46aeada47c3719b585d2736d:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1533077648552375777
January     2020         01‐25‐2020 19:00:56 aea58deed485a148c2000e6e22802a21:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1534062285609383068
January     2020         01‐25‐2020 19:25:41 acf4c75714f202959c961d15d9a93807:Destiny 2 VIP Access             34.95 Express Checkout Payment   2297817344228871228
January     2020         01‐25‐2020 22:49:07 5b6d0168514ff8e33fbefd3e34239325:Destiny 2 VIP Access             34.95 Express Checkout Payment   1593095490187146462
January     2020         01‐26‐2020 00:53:14 60633b265e5ccc65c41577203f827882:Destiny 2 VIP Access             34.95 Express Checkout Payment   1725175383066120774
January     2020         01‐26‐2020 03:08:21 f416305ee03ce62d6ea42e8336af93d8:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1678184097695781721
January     2020         01‐26‐2020 06:59:26 4a2fe70f6b3d020e10b1fe544354aa41:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐26‐2020 07:40:23 05f1c170f2a9c6018df4f7d6fa714e9d:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐26‐2020 16:05:07 a9b3dc06739b4ec4a39e177e456b4d66:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2207892355018400668
January     2020         01‐26‐2020 16:55:33 9bf0caa7a6a11a5ec602ba9196fa4ea5:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1528720693510628528
January     2020         01‐27‐2020 00:23:50 04dced2f22e0ba68378ca3b11b039d65:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1896886185038647163
January     2020         01‐27‐2020 01:09:07 48454b4bfbf74ebb67c3f8a02e39dd09:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐27‐2020 11:08:50 3a9664300fb76386c29d25fc46afc38e:Destiny 2 VIP Access             34.95 Express Checkout Payment   1182286799673983649
January     2020         01‐27‐2020 13:17:57 792c7b87485b7a312e5a3affabd0950b:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2139178736689240921
January     2020         01‐28‐2020 05:54:49 c6d1f8f0679c7d474f203e81156b454b:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐28‐2020 18:43:29 29b7a9649320adadd51242ed61a31956:Destiny 2 VIP Access             34.95 Express Checkout Payment   1533276420786979680
January     2020         01‐28‐2020 19:34:49 9827e3897eb290e83d116bc7c70901e4:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐28‐2020 21:55:32 8dfc1c2e0b45d557a43405ad060aaff9:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐29‐2020 03:58:04 304bd3fac6895a6ed01f7cde4758e214:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2039473612759451154
January     2020         01‐29‐2020 07:13:06 8894bb0997858a7b52257d98f30af112:Destiny 2 VIP Access             34.95 Express Checkout Payment   1227335825006261908
January     2020         01‐29‐2020 16:03:55 8afc191de9e6073da738b5d0af9cb605:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1882781742500887752
January     2020         01‐29‐2020 22:11:29 215b3b0dda03c1988dda13c756bc912e:Destiny 2 VIP Access             34.95 Express Checkout Payment   1177487420301568686
January     2020         01‐30‐2020 23:39:36 e28b472b853fe9ce4b00e881d15f24bd:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐31‐2020 03:58:36 c8414deb7c5ce9894c0d8d7aa337e29c:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2040723859642062732
January     2020         01‐31‐2020 06:10:10 262fd1b6431e9dac66a6e4fed96e1ceb:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
January     2020         01‐31‐2020 08:24:16 050ee8679758323f6e8e3799c0815294:Destiny 2 VIP Access             34.95 Express Checkout Payment   2243415321240594215
January     2020         01‐31‐2020 11:33:58 bc91be05339b9864ba029ec4125cef2f:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1319943767661522244
January     2020         01‐03‐2020 03:28:03 75bfb327a5c176edce05fc752a1f5e63:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1311223014304875239
January     2020         01‐31‐2020 21:01:11 ef433db1eb5ad8bfea3d4ecd33a09e75:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐01‐2020 06:15:03 d9de9730362343a62755cc5d75a2f1f4:Destiny 2 VIP Access             34.95 Express Checkout Payment   1224821776239484341
February    2020         02‐01‐2020 06:29:33 9a10eb7cb2e3c21fa9bbf9fe2a9791b4:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2188941212537598656
February    2020         02‐01‐2020 06:37:49 d8d655461b43259bcd04ffdfc596049d:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐01‐2020 14:18:21 a7efca6a38c291a345323113d029866c:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1681856636057428699
February    2020         02‐02‐2020 01:20:00 09df93ee9faf7f33a3769ee258112957:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2138266178640870647
February    2020         02‐02‐2020 01:58:51 97b66f7c94d3d264b022061f037cafe6:Destiny 2 VIP Access             34.95 Express Checkout Payment   1590858009168031850
February    2020         02‐02‐2020 03:23:13 c48eb3321b0bdb3ef9d0035148d3a47c:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐02‐2020 07:07:35 8e79900fdd126bb7c41de140987b819a:Destiny 2 VIP Access             34.95 Express Checkout Payment   2006759192759857251
February    2020         02‐02‐2020 08:55:24 bbc6e0670526259004a788d47e3710ff:Destiny 2 VIP Access             34.95 Express Checkout Payment   1685436845837384537
February    2020         02‐02‐2020 09:10:25 27410721a76b896a855c605808150e1a:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐02‐2020 11:47:35 0841a592f82cab38e120da0a4fb77420:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1414841996221412663
February    2020         02‐02‐2020 12:55:18 5851a9117e55b3652da06632853e6908:Destiny 2 VIP Access             34.95 Express Checkout Payment   1225879362237958840
February    2020         02‐02‐2020 13:18:39 21d12b24dc2ca111289404c2f5e56982:Destiny 2 VIP Access             34.95 Express Checkout Payment   2245095998314538061
February    2020         02‐02‐2020 13:22:25 40ebda9f3470377ed8662c2568245c59:Destiny 2 VIP Access             34.95 Express Checkout Payment   2245095998314538061
February    2020         02‐02‐2020 13:35:58 73020e5595118f324a6ed198d7d77bd4:Destiny 2 VIP Access             34.95 Express Checkout Payment   1384831222385119593
February    2020         02‐02‐2020 19:39:32 33c2d0c7fec61d9e457f08282c86bc9a:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2169086763812445321
February    2020         02‐03‐2020 01:25:35 663b185d34fc27bd66631462d2435efb:Destiny 2 VIP Access             34.95 Express Checkout Payment   1711089904559243426
February    2020         02‐03‐2020 05:55:33 4097d245dcfc7ca05c35498a90788d8f:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐03‐2020 07:39:59 2b8ed32f76933192dfbfc7ec576f79ed:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1779867913418431683
February    2020         02‐03‐2020 08:03:14 387353469e8e1a0d7bd13f357d1b1682:Destiny 2 VIP Access             34.95 Express Checkout Payment   2269460612184802527
February    2020         02‐03‐2020 08:22:06 f11a3f8a3769d2c1cddc9b09a4d278ae:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1476899786756358407
February    2020         02‐03‐2020 10:01:20 98d62745f511fe29b5152296f5ec2ada:Destiny 2 VIP Access             34.95 Express Checkout Payment   1913868991394776362
February    2020         02‐03‐2020 15:10:36 ec75ca2a574f2c3b73db8a006413b01f:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1850447904785455261
February    2020         02‐03‐2020 19:21:39 da93b8267818040560fdab67dab86280:Destiny 2 VIP Access             34.95 Express Checkout Payment   1931668866039373284
February    2020         02‐03‐2020 21:26:19 7c60814acefcb4b633ac6e793a1a31f8:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1896611517091670020
February    2020         02‐04‐2020 01:12:43 c154c4d1b04e4b130ef2614e7f9b37e4:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2069696690735651434
February    2020         02‐04‐2020 06:06:26 df4b019ffc70f0fbe7d30c7a751cd2a9:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐04‐2020 13:23:11 9f0fcadd06836ac1af1ac243992f751a:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1741190357774209629
February    2020         02‐04‐2020 17:05:18 980205f62b78de6cfecc16d03f9a3bf2:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1525488764024491445
February    2020         02‐04‐2020 18:37:19 7974ebf5e3f12f4095ba471ddd1f8f7e:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1511999127480583027
February    2020         02‐04‐2020 20:30:24 4c80c27cc68e2ffc6d16168a1539a68f:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐04‐2020 21:25:00 e02404a167ae60cc061268c60b888857:Destiny 2 VIP Access             34.95 Express Checkout Payment   2165131867439622921
February    2020         02‐05‐2020 07:37:34 e5e63f342e641b944e1a1c5c74ba5a5e:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1634327290725146787
February    2020         02‐05‐2020 09:32:51 419c07a727c1cc74134b927f13308b28:Destiny 2 VIP Access             17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐05‐2020 13:22:08 34de1cb16346a53c6dcc783222f5bf95:Destiny 2 VIP Access             34.95 Express Checkout Payment   1606646418852692784
February    2020         02‐05‐2020 13:23:52 3d1985698f2cd270298ffc478f719a10:Destiny 2 VIP Access             34.95 Express Checkout Payment   1606646418852692784
February    2020         02‐06‐2020 08:37:35 9074764a26b66e92b0d5fec40ce0dbec:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐06‐2020 15:11:39 418953f718109d3bf6c612ad7616015f:Destiny 2 VIP Access             34.95 Express Checkout Payment   1843656057023331034
February    2020         02‐07‐2020 04:19:56 ef5ab5a4cc9a90b0a9fb8288a8b1d0eb:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977
February    2020         02‐07‐2020 08:06:31 4060dfff15ebbb360a39d6b0ea996a99:Destiny 2 VIP Access:            34.95 Express Checkout Payment   2171184389513584610
February    2020         02‐07‐2020 08:31:33 15c751799559cdd2d91f5edb9561ee61:Destiny 2 VIP Access             34.95 Express Checkout Payment   1864057054868772461
February    2020         02‐07‐2020 13:30:00 42a47197853d7215494f897ce5dd424a:Destiny 2 VIP Access             34.95 Express Checkout Payment   2268447065828224294
February    2020         02‐07‐2020 14:03:51 3ee06d8f23606b3174917cca9e613a36:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1909779174718636691
February    2020         02‐07‐2020 17:36:44 49f2b71b3e12e03ee311815b28c386ac:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1372723061598962354
February    2020         02‐07‐2020 21:16:53 eef48f6569d2fe26a46cc01901453778:Destiny 2 VIP Access:            34.95 Express Checkout Payment   1498505796028885067
February    2020         02‐07‐2020 22:44:18 d49591fcd4c9edeb0b8e68d6e979ac06:Destiny 2 VIP Access:            17.48 Express Checkout Payment   1876518094899608977




                                                                                        Page 5 of 9




                                                                                BX143.018
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 20 of 46


Bungie v. Aimjunkies et al.                                                                                                                                       Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                   Counterparty Account
Month       Year         Created Date       Item Title                                                Amount        Transaction Type
                                                                                                                                                   Number
February    2020         02‐08‐2020 00:35:06 a5ae6329ed422a66d0e91f855385ae6d:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1401367449959672735
February    2020         02‐08‐2020 06:36:39 323a32f8eb3f12aa3aa7c56e826ea6af:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1408430307604179489
February    2020         02‐08‐2020 07:27:49 e14a61d9b6a5a4534f9d724669216a36:Destiny 2 VIP Access             34.95 Express Checkout Payment         1455835006593318815
February    2020         02‐08‐2020 08:15:28 8a192332657e0aaa3883a8305e3e5473:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1861759522983704659
February    2020         02‐08‐2020 17:52:01 3c529fd29b7c8dc311c3afbf7ca89ca5:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1947177499986064868
February    2020         02‐08‐2020 19:24:12 c2dacc0264b70e318838bbfb8a8fadd9:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2174267954629246606
February    2020         02‐08‐2020 20:30:20 e66083ae8790e99d245e9bdc405927c4:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐09‐2020 00:14:16 9bff4708c7506040b29b2028319ec18b:Destiny 2 VIP Access             34.95 Express Checkout Payment         1601606799179444753
February    2020         02‐09‐2020 02:24:41 8f712546bbd3bafb400d397adb41fdf5:Destiny 2 VIP Access             34.95 Express Checkout Payment         1543281046989924763
February    2020         02‐09‐2020 08:02:47 0f2c5539dd489a96f00747aa0da75253:Destiny 2 VIP Access             34.95 Express Checkout Payment         1689805448852423415
February    2020         02‐09‐2020 11:52:12 f940a5618872cf3f1524d8934b39e9f2:Destiny 2 VIP Access             34.95 Express Checkout Payment         2024310911824952795
February    2020         02‐09‐2020 18:50:29 644f16e6818c00cc57cb20474e2b8e03:Destiny 2 VIP Access             34.95 Express Checkout Payment         2234781155436181595
February    2020         02‐09‐2020 21:57:42 cdd3f9593fcab36a0773f2626ac89f66:Destiny 2 VIP Access             34.95 Express Checkout Payment         1428191491985118429
February    2020         02‐09‐2020 23:55:16 c9a793674a2a2de117135f0efa6d6a65:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2262013892403325330
February    2020         02‐10‐2020 08:19:39 872a837d6f6537d47bb1aeeed9f790b7:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐10‐2020 18:29:49 7bdc933dcb8be2acd89afe21be129c77:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐10‐2020 20:07:38 3c7b564fe32eeb6662d125ab30e256dd:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐11‐2020 02:29:41 c294ff9546f92e444c1eee179b7758f5:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 03:28:49 67acb7e16d7acd8a4adf2b40313cf707:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1788507699350964854
February    2020         02‐11‐2020 04:27:35 7bdfe30c5a613f1e3116022776b84455:Destiny 2 VIP Access             34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 04:44:45 2487b28532ddd2e55b66bef182f8ec09:Destiny 2 VIP Access             34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 05:02:51 1eefeb87c0cf048046116ad7c0d8042e:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 05:14:55 5f28bac6bc337d71529c1361ace55dc7:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 07:57:37 505b6048ca09effb90777ee15817dcc3:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1758261194905265760
January     2020         01‐18‐2020 11:56:19 708cc881d56f04fe9f4e263d99d3d117:Destiny 2 VIP Access             33.15 Cancellation of Hold for Dispute 2094430725637895792
February    2020         02‐11‐2020 09:21:00 708cc881d56f04fe9f4e263d99d3d117:Destiny 2 VIP Access             34.95 Payment Reversal                 2094430725637895792
January     2020         01‐17‐2020 13:10:57 708cc881d56f04fe9f4e263d99d3d117:Destiny 2 VIP Access             34.95 Express Checkout Payment         2094430725637895792
February    2020         02‐11‐2020 10:30:55 8c782e8cec5c6ac491da4cfbf70882d6:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐11‐2020 10:43:07 eebf2bcad25fe7dcdcfb402967baacac:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 15:10:04 41f0229b6188e1cf23691ea393e9832e:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1655992237717532217
February    2020         02‐11‐2020 16:58:23 cb274918188378783db8e6edb7866246:Destiny 2 VIP Access             34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 16:58:25 cb274918188378783db8e6edb7866246:Destiny 2 VIP Access             34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 17:01:10 496d59533b9d14b9bd07180e052a1c4e:Destiny 2 VIP Access             34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 17:02:36 c5e63dc1d027dee3fef07dc31a4c9b0d:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐11‐2020 22:05:20 c34128ded00dfb8eea46ad4b819ec647:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐11‐2020 23:39:27 4e58b4f2e7e78b19ca684efd9dc7e946:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1960528475554155678
February    2020         02‐12‐2020 04:46:10 96ca96626914000c6c6014a37eed448e:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1994688669091188430
February    2020         02‐12‐2020 05:10:25 9e0f60d0a4e8b85a3b91fa38d68bd30f:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1243045300685650785
February    2020         02‐12‐2020 05:57:53 d09107a7d955f275acc04c99175264b0:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐12‐2020 08:11:51 0b6bf99c2be2e5732ca61500b958cbd4:Destiny 2 VIP Access             34.95 Express Checkout Payment         1609164194562141019
February    2020         02‐13‐2020 03:01:53 6ff8adc3e5d941adc85e2657ec400716:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐13‐2020 07:54:23 3cd297f4f824749b6a245ea3135b28a9:Destiny 2 VIP Access             27.96 Express Checkout Payment         1302129667516290306
February    2020         02‐13‐2020 16:22:31 e0eb9317a5ae2979361a8b37da535299:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1787163978889575728
February    2020         02‐13‐2020 17:25:33 9bf0d17537b42d53596636fdcbdd0f26:Destiny 2 VIP Access             34.95 Express Checkout Payment         1877785044086627283
February    2020         02‐13‐2020 19:05:19 7d89501710f8acdfc46d9b8c00ffa5d9:Destiny 2 VIP Access             27.96 Express Checkout Payment         2010158825640067695
February    2020         02‐14‐2020 08:54:09 d20da06e4597ebf4859326ab89dddf9a:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1845476510849184208
February    2020         02‐14‐2020 14:33:41 9bcf845a27fadcf25c9fa1142cbb7ee4:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1568202200690956630
February    2020         02‐15‐2020 01:15:40 30928a61ac3b244a63dba651ebfcbe3c:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1961311367275830377
February    2020         02‐15‐2020 01:37:18 8cd960091121f7d82be613b7761a0cd1:Destiny 2 VIP Access             34.95 Express Checkout Payment         2104426852370805419
February    2020         02‐15‐2020 01:48:29 33796fea5f47f659d4243eb5fc477855:Destiny 2 VIP Access             34.95 Express Checkout Payment         1453656216521497985
February    2020         02‐15‐2020 10:31:09 868978f9b9e68d7a8f01c493368004d3:Destiny 2 VIP Access             34.95 Express Checkout Payment         2072512939635591636
February    2020         02‐15‐2020 10:55:55 0ee601e3dd136060a3199dc29b284eaf:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1249176397809064377
February    2020         02‐15‐2020 14:30:23 f288992ca6d4970b63647ecc34eb85a9:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2150173177816929573
February    2020         02‐15‐2020 14:55:54 53bfa35236ac736ecaa82f334638929a:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2244064614695564337
February    2020         02‐15‐2020 15:26:11 96d3903a12b569b0ef22f4c9cdc67d09:Destiny 2 VIP Access             27.96 Express Checkout Payment         1438216477363490733
February    2020         02‐15‐2020 19:01:27 0e734b46065c2a299e652c4f8b75cd47:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐15‐2020 22:24:10 60a25c5739fffe4a60ec088cab9c26a4:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1244783998683195784
February    2020         02‐16‐2020 10:45:14 2b582049e53e71b890938e95285c3f18:Destiny 2 VIP Access             34.95 Express Checkout Payment         2134482400080926254
February    2020         02‐16‐2020 14:23:34 3cec9baa1e782ed5440e009098cf44fa:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1896611517091670020
February    2020         02‐16‐2020 14:25:17 c9a59ffc3b930487556d92a4299fafd5:Destiny 2 VIP Access             27.96 Express Checkout Payment         1896611517091670020
February    2020         02‐16‐2020 14:35:01 910644febb42312be73f724b98735652:Destiny 2 VIP Access             27.96 Express Checkout Payment         1527921107759664269
February    2020         02‐16‐2020 15:49:43 33cf04aa3eae5eda3abf32ae933b9567:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1483021383937236189
February    2020         02‐16‐2020 15:58:31 47eda91305efac21c47a74168c3419d0:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2261167343939958287
February    2020         02‐16‐2020 17:36:48 53439717cbf035a363e04d13bb119e59:Destiny 2 VIP Access             27.96 Express Checkout Payment         2208758575135511853
February    2020         02‐16‐2020 18:33:27 80b51fe5652c88f85b29f995e5073d4d:Destiny 2 VIP Access             27.96 Express Checkout Payment         2152566191526643801
February    2020         02‐16‐2020 20:33:47 809e845daf0783c9c944defc69c716d0:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2017336483241655000
February    2020         02‐17‐2020 03:08:46 e63865ccf2aa9d6369b396631c62c769:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐17‐2020 07:07:07 b8225e7eb0fd63a3a821b76ff32afdd3:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐17‐2020 07:59:36 dbfbcbcfc0be5388ef6ff89e3e2ff415:Destiny 2 VIP Access:            17.48 Express Checkout Payment         2021599267845677991
February    2020         02‐17‐2020 12:46:07 ea3489d35c3d24c4924fe5b39a7bec8c:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1231585160193746945
February    2020         02‐18‐2020 05:44:46 6d74c564f522d363cae47da407e80038:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐18‐2020 19:25:43 27d1d1463f00c3aaf138a411d47902bd:Destiny 2 VIP Access             34.95 Express Checkout Payment         1818077925990647248
February    2020         02‐18‐2020 19:37:41 d6ef114f327d6da22a5f957817f044ca:Destiny 2 VIP Access             34.95 Express Checkout Payment         1704290207357755278
February    2020         02‐18‐2020 23:45:01 3fa4be28d7b445db374ddef5dcb76c0c:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐19‐2020 02:13:23 2e01fe531589394b6e709edf349d4336:Destiny 2 VIP Access             34.95 Express Checkout Payment         1558231000357919602
February    2020         02‐04‐2020 05:05:06 98ca160c28ee67e5e9cb170d89144251:Destiny 2 VIP Access:            32.63 Cancellation of Hold for Dispute 2069696690735651434
February    2020         02‐04‐2020 01:14:45 98ca160c28ee67e5e9cb170d89144251:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2069696690735651434
February    2020         02‐19‐2020 06:35:30 a5c4e4cff35e5692328807d0422f505d:Destiny 2 VIP Access             34.95 Express Checkout Payment         1645052058241708857
February    2020         02‐19‐2020 13:21:36 7a53386135c6331b61e5840c27b6d7e1:Destiny 2 VIP Access             27.96 Payment Refund                   1667079671116164976
February    2020         02‐15‐2020 05:23:26 7a53386135c6331b61e5840c27b6d7e1:Destiny 2 VIP Access             27.96 Express Checkout Payment         1667079671116164976
February    2020         02‐19‐2020 13:26:55 46b0591e0594330699c89202a3d12ed8:Destiny 2 VIP Access             34.95 Payment Refund                   1466763887024734665
February    2020         02‐07‐2020 07:33:27 46b0591e0594330699c89202a3d12ed8:Destiny 2 VIP Access             34.95 Express Checkout Payment         1466763887024734665




                                                                                        Page 6 of 9




                                                                                BX143.019
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 21 of 46


Bungie v. Aimjunkies et al.                                                                                                                                        Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                    Counterparty Account
Month       Year         Created Date       Item Title                                                 Amount        Transaction Type
                                                                                                                                                    Number
February    2020         02‐19‐2020 22:30:01 bc9bcfefea3611bf098267e40ed7e63d:Destiny 2 VIP Access:             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐19‐2020 23:07:15 1394b9e70fe2821fc31931084683d14b:Destiny 2 VIP Access              34.95 Express Checkout Payment         1530120518706922294
February    2020         02‐20‐2020 01:06:10 b23fe6edd2da5707b2432be910865a3e:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1428111088532729585
February    2020         02‐20‐2020 01:43:33 0bdc8fe0a49fd7cdd0497145bd8fcb14:Destiny 2 VIP Access              34.95 Express Checkout Payment         1706468214784485146
February    2020         02‐20‐2020 01:59:22 4095bbec8cb13209af7a71cb0a1c779e:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1637789361788881357
February    2020         02‐13‐2020 17:13:30 6a1ccdc6df97b7209c4741b6a9bb97fe:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1818077925990647248
February    2020         02‐20‐2020 14:27:35 3e300e0c9627adecc1e26bdb02ee8384:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2161200778682493909
February    2020         02‐20‐2020 21:33:08 c69596c5113f244f0a191b444f2ff433:Destiny 2 VIP Access              34.95 Express Checkout Payment         2029523842842637165
February    2020         02‐21‐2020 04:26:47 954f4af44758d732c67fb172c8cbe30f:Destiny 2 VIP Access              34.95 Express Checkout Payment         2229673922538729444
February    2020         02‐21‐2020 13:24:10 7215f3617626f275feee2b0dad0b158c:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1691548984483882956
February    2020         02‐21‐2020 18:20:06 dd3755631ba9b660b12d7060853f1a90:Destiny 2 VIP Access              34.95 Express Checkout Payment         1385315874823221222
February    2020         02‐21‐2020 23:07:30 f9474639cf7a0a50be1ab8dee23f375b:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1344608128766313991
February    2020         02‐22‐2020 04:36:06 4d19acfef471220189ce95ba18a3d997:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1530647910122717342
February    2020         02‐22‐2020 18:22:21 993ba2c7a96a8b63ca23cf5c23b413b9:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1578324920653130106
February    2020         02‐23‐2020 19:55:57 cbc87c9c70110c3685bcd7843c647b71:Destiny 2 VIP Access              34.95 Express Checkout Payment         1528720693510628528
February    2020         02‐25‐2020 00:15:34 5d330bc8aa4d819cbe99bbf209bac398:Destiny 2 VIP Access:             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐25‐2020 19:07:42 8c04ad97c20c753cced38edcabcb17c6:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2147633759738877743
February    2020         02‐25‐2020 20:05:23 6a77b4f93aac3775aaf2270bb75afb4e:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1378294076317201750
February    2020         02‐26‐2020 01:16:23 ceafcc022a1e179d47114b1473b6524c:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2135839012168859062
February    2020         02‐26‐2020 02:19:09 605cdcde430e4847b08cca9540336c46:Destiny 2 VIP Access:             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐26‐2020 04:12:07 08c24ac4b86e5868dff7f82e48edbad5:Destiny 2 VIP Access:             17.48 Express Checkout Payment         1876518094899608977
February    2020         02‐26‐2020 06:25:14 c4a617e6bbfb5ac1619961b0c57ff9cb:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1187225785568262072
February    2020         02‐26‐2020 07:53:09 1fd35c01857842890fde2e23dd9c5f20:Destiny 2 VIP Access              34.95 Express Checkout Payment         1759684005404411170
February    2020         02‐26‐2020 12:23:42 d89a4ff871e311ec75c1f366a81870fa:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1818544823671517128
February    2020         02‐27‐2020 01:44:57 66a4c4d45b6dd8dd22689518723464aa:Destiny 2 VIP Access              34.95 Express Checkout Payment         1434139089904583520
February    2020         02‐27‐2020 21:46:31 a99dc7994063b70f12dc92880ff917bc:Destiny 2 VIP Access              34.95 Express Checkout Payment         1554475572659396527
February    2020         02‐28‐2020 01:08:49 46fd6c277358c3d0fdc8922c3de0e862:Destiny 2 VIP Access              34.95 Express Checkout Payment         1711285652072014393
February    2020         02‐28‐2020 06:22:16 e266b77052e8b7f184c38d41398c3b34:Destiny 2 VIP Access              34.95 Express Checkout Payment         2031610559181529032
February    2020         02‐28‐2020 10:00:20 658fff17ad41030f49ddf52b708638e5:Destiny 2 VIP Access              34.95 Express Checkout Payment         1182286799673983649
February    2020         02‐28‐2020 18:16:13 5082417488fa592417e7034b6f5e01c8:Destiny 2 VIP Access              34.95 Express Checkout Payment         2084207937615651156
February    2020         02‐29‐2020 09:31:48 1fc4f245f6fc4a25413243c1b1cd97fa:Destiny 2 VIP Access              34.95 Express Checkout Payment         1725175383066120774
February    2020         02‐29‐2020 12:01:53 e847035e8cf07137082ef3b59b60a92d:Destiny 2 VIP Access              34.95 Express Checkout Payment         2031610559181529032
February    2020         02‐29‐2020 13:05:50 8f169078e6d44b2af64975165c248975:Destiny 2 VIP Access              34.95 Express Checkout Payment         1790928192898555263
February    2020         02‐29‐2020 15:03:21 ba25cf0b02815c83db695335a17a4994:Destiny 2 VIP Access              34.95 Express Checkout Payment         1713910783883784049
February    2020         02‐29‐2020 16:09:20 f4f55fd76e25f121359f297b4bab1ec8:Destiny 2 VIP Access              34.95 Express Checkout Payment         1977410248116777884
February    2020         02‐29‐2020 23:22:33 98c3e59adb4dd70ab46f8c5bbd3366a7:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1263635051538474312
March       2020         03‐01‐2020 05:19:36 7e0645a6612324a76f025502fefd12f2:Destiny 2 VIP Access              34.95 Express Checkout Payment         1606499668358223659
March       2020         03‐01‐2020 13:52:20 44981c91d169922216c94ab5bb491434:Destiny 2 VIP Access              34.95 Express Checkout Payment         1894249704162716791
March       2020         03‐01‐2020 16:44:19 ff9cedf48dbae08bafd768a3c3364b60:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1637820672924687432
March       2020         03‐01‐2020 18:39:04 234ecd59793f97a558dd276a362379ac:Destiny 2 VIP Access              34.95 Express Checkout Payment         2186211678610968804
March       2020         03‐02‐2020 00:07:38 ae7c03fa263c31f64996993a8716aa31:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1534062285609383068
March       2020         03‐02‐2020 13:23:12 32e2bf2d77ab456fc28d1d275764560f:Destiny 2 VIP Access              34.95 Express Checkout Payment         1801668015121710021
March       2020         03‐02‐2020 14:44:19 d9b9de21c05eeec5c9bd9c570ef3f728:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1664169408895942448
March       2020         03‐03‐2020 00:51:52 9b6ef37e330311a51ee731b3b9b7aee0:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2017097081241904293
March       2020         03‐03‐2020 04:00:49 7a9bc26c5e3f3db07789854cd4462922:Destiny 2 VIP Access              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐03‐2020 09:53:03 6e059cf21ecd69b60b41c53879e7d2e8:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1379538975622606545
March       2020         03‐03‐2020 17:32:10 41ec8831b4319e7da83e64c73c14442f:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1381653085935776910
March       2020         03‐03‐2020 17:59:08 3ddce39c963b96e30a0e65f30eb0eeb2:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2300610683772825128
March       2020         03‐04‐2020 08:19:30 3b35aa0ebc4d9b80f73ced65a95bdc24:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1348076575500878691
March       2020         03‐05‐2020 02:04:21 e09d067ca3575b17417f046809e341c7:Destiny 2 VIP Access              34.95 Express Checkout Payment         1557696822866310860
February    2020         02‐28‐2020 14:28:20 c6d0eac545888cc526cb65df93fb4ea8:Destiny 2 VIP Access:             32.63 Cancellation of Hold for Dispute 1866304099168367043
February    2020         02‐27‐2020 19:04:09 c6d0eac545888cc526cb65df93fb4ea8:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1866304099168367043
March       2020         03‐05‐2020 04:07:22 5fef04fb78ae4d29f266c2d89d90c00f:Destiny 2 VIP Access              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐05‐2020 05:45:53 bc8d9a647411771ad3c9623474c20dc5:Destiny 2 VIP Access              34.95 Express Checkout Payment         2088395580959158295
March       2020         03‐05‐2020 20:13:42 e15186a1189ac45b43e3a14e76f32d01:Destiny 2 VIP Access:             17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐06‐2020 00:04:40 c979dac8ce5f67dbc4f992939e9be627:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2024310911824952795
March       2020         03‐06‐2020 07:44:14 34d1d79b33e6134da9c88f8b1b336875:Destiny 2 VIP Access              34.95 Express Checkout Payment         2031610559181529032
March       2020         03‐06‐2020 11:30:50 cc6464ba224983a2e33c209fc0ab0683:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2002962979149611697
March       2020         03‐07‐2020 03:36:24 3c9f5f7f075b28179d8d0102c91c679b:Destiny 2 VIP Access              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐07‐2020 04:59:39 1d7abd9b509e62439ff5bf6790300e61:Destiny 2 VIP Access              34.95 Express Checkout Payment         1949677471799812260
March       2020         03‐07‐2020 08:59:26 de3bc7abed3c832aa2f36fa89f22501d:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1798411390272656515
March       2020         03‐07‐2020 17:46:40 37942768b96f11458dc26d9eda5f5c7c:Destiny 2 VIP Access              34.95 Express Checkout Payment         2268447065828224294
March       2020         03‐08‐2020 07:33:41 e53e21638da82e5cfdadeda83ecaa5e6:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1864057054868772461
March       2020         03‐08‐2020 20:17:22 8ddba9aed76e17c4c3632ff37e4fc14e:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1799615798133147496
March       2020         03‐08‐2020 22:01:57 27cd1591defbe2c709a029cb39fd4017:Destiny 2 VIP Access              34.95 Express Checkout Payment         1980216387051037240
March       2020         03‐09‐2020 11:24:53 cf396ac66fb3cfb83908f391152e9c1e:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1862878049905087200
March       2020         03‐09‐2020 23:52:38 1a1481ec264ed22e88cff50bda6ec57d:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1185720824185890577
March       2020         03‐10‐2020 02:35:36 1c0039e28ba1bc6dae2b81de9ee160a0:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1913868991394776362
March       2020         03‐10‐2020 05:35:04 1c1614af27c3d680a795d3919d9db380:Destiny 2 VIP Access              34.95 Express Checkout Payment         1491062273292062208
March       2020         03‐10‐2020 07:23:34 b01fffa4d5647c598bf37acd10317ecf:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1858005318426361499
March       2020         03‐10‐2020 08:36:45 6128f89845413fd1c0bf9acbf300961a:Destiny 2 VIP Access              34.95 Express Checkout Payment         1937105637567707017
March       2020         03‐10‐2020 10:25:02 41c4ea3f0f7c4543e6f7c4da9427997f:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1543281046989924763
March       2020         03‐10‐2020 17:23:08 bbaa0ae4aaf15d99914bbed09e4fecaa:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1843656057023331034
March       2020         03‐10‐2020 20:11:31 e1946c19f682e279c1537040ebe95169:Destiny 2 VIP Access              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐10‐2020 21:04:16 5442cdb8a94915d4ef22b2a5e578f7e8:Destiny 2 VIP Access:             34.95 Express Checkout Payment         2047171317228389243
March       2020         03‐10‐2020 22:41:40 81d1adafd8053d0321c4d10b645d3af8:Destiny 2 VIP Access              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐10‐2020 23:33:16 149afdd9e588c661c16dfb43db914f27:Destiny 2 VIP Access              34.95 Express Checkout Payment         1716348024556673487
March       2020         03‐11‐2020 02:05:26 8d654eeb83d377ae3c7d1fad8fcc0295:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1225110863156941361
March       2020         03‐11‐2020 04:59:46 703b5171449865f17c16a8a7be6711c2:Destiny 2 VIP Access              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐11‐2020 11:55:16 92f9ba064f465fb678d5bfd06af5e192:Destiny 2 VIP Access              34.95 Express Checkout Payment         1898192796559598359
March       2020         03‐11‐2020 12:33:30 8340dfef0ee3dcec869d526f97b17297:Destiny 2 VIP Access:             34.95 Express Checkout Payment         1739080148988177499
March       2020         03‐11‐2020 12:54:02 d28bb77aa215a89873f3eb27b487b8fc:Destiny 2 VIP Access              34.95 Express Checkout Payment         2139178736689240921




                                                                                         Page 7 of 9




                                                                                BX143.020
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 22 of 46


Bungie v. Aimjunkies et al.                                                                                                                                       Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                   Counterparty Account
Month       Year         Created Date       Item Title                                                Amount        Transaction Type
                                                                                                                                                   Number
March       2020         03‐11‐2020 15:33:29 8a78a293356589c982646aacf4cb6ba7:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1651262359879145299
March       2020         03‐11‐2020 19:14:29 fc098770188678b18ce48aa942f1b82c:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐11‐2020 21:36:59 2b21eefe401da7d42936fef06a005332:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1365357446784136951
February    2020         02‐14‐2020 11:40:20 6f58d8349a88516e89f9c3b322336348:Destiny 2 VIP Access             32.63 Cancellation of Hold for Dispute 2276350121571268910
February    2020         02‐14‐2020 10:35:06 6f58d8349a88516e89f9c3b322336348:Destiny 2 VIP Access             34.95 Express Checkout Payment         2276350121571268910
March       2020         03‐03‐2020 11:58:40 4c693cf9d87415f2d0e41cdbc541d39b:Destiny 2 VIP Access             32.63 Cancellation of Hold for Dispute 2214672622605082610
March       2020         03‐02‐2020 10:55:16 4c693cf9d87415f2d0e41cdbc541d39b:Destiny 2 VIP Access             34.95 Express Checkout Payment         2214672622605082610
March       2020         03‐12‐2020 02:18:11 f1542c73ebcfe40e84c7b66207a27a87:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1866679474667211466
March       2020         03‐12‐2020 02:27:06 1dde90a16e49ababa20443ebaf0b723b:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐12‐2020 05:41:05 13646c48271252975000d16bb14ede61:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐12‐2020 18:05:38 d48c8dc25104ed162c3382d77dfb16c2:Destiny 2 VIP Access             34.95 Express Checkout Payment         2177144509032653522
March       2020         03‐12‐2020 18:08:45 515482957e5e50d8e38aa81eb7d784af:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1454941371246630829
March       2020         03‐12‐2020 19:10:47 0783e2ca421d4b14a4f2c9823de4b218:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1276660540964851618
March       2020         03‐12‐2020 20:08:56 bc32b9c0f29479d5edb8aca1cb2ff155:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1764557524355251029
March       2020         03‐13‐2020 00:12:26 86d56325cc943adda8644c26ef1d1d5e:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2183212544005993198
March       2020         03‐13‐2020 03:11:08 22e73c3387201f86ab901493821cbba0:Destiny 2 VIP Access             34.95 Express Checkout Payment         2261012688605181774
March       2020         03‐13‐2020 03:16:20 6af9828f073f0c2a8600832dfebbab28:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1367428540899848312
March       2020         03‐13‐2020 06:54:37 75a5a03ae2cd017d6c4daf44dd427416:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐13‐2020 09:05:07 4eae6b20882ae296f46eb1136915b602:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1747320825115125571
March       2020         03‐13‐2020 13:26:26 a2580c8f8f3f8d8c556cf67b23168bfd:Destiny 2 VIP Access             34.95 Express Checkout Payment         1727883712842225362
March       2020         03‐14‐2020 00:32:11 cdc97443199c222c42c21cdef4a1102d:Destiny 2 VIP Access             27.96 Express Checkout Payment         1379731139357368120
March       2020         03‐14‐2020 15:55:56 a30d43586d4ef777c3bd2894222a896d:Destiny 2 VIP Access             34.95 Express Checkout Payment         1845476510849184208
March       2020         03‐14‐2020 18:40:14 62ee3c12c696954eb5ad30cbc1ff1405:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1877785044086627283
March       2020         03‐14‐2020 22:12:28 a59a10837456fb15015aaf07aa17af32:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1968056785231028543
March       2020         03‐15‐2020 04:28:50 616a2513fea7c9e0b4b810776186c4e7:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐15‐2020 04:53:01 94e339cd219f4c5ca0e6b000c3c38be0:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1188376139064875078
February    2020         02‐28‐2020 08:10:31 92cd00d6009692751ace10124d6ed34a:Destiny 2 VIP Access             32.63 Cancellation of Hold for Dispute 1693812743610976641
February    2020         02‐27‐2020 23:15:04 92cd00d6009692751ace10124d6ed34a:Destiny 2 VIP Access             34.95 Express Checkout Payment         1693812743610976641
March       2020         03‐16‐2020 06:31:19 f3969bfd5138495769b0e2d42aef25d0:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐16‐2020 09:59:30 f69e7071bee3c3dfcadb3808f5b46d33:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐16‐2020 15:34:29 ca1ad09fe2dbf2c051285471979ac7a5:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1484681431564653351
March       2020         03‐16‐2020 15:50:41 eee824fe12c8c30549fe6cedd0f1790c:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1315385331367608775
March       2020         03‐16‐2020 16:30:46 17982625e4beabbe8d56ca4c926d6227:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1270237660852877825
March       2020         03‐17‐2020 03:21:24 172dea1dd79e5b9293783e43bf9ba36a:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1527921107759664269
March       2020         03‐17‐2020 06:18:57 9d380010e1e8c72e025310d3a83e708d:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1386957828934168091
March       2020         03‐17‐2020 06:28:44 e60ad2df4f9dfa464d83b100eab49fbf:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1225879362237958840
March       2020         03‐17‐2020 09:34:10 2d51862f21f3fa27e9f9ebcba659b379:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2017336483241655000
March       2020         03‐18‐2020 10:10:19 d4bb7cb1cd07ba0aeea7cd420baad1ea:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2304958192523958950
March       2020         03‐18‐2020 11:17:08 f5c576664f9b66762402a0ba93c66276:Destiny 2 VIP Access             34.95 Express Checkout Payment         2012527967742986362
March       2020         03‐20‐2020 10:14:18 288e919cdcf31050131561034c54d435:Destiny 2 VIP Access             34.95 Express Checkout Payment         1213815066321249091
March       2020         03‐20‐2020 15:35:36 296e8eb487894396aea3e2f3c03b8a53:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1394902064279072924
March       2020         03‐20‐2020 17:23:09 ef085f7d0702c63b2ae9745d1019e7ce:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1861981143620386586
March       2020         03‐20‐2020 20:53:30 4ca297a632c13190a65cf1b5ef9cee81:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1428111088532729585
March       2020         03‐21‐2020 02:13:55 2b2944b69154428048784cf1eed17c87:Destiny 2 VIP Access             34.95 Express Checkout Payment         2161200778682493909
March       2020         03‐21‐2020 07:13:54 48b399d3ec1605b03686fa37ef98dc4d:Destiny 2 VIP Access             17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐21‐2020 11:03:20 d9f51ba78da6fa035c0412cf2e712114:Destiny 2 VIP Access:            27.96 Express Checkout Payment         2012517570470483842
March       2020         03‐21‐2020 14:38:37 48aefcf37152b5ed4d155bc985cd464d:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1603391045352958198
March       2020         03‐21‐2020 15:30:08 7b3a0548dd4f2c48cb57de9d78635ad0:Destiny 2 VIP Access             34.95 Express Checkout Payment         2297353530551581996
March       2020         03‐21‐2020 15:34:41 7631a42df109f90cae0bc3e37149dc3b:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1949823710910244125
March       2020         03‐21‐2020 15:35:57 015cdce0239ef4d1f69da47d396125a7:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1949823710910244125
March       2020         03‐21‐2020 15:42:12 d75cff04d857575867608e438d68ff8f:Destiny 2 VIP Access             34.95 Express Checkout Payment         1949823710910244125
March       2020         03‐22‐2020 02:24:39 c625928b6ebab187edfcc87492ff3306:Destiny 2 VIP Access             34.95 Express Checkout Payment         2075201673942403211
March       2020         03‐22‐2020 04:30:21 25ed2ab5426a88964b8bd5f1a4657184:Destiny 2 VIP Access             34.95 Express Checkout Payment         1173235016263055785
March       2020         03‐22‐2020 07:04:19 c2096eb64147cc45b7ccc8d90fa0580f:Destiny 2 VIP Access             34.95 Express Checkout Payment         1637789361788881357
March       2020         03‐22‐2020 08:29:56 3f2bd81fbe22c4d67fb659937de8477c:Destiny 2 VIP Access             34.95 Express Checkout Payment         1755139063967826062
March       2020         03‐22‐2020 12:57:21 4454a5a49acd3c280cca39f17c1519c2:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2229673922538729444
March       2020         03‐22‐2020 13:02:30 5bdb68cf11d5269bc5975dd7c23f46ae:Destiny 2 VIP Access             34.95 Express Checkout Payment         2073936376947527989
March       2020         03‐22‐2020 15:38:43 4f2801b4836c34c2118a95b160579846:Destiny 2 VIP Access             34.95 Express Checkout Payment         1693470877040479004
March       2020         03‐22‐2020 18:10:22 3234fc98872cd00b94290b358357d8f9:Destiny 2 VIP Access             34.95 Express Checkout Payment         1742323537258841224
March       2020         03‐22‐2020 18:15:05 59806315034ff3c7859a5a93c810bf12:Destiny 2 VIP Access             34.95 Express Checkout Payment         2160766013581822454
March       2020         03‐22‐2020 19:12:32 3d5c0cc1478823e95eabf450325d975e:Destiny 2 VIP Access:            34.95 Express Checkout Payment         2015945816254597308
March       2020         03‐22‐2020 20:33:37 17c9eeea035e5296bf9aac237fb7bbe1:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1385315874823221222
March       2020         03‐23‐2020 03:51:09 d07eb358fae420b963e988e58e8370de:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1231156245516051489
March       2020         03‐23‐2020 08:28:32 c834d489c98f2c47687063463edf7120:Destiny 2 VIP Access             34.95 Express Checkout Payment         1418616588271797373
March       2020         03‐23‐2020 04:39:43 0bd8ba53503aacb8f83f4fe9875f4e0f:Destiny 2 VIP Access:            26.51 Cancellation of Hold for Dispute 1181669921253134617
March       2020         03‐16‐2020 05:17:18 0bd8ba53503aacb8f83f4fe9875f4e0f:Destiny 2 VIP Access:            27.96 Express Checkout Payment         1181669921253134617
March       2020         03‐23‐2020 18:55:43 989a4178908a530713befcbb2f12002c:Destiny 2 VIP Access             34.95 Express Checkout Payment         1429264382906122050
March       2020         03‐24‐2020 05:01:38 8f80e8296c50edbc1798e6f788308504:Destiny 2 VIP Access             34.95 Express Checkout Payment         1829749517439423144
March       2020         03‐24‐2020 07:43:41 1eba1c67c63435cc1a4b1bb2d8e7bc1c:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1974075453572775032
March       2020         03‐24‐2020 10:26:56 d9779de226f301968f4b14bb57edf0a0:Destiny 2 VIP Access             34.95 Express Checkout Payment         1782819586293195117
March       2020         03‐24‐2020 11:44:08 613e1f885dca184c67c7d3c0081150ef:Destiny 2 VIP Access             34.95 Express Checkout Payment         1620796047771237116
March       2020         03‐24‐2020 17:14:06 44e8d68ffeca85c5593587177819527d:Destiny 2 VIP Access             24.47 Express Checkout Payment         1385651289603484494
March       2020         03‐24‐2020 20:09:58 4125459e8281a0467ef7cf1f9236432d:Destiny 2 VIP Access             34.95 Express Checkout Payment         2233265631751899829
March       2020         03‐24‐2020 20:12:31 a9aefef21ae334cba1b716187b6348c5:Destiny 2 VIP Access:            24.47 Express Checkout Payment         2052152405177968550
March       2020         03‐25‐2020 02:46:54 c22db246b4ab5faafcd3bde410c0538a:Destiny 2 VIP Access:            24.47 Express Checkout Payment         1866679474667211466
March       2020         03‐25‐2020 08:20:04 a41377b9783fd8edd616ffda4ec50e82:Destiny 2 VIP Access:            24.47 Express Checkout Payment         1691548984483882956
March       2020         03‐25‐2020 11:53:58 d0dc8561f775a9c28984c1a5ede59bbe:Destiny 2 VIP Access:            24.47 Express Checkout Payment         1231156245516051489
March       2020         03‐25‐2020 14:10:54 6792a36a18570cbd69a9ded6a67d491d:Destiny 2 VIP Access:            24.47 Express Checkout Payment         1704290207357755278
March       2020         03‐25‐2020 15:16:58 c57fc20ab2935ca4f433a106c9886fd9:Destiny 2 VIP Access             34.95 Express Checkout Payment         1178414820191499678
March       2020         03‐25‐2020 16:54:04 c6287b297a9fe746e57fb35404f44dd8:Destiny 2 VIP Access             34.95 Express Checkout Payment         2197524995920974490
March       2020         03‐25‐2020 21:03:48 7bda024707511e91cec12522f0b3e312:Destiny 2 VIP Access:            34.95 Express Checkout Payment         1245024417337229810
March       2020         03‐25‐2020 22:56:56 cc728a2c2dad264caa04099f744ccb3e:Destiny 2 VIP Access:            17.48 Express Checkout Payment         1876518094899608977




                                                                                        Page 8 of 9




                                                                                BX143.021
                    Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 23 of 46


Bungie v. Aimjunkies et al.                                                                                                                                          Schedule 1
Repsondents' Sales per PayPal000034.xlsx

                                                                                                                                                      Counterparty Account
Month       Year         Created Date        Item Title                                               Amount              Transaction Type
                                                                                                                                                      Number
March       2020         03‐26‐2020 03:57:12 8afc5a14f9a55b946d40c942cdfe4177:Destiny 2 VIP Access:              24.47 Express Checkout Payment         1898192796559598359
March       2020         03‐26‐2020 16:19:44 8ff0b2531f6c289eaf2e34a71cc7f18b:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1668480789271519519
March       2020         03‐26‐2020 19:26:36 dcac975641b52cca495bf709d715a9f7:Destiny 2 VIP Access               17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐27‐2020 05:47:47 20e48fef11a36e057498307b2faf1c8f:Destiny 2 VIP Access:              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐27‐2020 07:15:27 efbbdd3b9f3eb31101196bc6cb65fed2:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1313000670043160009
March       2020         03‐17‐2020 13:59:04 07b8f67b244357b0263480f0d78b40e3:Destiny 2 VIP Access               33.15 Cancellation of Hold for Dispute 1832686559908006553
March       2020         03‐27‐2020 18:44:09 c034daea0447ea94f81ad0570c4e35c7:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1212838126711942189
March       2020         03‐27‐2020 22:44:09 a82c69fcc7025fa134be5317469b224f:Destiny 2 VIP Access               24.47 Express Checkout Payment         1866679474667211466
March       2020         03‐28‐2020 15:04:05 3716d64d1b305e745af34bbf710528e3:Destiny 2 VIP Access               34.95 Express Checkout Payment         1412778404358094123
March       2020         03‐28‐2020 19:56:22 1c8957e1532a3eb0289178e6d3cfa037:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1991721841009118586
March       2020         03‐28‐2020 19:56:49 93bfb0a499df81f30d824e734c8e6abb:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1617886202209120520
March       2020         03‐29‐2020 02:07:30 49ab06b5c083d9b51da38e2640912f73:Destiny 2 VIP Access               17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐29‐2020 03:41:20 c09a610b16fe83da0bb50c0b871f2359:Destiny 2 VIP Access               24.47 Express Checkout Payment         1182286799673983649
March       2020         03‐29‐2020 04:07:18 5446dcfbd48259d320ccab704a39bb73:Destiny 2 VIP Access               24.47 Express Checkout Payment         1760684931784104321
March       2020         03‐29‐2020 05:21:27 879d25f56b6c28a46cd705c2cb8c73f2:Destiny 2 VIP Access               34.95 Express Checkout Payment         1968938330088603072
March       2020         03‐29‐2020 07:02:04 ca9cc3ff0f007633b9b47c2d26f381ac:Destiny 2 VIP Access               34.95 Express Checkout Payment         1381662791949310182
March       2020         03‐29‐2020 11:30:03 f92fb872b5405214f99e01a114773be1:Destiny 2 VIP Access               34.95 Express Checkout Payment         1468372419852435716
March       2020         03‐29‐2020 11:32:45 6b9af65ef3e8b9b540aae875818aa989:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1468372419852435716
March       2020         03‐29‐2020 20:26:31 4f2c28f5620ea0a08bd2e26ddb90c4eb:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1909950667230765956
March       2020         03‐29‐2020 21:07:57 b942ada99a1999e38d8b4d71348a312c:Destiny 2 VIP Access:              17.48 Express Checkout Payment         1876518094899608977
March       2020         03‐29‐2020 22:56:43 f42688372f3c13456dca884dd25602dd:Destiny 2 VIP Access               34.95 Express Checkout Payment         1785443978699832290
March       2020         03‐30‐2020 05:11:24 d605aec1cf49b06112d0d3bf5ba53252:Destiny 2 VIP Access               24.47 Express Checkout Payment         1568456814468877361
March       2020         03‐30‐2020 08:33:59 a78475e6ee068a72ddc2e7b433a68448:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1405352787909165865
March       2020         03‐30‐2020 09:17:53 1f469ca701baed0e0a4573e903cbcc44:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1831491740657957332
March       2020         03‐30‐2020 09:40:53 c54b069f018b0d32de74a4bdb151aecc:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1831491740657957332
March       2020         03‐30‐2020 09:50:44 77993cb78457d408ce97fe915ce4c2bd:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1831491740657957332
March       2020         03‐30‐2020 12:44:18 4aace7d68b874da4d519f065f11dbbac:Destiny 2 VIP Access:              24.47 Express Checkout Payment         1790928192898555263
March       2020         03‐30‐2020 13:27:29 19c5743f35ff9e55b81620312aac5cef:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1831491740657957332
March       2020         03‐30‐2020 18:09:24 88eb121418005bb084ba3077c3b958ca:Destiny 2 VIP Access               24.47 Express Checkout Payment         1836984731922223261
March       2020         03‐30‐2020 18:34:25 daa618da81499e95a0acc885e4756748:Destiny 2 VIP Access:              34.95 Express Checkout Payment         2154585863624670762
March       2020         03‐30‐2020 23:49:36 2fec64aeff9ff03207cf92f26b211899:Destiny 2 VIP Access               24.47 Express Checkout Payment         1450935375676298106
March       2020         03‐31‐2020 00:47:15 0f701b0594126afcddb016ab91254c8c:Destiny 2 VIP Access               34.95 Express Checkout Payment         1383339186721223067
March       2020         03‐31‐2020 03:37:07 b71b7da4ebf49cb6a24ceaa3d48943ac:Destiny 2 VIP Access:              24.47 Express Checkout Payment         2167790218778731944
March       2020         03‐31‐2020 06:01:47 059a9f9c554fb901e04bbdc97d7d1fef:Destiny 2 VIP Access:              34.95 Express Checkout Payment         2147111297997712097
March       2020         03‐31‐2020 06:20:48 d36fc350f9d6b9b8b5558da18a56a898:Destiny 2 VIP Access               34.95 Express Checkout Payment         1700237153389344706
March       2020         03‐31‐2020 08:05:17 5cf8397cdfe3e7e3d22771f1915395df:Destiny 2 VIP Access               34.95 Express Checkout Payment         1358922788963283140
March       2020         03‐31‐2020 08:58:25 89306d9e43ebd7a53f45d1a4a9c56f61:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1178501088256388238
March       2020         03‐31‐2020 10:25:01 afaea7837a7880b0f2005444ff6e1fb5:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1606887617561316416
March       2020         03‐31‐2020 11:28:23 eb5b61742442ab51cc86701135b3be82:Destiny 2 VIP Access               24.47 Express Checkout Payment         1657824691659200440
April       2020         04‐01‐2020 03:45:44 43910e3b65634a5c728e31ab07c6301c:Destiny 2 VIP Access               34.95 Express Checkout Payment         1511999127480583027
April       2020         04‐01‐2020 12:25:35 254d40a8df46d26124a84e50c19a069c:Destiny 2 VIP Access               34.95 Payment Refund                   1405352787909165865
March       2020         03‐30‐2020 08:39:07 254d40a8df46d26124a84e50c19a069c:Destiny 2 VIP Access               34.95 Express Checkout Payment         1405352787909165865
April       2020         04‐01‐2020 15:45:24 307993c769e98a425554e1b484095e16:Destiny 2 VIP Access               34.95 Express Checkout Payment         2276460986194773026
April       2020         04‐01‐2020 15:45:42 307993c769e98a425554e1b484095e16:Destiny 2 VIP Access               34.95 Express Checkout Payment         2276460986194773026
April       2020         04‐01‐2020 18:13:00 28082a9165974497bb0661897547c964:Destiny 2 VIP Access               34.95 Express Checkout Payment         1496297213418561030
April       2020         04‐02‐2020 00:35:39 ee40490630c4ade44c24e5dc0c9db2ac:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1723892356692976459
April       2020         04‐02‐2020 15:40:19 1b3b49c97510150b58b329a53e1465a8:Destiny 2 VIP Access               34.95 Express Checkout Payment         1490609433297301338
April       2020         04‐02‐2020 16:42:58 1c8a8f49e68654165f45924d1369fe53:Destiny 2 VIP Access               34.95 Express Checkout Payment         1233132863314764695
April       2020         04‐02‐2020 16:53:36 6cb3ff89d2654a57f78eaac1478b93a5:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1844301150346916602
April       2020         04‐02‐2020 17:31:43 55453c72e8891817bb19c4bac03f2285:Destiny 2 VIP Access               34.95 Express Checkout Payment         1772386362415414024
April       2020         04‐02‐2020 17:41:49 226ed74c354e4deafcd1ccba32a263ee:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1772386362415414024
April       2020         04‐02‐2020 19:14:45 f68b7aaaea9e44e64d72342d998a2d89:Destiny 2 VIP Access:              24.47 Express Checkout Payment         1743403510984025466
April       2020         04‐03‐2020 04:07:18 ee4ebabd66b03db72bcac255112b5592:Destiny 2 VIP Access:              34.95 Express Checkout Payment         2036299336396159065
April       2020         04‐03‐2020 06:12:06 dce144f85666c1f5104440b696c44660:Destiny 2 VIP Access               34.95 Express Checkout Payment         1831665367694716509
March       2020         03‐31‐2020 01:58:54 cfb3c6c89ec63eff742d37b2b0b077d8:Destiny 2 VIP Access               24.47 Express Checkout Payment         2095825757742211227
April       2020         04‐03‐2020 11:13:08 cab34f023561304efae0f2d709f94eb1:Destiny 2 VIP Access:              34.95 Express Checkout Payment         2270753223704604046
April       2020         04‐03‐2020 11:16:21 b6ba18ca0f9380513d6a2a1c436ca313:Destiny 2 VIP Access:              34.95 Express Checkout Payment         1223687156840334973
March       2020         03‐26‐2020 09:17:36 7f152ec1c1d576e7702cbea29f0c6c92:Destiny 2 VIP Access:              33.15 Cancellation of Hold for Dispute 2197524995920974490
May         2020         05‐03‐2020 16:15:29 7f152ec1c1d576e7702cbea29f0c6c92:Destiny 2 VIP Access:              34.95 Payment Reversal                 2197524995920974490
March       2020         03‐25‐2020 16:58:26 7f152ec1c1d576e7702cbea29f0c6c92:Destiny 2 VIP Access:              34.95 Express Checkout Payment         2197524995920974490
April       2020         04‐20‐2020 21:16:48 57f904d9dc4f0463a2f804ad1684ccfe:Destiny 2 VIP Access               33.15 Cancellation of Hold for Dispute 1365357446784136951
May         2020         05‐10‐2020 21:16:59 57f904d9dc4f0463a2f804ad1684ccfe:Destiny 2 VIP Access               34.95 Payment Reversal                 1365357446784136951
February    2020         02‐10‐2020 11:41:51 57f904d9dc4f0463a2f804ad1684ccfe:Destiny 2 VIP Access               34.95 Express Checkout Payment         1365357446784136951
February    2020         02‐19‐2020 17:08:35 07b8f67b244357b0263480f0d78b40e3:Destiny 2 VIP Access               34.95 Express Checkout Payment         1832686559908006553
February    2020         02‐29‐2020 15:18:34 e9f4efb1fa011b6ec068dbbc40b4dc58:Destiny 2 VIP Access:              33.15 Cancellation of Hold for Dispute 2295550218578331919
February    2020         02‐29‐2020 13:33:42 e9f4efb1fa011b6ec068dbbc40b4dc58:Destiny 2 VIP Access:              34.95 Express Checkout Payment         2295550218578331919

Transaction Types                                                                                              Amount                         Count
Cancellation of Hold for Dispute Resolution                                                           $            543                           17
Express Checkout Payment                                                                              $         21,412                          697
Payment Refund                                                                                        $            (98)                          ‐3
Payment Reversal                                                                                      $           (175)                          ‐5
 Totals (Refunds and Reversals assumed to be negative) from Dec‐2019 through May‐2020                 $         21,683                          706




                                                                                        Page 9 of 9




                                                                                   BX143.022
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 24 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1GWDjiFC3UHDqjaSxaacwAAl
Destiny 2 VIP Access                  3495                 0 txn_1GWFUqFC3UHDqjaSluHwjKSw
Destiny 2 VIP Access                  1748                 0 txn_1GWJPGFC3UHDqjaSoFvnHlfJ
Destiny 2 VIP Access                  2447                 0 txn_1GWQBzFC3UHDqjaSz8GVFtdA
Destiny 2 VIP Access                  2447                 0 txn_1GWXhdFC3UHDqjaSVEzXO8Q9
Destiny 2 VIP Access                  3495                 0 txn_1GWdIZFC3UHDqjaScWsxKGEH
Destiny 2 VIP Access                  3495                 0 txn_1GWdZBFC3UHDqjaS51EvjLzg
Destiny 2 VIP Access                  3495                 0 txn_1GWoAFFC3UHDqjaSPGz8hq8Y
Destiny 2 VIP Access                  3495                 0 txn_1GWrveFC3UHDqjaSKz97WDXh
Destiny 2 VIP Access                  2447                 0 txn_1GWxiOFC3UHDqjaSgQSWS2Gd
Destiny 2 VIP Access                  3495                 0 txn_1GWyg2FC3UHDqjaSBEv8yTum
Destiny 2 VIP Access                  3495                 0 txn_1GX0G1FC3UHDqjaSPw3iTkXW
Destiny 2 VIP Access                  2447                 0 txn_1GX6hMFC3UHDqjaSOzCR6jD8
Destiny 2 VIP Access                  3495                 0 txn_1GX6hsFC3UHDqjaSsRkklilF
Destiny 2 VIP Access                  2447                 0 txn_1GX7SyFC3UHDqjaSPw35OhmJ
Destiny 2 VIP Access                  3495                 0 txn_1GX9VGFC3UHDqjaSUbTCkoBj
Destiny 2 VIP Access                  3495                 0 txn_1GXCUZFC3UHDqjaSxYozTORG
Destiny 2 VIP Access                  3495                 0 txn_1GXEiQFC3UHDqjaSNfbiR0Xv
Destiny 2 VIP Access                  2447                 0 txn_1GXFrFFC3UHDqjaS8kV3ulxQ
Destiny 2 VIP Access                  3495                 0 txn_1GXHIrFC3UHDqjaSH82eZJ9Q
Destiny 2 VIP Access                  3495                 0 txn_1GXHiqFC3UHDqjaSdyTmFTHX
Destiny 2 VIP Access                  3495                 0 txn_1GXIWiFC3UHDqjaS1raGjFdu
Destiny 2 VIP Access                  3495                 0 txn_1GXM8cFC3UHDqjaS9DjG1arB
Destiny 2 VIP Access                  2447                 0 txn_1GXT5EFC3UHDqjaSBt5CQlMU
Destiny 2 VIP Access                  3495                 0 txn_1GXVEZFC3UHDqjaSKotoi2J7
Destiny 2 VIP Access                  1748                 0 txn_1GXeItFC3UHDqjaSB0rZw2Vq
Destiny 2 VIP Access                  3495                 0 txn_1GXfAHFC3UHDqjaSue35a4HN
Destiny 2 VIP Access                  3495                 0 txn_1GXfWIFC3UHDqjaSgOtyUYAD
Destiny 2 VIP Access                  3495                 0 txn_1GXlawFC3UHDqjaSK9EbGJ82
Destiny 2 VIP Access                  3495                 0 txn_1GXoN5FC3UHDqjaSTJ6LJv7M
Destiny 2 VIP Access                  2447                 0 txn_1GXsQIFC3UHDqjaSc0Vb8Mz8
Destiny 2 VIP Access                  3495                 0 txn_1GY4UMFC3UHDqjaS8mcfSA0R
Destiny 2 VIP Access                  3495                 0 txn_1GY7f4FC3UHDqjaScA8wOMQf
Destiny 2 VIP Access                  3495                 0 txn_1GY9qrFC3UHDqjaS73yYVxa2
Destiny 2 VIP Access                  3495                 0 txn_1GYAsdFC3UHDqjaSaKHxp34R
Destiny 2 VIP Access                  1748                 0 txn_1GYBnbFC3UHDqjaSI80NooY9
Destiny 2 VIP Access                  3495                 0 txn_1GYGSmFC3UHDqjaSFnNwJFWl
Destiny 2 VIP Access                  3495                 0 txn_1GYH31FC3UHDqjaSYuBO6JQn
Destiny 2 VIP Access                  3495                 0 txn_1GYKTsFC3UHDqjaSXHaEL3SZ
Destiny 2 VIP Access                  3495                 0 txn_1GYMXlFC3UHDqjaSl3pfxqwQ
Destiny 2 VIP Access                  3495                 0 txn_1GYMgWFC3UHDqjaSM0PQGpQb
Destiny 2 VIP Access                  3495                 0 txn_1GYPkbFC3UHDqjaS2gsPrlih
Destiny 2 VIP Access                  3495                 0 txn_1GYXPUFC3UHDqjaSeVlz90kB
Destiny 2 VIP Access                  3495                 0 txn_1GYan7FC3UHDqjaSs4NXdayn
Destiny 2 VIP Access                  3495                 0 txn_1GYcdnFC3UHDqjaSdxfYpFYO
Destiny 2 VIP Access                  2447                 0 txn_1GYiccFC3UHDqjaSeQSCqhT5
Destiny 2 VIP Access                  3495                 0 txn_1GYzMkFC3UHDqjaSfcP5myTo
Destiny 2 VIP Access                  2447                 0 txn_1GZ4aFFC3UHDqjaSpfWXU6kK
Destiny 2 VIP Access                  3495                 0 txn_1GZ68bFC3UHDqjaSdDEweeRE
Destiny 2 VIP Access                  1748                 0 txn_1GZ87PFC3UHDqjaSJtQecDL3



                                                 Page 1 of 14



                                               BX143.023
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 25 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1GZLkiFC3UHDqjaS3d1fI0FX
Destiny 2 VIP Access                  2447                 0 txn_1GZRVqFC3UHDqjaS6bF4uAkj
Destiny 2 VIP Access                  3495                 0 txn_1GZRxhFC3UHDqjaSbXmtOtjg
Destiny 2 VIP Access                  3495                 0 txn_1GZeJ4FC3UHDqjaSJVcGd75f
Destiny 2 VIP Access                  3495                 0 txn_1GZfJNFC3UHDqjaSUomFURRA
Destiny 2 VIP Access                  3495                 0 txn_1GZgmdFC3UHDqjaS0mabJJ0f
Destiny 2 VIP Access                  3495                 0 txn_1GZiUaFC3UHDqjaSGulrb5U2
Destiny 2 VIP Access                  3495                 0 txn_1GZmKSFC3UHDqjaSmo6UVwT4
Destiny 2 VIP Access                  3495                 0 txn_1GZma2FC3UHDqjaSbNmdfheI
Destiny 2 VIP Access                  3495                 0 txn_1GZnUoFC3UHDqjaSGvInOh78
Destiny 2 VIP Access                  2447                 0 txn_1GZrCyFC3UHDqjaSrFerDaeG
Destiny 2 VIP Access                  3495                 0 txn_1GZxe9FC3UHDqjaShbwFlqrA
Destiny 2 VIP Access                  3495                 0 txn_1Ga20vFC3UHDqjaShBz4KPHd
Destiny 2 VIP Access                  3495                 0 txn_1Ga8YQFC3UHDqjaSZIhevmWb
Destiny 2 VIP Access                  3495                 0 txn_1Ga9u5FC3UHDqjaSHUAkGGtA
Destiny 2 VIP Access                  3495                 0 txn_1GaFFQFC3UHDqjaSlTEuaPK0
Destiny 2 VIP Access                  3495                 0 txn_1GaHCfFC3UHDqjaSsZ99AFx8
Destiny 2 VIP Access                  3495                 0 txn_1GaHskFC3UHDqjaSXCMjx8hb
Destiny 2 VIP Access                  3495                 0 txn_1GaQipFC3UHDqjaSFYq0bbvc
Destiny 2 VIP Access                  3495                 0 txn_1GaR83FC3UHDqjaSjeaObHRM
Destiny 2 VIP Access                  3495                 0 txn_1GaVVhFC3UHDqjaSTINDKOmz
Destiny 2 VIP Access                  2447                 0 txn_1GaYCqFC3UHDqjaSO1sOiHzW
Destiny 2 VIP Access                  3495                 0 txn_1GaZOaFC3UHDqjaSpzjO8zot
Destiny 2 VIP Access                  3495                 0 txn_1GalPGFC3UHDqjaSSsgMNMOP
Destiny 2 VIP Access                  3495                 0 txn_1GamYfFC3UHDqjaS3BfLPIvB
Destiny 2 VIP Access                  3495                 0 txn_1Gan9EFC3UHDqjaS4QEFceH6
Destiny 2 VIP Access                  2447                 0 txn_1Gar9EFC3UHDqjaSSPUj3tBd
Destiny 2 VIP Access                  3495                 0 txn_1Gax8fFC3UHDqjaSYqBNEM1J
Destiny 2 VIP Access                  3495                 0 txn_1GbFqdFC3UHDqjaSayyMOKmU
Destiny 2 VIP Access                  2447                 0 txn_1GbTZmFC3UHDqjaS9i1dfa6I
Destiny 2 VIP Access                  3495                 0 txn_1GbUsZFC3UHDqjaSVWb12vjm
Destiny 2 VIP Access                  3495                 0 txn_1GbYgdFC3UHDqjaSwwGg35qp
Destiny 2 VIP Access                  3495                 0 txn_1GbfUVFC3UHDqjaSqgqItBis
Destiny 2 VIP Access                  2447                 0 txn_1GbfV5FC3UHDqjaS6JqaEH6k
Destiny 2 VIP Access                  3495                 0 txn_1GbnSLFC3UHDqjaSpRkUTxW6
Destiny 2 VIP Access                  1748                 0 txn_1GbpijFC3UHDqjaSvxoURd7s
Destiny 2 VIP Access                  3495                 0 txn_1GbtO5FC3UHDqjaSkvt0e5Um
Destiny 2 VIP Access                  3495                 0 txn_1Gbw1jFC3UHDqjaSvfNGcqt6
Destiny 2 VIP Access                  2447                 0 txn_1Gc0EjFC3UHDqjaSWVvBGfnu
Destiny 2 VIP Access                  3495                 0 txn_1GcF2vFC3UHDqjaSXvBkECkl
Destiny 2 VIP Access                  3495                 0 txn_1GcJTNFC3UHDqjaSrc9t89P4
Destiny 2 VIP Access                  3495                 0 txn_1GcPTFFC3UHDqjaSNUqj1Yqe
Destiny 2 VIP Access                  3495                 0 txn_1GcXzTFC3UHDqjaSihPt2tHP
Destiny 2 VIP Access                  1748                 0 txn_1GcaIxFC3UHDqjaS64oeUAUF
Destiny 2 VIP Access                  3495                 0 txn_1GcgPnFC3UHDqjaSQWS4MM4s
Destiny 2 VIP Access                  3495                 0 txn_1Gch2vFC3UHDqjaSxKtMCN0n
Destiny 2 VIP Access                  3495                 0 txn_1GcmZVFC3UHDqjaSyof4YOdd
Destiny 2 VIP Access                  3495                 0 txn_1GcpX3FC3UHDqjaS0gYB6oBL
Destiny 2 VIP Access                  3495                 0 txn_1Gcsd6FC3UHDqjaSp9JHiupu
Destiny 2 VIP Access                  3495                 0 txn_1Gcu9WFC3UHDqjaSl8mYOM0C



                                                 Page 2 of 14



                                               BX143.024
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 26 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1Gcy3OFC3UHDqjaSM8CLg3Wt
Destiny 2 VIP Access                  2447                 0 txn_1GczVbFC3UHDqjaSaGrXcndI
Destiny 2 VIP Access                  1748                 0 txn_1GdUKzFC3UHDqjaSb0N9bMxy
Destiny 2 VIP Access                  1748                 0 txn_1Gdc2eFC3UHDqjaSUvzyQrcJ
Destiny 2 VIP Access                  1748                 0 txn_1Gdjh4FC3UHDqjaSwxQbllOv
Destiny 2 VIP Access                  3495                 0 txn_1GdqqtFC3UHDqjaSa8CCMpYR
Destiny 2 VIP Access                  3495                 0 txn_1GdrlVFC3UHDqjaSwvfhxif1
Destiny 2 VIP Access                  3495                 0 txn_1Ge4meFC3UHDqjaSHAiUICCI
Destiny 2 VIP Access                  3495                 0 txn_1Ge61DFC3UHDqjaSId7mLaJ5
Destiny 2 VIP Access                  1748                 0 txn_1GeB7yFC3UHDqjaSFpZQGOix
Destiny 2 VIP Access                  3495                 0 txn_1GeBHiFC3UHDqjaSyfJ0EhoW
Destiny 2 VIP Access                  3495                 0 txn_1GeFt9FC3UHDqjaSXHodWd2B
Destiny 2 VIP Access                  3495                 0 txn_1GeH4PFC3UHDqjaSEWHzxAoA
Destiny 2 VIP Access                  2447                 0 txn_1GeQaeFC3UHDqjaSFDKn6Z1h
Destiny 2 VIP Access                  3495                 0 txn_1GeW5AFC3UHDqjaSWxxtcYKQ
Destiny 2 VIP Access                  3495                 0 txn_1GeX9EFC3UHDqjaSW3xZMqWg
Destiny 2 VIP Access                  2447                 0 txn_1GeXIGFC3UHDqjaSLemoOlhv
Destiny 2 VIP Access                  3495                 0 txn_1GehkPFC3UHDqjaSOmKOoia7
Destiny 2 VIP Access                  1748                 0 txn_1GeiDbFC3UHDqjaSBnOPvBiq
Destiny 2 VIP Access                  1748                 0 txn_1Geji8FC3UHDqjaSWNQ30CXM
Destiny 2 VIP Access                  3495                 0 txn_1GesiJFC3UHDqjaS2Jl7Kvw2
Destiny 2 VIP Access                  1748                 0 txn_1Gf255FC3UHDqjaSV5CLCuou
Destiny 2 VIP Access                  1748                 0 txn_1Gf26EFC3UHDqjaSbzdVzVjP
Destiny 2 VIP Access                  2447                 0 txn_1GfQb2FC3UHDqjaSLs1qTeuK
Destiny 2 VIP Access                  3495                 0 txn_1GfXThFC3UHDqjaSSDUdKLR8
Destiny 2 VIP Access                  1748                 0 txn_1GfoYRFC3UHDqjaSRRYbKDdz
Destiny 2 VIP Access                  3495                 0 txn_1Gg86iFC3UHDqjaSNxl4Xft9
Destiny 2 VIP Access                  3495                 0 txn_1GgJINFC3UHDqjaSdAwoMJvg
Destiny 2 VIP Access                  3495                 0 txn_1GgbmoFC3UHDqjaSMyMO0ngs
Destiny 2 VIP Access                  1748                 0 txn_1GgkifFC3UHDqjaSRIKHgW6j
Destiny 2 VIP Access                  3495                 0 txn_1GgpeSFC3UHDqjaSEAiy0Mkc
Destiny 2 VIP Access                  2447                 0 txn_1Gh3FtFC3UHDqjaSdQEb7vGL
Destiny 2 VIP Access                  3495                 0 txn_1Gh4I2FC3UHDqjaSESudghlS
Destiny 2 VIP Access                  2447                 0 txn_1GhD4MFC3UHDqjaSaOfM6Guy
Destiny 2 VIP Access                  1748                 0 txn_1GhDbqFC3UHDqjaSdB3pLIyF
Destiny 2 VIP Access                  2447                 0 txn_1GhFUhFC3UHDqjaSYzaE76U7
Destiny 2 VIP Access                  3495                 0 txn_1GhRcUFC3UHDqjaSMignsweN
Destiny 2 VIP Access                  2447                 0 txn_1GhY93FC3UHDqjaSATtwTPok
Destiny 2 VIP Access                  3495                 0 txn_1GhaJ5FC3UHDqjaS6bp0PUcz
Destiny 2 VIP Access                  1748                 0 txn_1GhaSiFC3UHDqjaSmaQCPmNa
Destiny 2 VIP Access                  3495                 0 txn_1Ghqk9FC3UHDqjaS47LkEn3T
Destiny 2 VIP Access                  3495                 0 txn_1Ghrr9FC3UHDqjaSOFGVtZW2
Destiny 2 VIP Access                  3495                 0 txn_1Gi3E2FC3UHDqjaSTcvmN1lW
Destiny 2 VIP Access                  3495                 0 txn_1Gi9FnFC3UHDqjaSmDTVnpDk
Destiny 2 VIP Access                  3495                 0 txn_1GiH9EFC3UHDqjaSYeB05vq3
Destiny 2 VIP Access                  2447                 0 txn_1GiK2UFC3UHDqjaSAjx9Eqav
Destiny 2 VIP Access                  3495                 0 txn_1GiOGOFC3UHDqjaS7EHJMFtb
Destiny 2 VIP Access                  3495                 0 txn_1GiWkyFC3UHDqjaSHW4bOuIt
Destiny 2 VIP Access                  3495                 0 txn_1GibQwFC3UHDqjaSOK1fKL7T
Destiny 2 VIP Access                  2447                 0 txn_1GinTrFC3UHDqjaSFbXVThDQ



                                                 Page 3 of 14



                                               BX143.025
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 27 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1GirVpFC3UHDqjaS5ZGMRXPf
Destiny 2 VIP Access                  3495                 0 txn_1GiuahFC3UHDqjaS6x2Bi6rm
Destiny 2 VIP Access                  2447                 0 txn_1GiwvBFC3UHDqjaSq50Z8KHu
Destiny 2 VIP Access                  2447                 0 txn_1Gj6FvFC3UHDqjaSwevQlj7Y
Destiny 2 VIP Access                  3495                 0 txn_1GjK54FC3UHDqjaSP7AtvKSX
Destiny 2 VIP Access                  3495                 0 txn_1GjWTCFC3UHDqjaSbOQWu8FZ
Destiny 2 VIP Access                  3495                 0 txn_1Gk0GfFC3UHDqjaSaeKguoaV
Destiny 2 VIP Access                  3495                 0 txn_1GkIEYFC3UHDqjaSR6bzh22t
Destiny 2 VIP Access                  1748                 0 txn_1GkpfgFC3UHDqjaS56IqrHCm
Destiny 2 VIP Access                  3495                 0 txn_1GkqOjFC3UHDqjaSxdYso0sR
Destiny 2 VIP Access                  3495                 0 txn_1GkrO5FC3UHDqjaSYotHyoZi
Destiny 2 VIP Access                  1748                 0 txn_1GlDGgFC3UHDqjaSvKHBsqjz
Destiny 2 VIP Access                  3495                 0 txn_1GlEFiFC3UHDqjaSTQj8ZeHs
Destiny 2 VIP Access                  3495                 0 txn_1GlFptFC3UHDqjaSMdLOm0tt
Destiny 2 VIP Access                  1748                 0 txn_1GlXxZFC3UHDqjaSzM5lsesZ
Destiny 2 VIP Access                  3495                 0 txn_1Glo3sFC3UHDqjaSJafUCtUo
Destiny 2 VIP Access                  3495                 0 txn_1GlpF4FC3UHDqjaSOdm8PFvm
Destiny 2 VIP Access                  3495                 0 txn_1Gls1WFC3UHDqjaSrZBIagqV
Destiny 2 VIP Access                  3495                 0 txn_1GlsGGFC3UHDqjaSEKCClTJn
Destiny 2 VIP Access                  3495                 0 txn_1Gm0RRFC3UHDqjaSKy5n9tr9
Destiny 2 VIP Access                  3495                 0 txn_1GmBdeFC3UHDqjaS1Z1AZ89n
Destiny 2 VIP Access                  3495                 0 txn_1GmElOFC3UHDqjaScayfnlSP
Destiny 2 VIP Access                  3495                 0 txn_1GmHmzFC3UHDqjaSSsNaCLKY
Destiny 2 VIP Access                  1748                 0 txn_1GmMg1FC3UHDqjaS2QphImk2
Destiny 2 VIP Access                  3495              3495 txn_1GmSDLFC3UHDqjaSnnzjSdLB
Destiny 2 VIP Access                  3495                 0 txn_1GmUSnFC3UHDqjaSGLFhLIGG
Destiny 2 VIP Access                  3495                 0 txn_1GmYZWFC3UHDqjaSaT6e9Jl4
Destiny 2 VIP Access                  1748                 0 txn_1GmdC9FC3UHDqjaSjcstgKmz
Destiny 2 VIP Access                  3495                 0 txn_1GnNFOFC3UHDqjaSwN6ONvc4
Destiny 2 VIP Access                  1748                 0 txn_1GnOXrFC3UHDqjaStHGhShAH
Destiny 2 VIP Access                  1748                 0 txn_1GnPOTFC3UHDqjaS1exwVhsM
Destiny 2 VIP Access                  1748                 0 txn_1GnnEfFC3UHDqjaSn6nBTNQr
Destiny 2 VIP Access                  1748                 0 txn_1Gnst5FC3UHDqjaShlcWA579
Destiny 2 VIP Access                  3495                 0 txn_1GoI2iFC3UHDqjaSV645kPfI
Destiny 2 VIP Access                  3495                 0 txn_1GoI5EFC3UHDqjaS6HnbzLVn
Destiny 2 VIP Access                  1748                 0 txn_1GpAWaFC3UHDqjaSpuMnAeQK
Destiny 2 VIP Access                  3495                 0 txn_1GpEYsFC3UHDqjaSEDpGSTIk
Destiny 2 VIP Access                  3495                 0 txn_1GpHqXFC3UHDqjaSPN6iZXLN
Destiny 2 VIP Access                  1748                 0 txn_1GpTNVFC3UHDqjaSA8w9h9ok
Destiny 2 VIP Access                  3495              3495 txn_1GptF2FC3UHDqjaS1wTYFTUi
Destiny 2 VIP Access                  3495                 0 txn_1Gq7QaFC3UHDqjaSLgLImsck
Destiny 2 VIP Access                  3495                 0 txn_1Gq7U7FC3UHDqjaSvcE4asgc
Destiny 2 VIP Access                  3495                 0 txn_1GqVfpFC3UHDqjaSBU8q0fNP
Destiny 2 VIP Access                  3495                 0 txn_1GqZLqFC3UHDqjaSNwhKlQNj
Destiny 2 VIP Access                  1748                 0 txn_1Gqa7dFC3UHDqjaSK0AQkijg
Destiny 2 VIP Access                  3495                 0 txn_1Gqo2XFC3UHDqjaSkdTaJdAh
Destiny 2 VIP Access                  3495                 0 txn_1GqyAuFC3UHDqjaSWdBCroIa
Destiny 2 VIP Access                  3495                 0 txn_1GqyMTFC3UHDqjaSnE930McS
Destiny 2 VIP Access                  1748                 0 txn_1Gr9iIFC3UHDqjaSpVsyEvEs
Destiny 2 VIP Access                  3495                 0 txn_1GrCl6FC3UHDqjaS5S46vJOI



                                                 Page 4 of 14



                                               BX143.026
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 28 of 46


Bungie v. Aimjunkies et al.                                                       Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1GrE2TFC3UHDqjaSi1HVaqqI
Destiny 2 VIP Access                  1748                 0 txn_1GrE6AFC3UHDqjaSoT9Cfg8c
Destiny 2 VIP Access                  3495                 0 txn_1GrH1OFC3UHDqjaSBfCTkpgU
Destiny 2 VIP Access                  3495                 0 txn_1GrHaBFC3UHDqjaSx6IIhCmI
Destiny 2 VIP Access                  3495                 0 txn_1GrUpiFC3UHDqjaSjvGmO9if
Destiny 2 VIP Access                  3495                 0 txn_1GrV59FC3UHDqjaSwVn7hJK7
Destiny 2 VIP Access                  3495                 0 txn_1GrcniFC3UHDqjaStfzTTYFO
Destiny 2 VIP Access                  3495                 0 txn_1GrwwIFC3UHDqjaSHmtDEe0N
Destiny 2 VIP Access                  1748                 0 txn_1Gs6FgFC3UHDqjaSp7qwvlRD
Destiny 2 VIP Access                  3495                 0 txn_1GsDIWFC3UHDqjaSBSNG9Kah
Destiny 2 VIP Access                  3495                 0 txn_1GsLPqFC3UHDqjaSFLajUdGT
Destiny 2 VIP Access                  1748                 0 txn_1GsReRFC3UHDqjaS1mTo6Trw
Destiny 2 VIP Access                  3495                 0 txn_1GsdXSFC3UHDqjaS55Ctpbo9
Destiny 2 VIP Access                  3495                 0 txn_1Gse2uFC3UHDqjaSCI3WU9zD
Destiny 2 VIP Access                  3495                 0 txn_1GsespFC3UHDqjaSHcEG9NCL
Destiny 2 VIP Access                  3495                 0 txn_1GsgpLFC3UHDqjaSAVfjbNMf
Destiny 2 VIP Access                  3495                 0 txn_1Gsi4qFC3UHDqjaSucpbH0wz
Destiny 2 VIP Access                  1748                 0 txn_1GskkpFC3UHDqjaSmDAujNkD
Destiny 2 VIP Access                  1748                 0 txn_1GslleFC3UHDqjaSofxJbSb1
Destiny 2 VIP Access                  3495                 0 txn_1GslwjFC3UHDqjaSMM1r6hHK
Destiny 2 VIP Access                  3495                 0 txn_1GsnsBFC3UHDqjaSCzIqDJNC
Destiny 2 VIP Access                  1748                 0 txn_1Gsy4uFC3UHDqjaSezWUdWjB
Destiny 2 VIP Access                  3495                 0 txn_1Gt3jeFC3UHDqjaSR4xAo7Y2
Destiny 2 VIP Access                  3495                 0 txn_1Gt64EFC3UHDqjaSo7LhFkHA
Destiny 2 VIP Access                  3495                 0 txn_1GtBe7FC3UHDqjaSc7tTpFLh
Destiny 2 VIP Access                  1748                 0 txn_1GtDKpFC3UHDqjaSRKtJubso
Destiny 2 VIP Access                  3495                 0 txn_1GtDwBFC3UHDqjaS6tsWpdTY
Destiny 2 VIP Access                  3495                 0 txn_1GtGQfFC3UHDqjaSISKEfvHb
Destiny 2 VIP Access                  3495                 0 txn_1GtRzRFC3UHDqjaSouWSNIs4
Destiny 2 VIP Access                  3495                 0 txn_1GtUvhFC3UHDqjaSJ9Waappn
Destiny 2 VIP Access                  3495                 0 txn_1GtWLSFC3UHDqjaSEKaUiTFi
Destiny 2 VIP Access                  1748                 0 txn_1GtcKfFC3UHDqjaSsYVBTuLr
Destiny 2 VIP Access                  3495                 0 txn_1GtsqUFC3UHDqjaSC7QC4gAr
Destiny 2 VIP Access                  3495                 0 txn_1Gtu0IFC3UHDqjaSFHsaruXy
Destiny 2 VIP Access                  1748                 0 txn_1Gu0N4FC3UHDqjaS6UUTihDz
Destiny 2 VIP Access                  3495                 0 txn_1Gu80uFC3UHDqjaSqEs7e58y
Destiny 2 VIP Access                  3495                 0 txn_1GuZRZFC3UHDqjaSU5dc91DJ
Destiny 2 VIP Access                  1748                 0 txn_1GudbfFC3UHDqjaS9ZmXVL8B
Destiny 2 VIP Access                  3495                 0 txn_1GunxOFC3UHDqjaSL5mdRsBP
Destiny 2 VIP Access                  3495                 0 txn_1GutrcFC3UHDqjaSlXU3Q2yv
Destiny 2 VIP Access                  3495                 0 txn_1Guw9HFC3UHDqjaSRT70IpMw
Destiny 2 VIP Access                  3495                 0 txn_1Gv1dIFC3UHDqjaSV9MGQQf8
Destiny 2 VIP Access                  3495                 0 txn_1Gv2vKFC3UHDqjaSQtnJtwrC
Destiny 2 VIP Access                  3495                 0 txn_1Gv51bFC3UHDqjaSFP4SfVQt
Destiny 2 VIP Access                  3495                 0 txn_1GvAGmFC3UHDqjaSva7yitKT
Destiny 2 VIP Access                  3495                 0 txn_1GvJrEFC3UHDqjaS5acqOnwp
Destiny 2 VIP Access                  3495                 0 txn_1GvL5MFC3UHDqjaS0fC1CPl3
Destiny 2 VIP Access                  3495                 0 txn_1GvYqyFC3UHDqjaSvUeAtEpd
Destiny 2 VIP Access                  3495                 0 txn_1GvngCFC3UHDqjaSClUru5fT
Destiny 2 VIP Access                  3495                 0 txn_1Gvo3CFC3UHDqjaS3A0kgNbJ



                                                 Page 5 of 14



                                               BX143.027
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 29 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1Gvw6mFC3UHDqjaSmhqUjiMq
Destiny 2 VIP Access                  3495                 0 txn_1GvyqeFC3UHDqjaSpekwsjr2
Destiny 2 VIP Access                  3495                 0 txn_1GwN6FFC3UHDqjaSQoqoHU0L
Destiny 2 VIP Access                  3495                 0 txn_1GwXxGFC3UHDqjaSSgxmK4ly
Destiny 2 VIP Access                  3495                 0 txn_1GwYGFFC3UHDqjaSHcbAgU4O
Destiny 2 VIP Access                  3495                 0 txn_1GwuhdFC3UHDqjaSLUA4X3oJ
Destiny 2 VIP Access                  1748                 0 txn_1Gwvt2FC3UHDqjaSsFlcDiWS
Destiny 2 VIP Access                  3495                 0 txn_1Gx1ioFC3UHDqjaSQs1Pv6OK
Destiny 2 VIP Access                  3495                 0 txn_1GxY2MFC3UHDqjaS83OtT0E3
Destiny 2 VIP Access                  3495                 0 txn_1GxmFEFC3UHDqjaSNF16gW2E
Destiny 2 VIP Access                  3495                 0 txn_1GxtwxFC3UHDqjaSASdBWlAe
Destiny 2 VIP Access                  3495                 0 txn_1GxwcwFC3UHDqjaS0Gk9fRyP
Destiny 2 VIP Access                  3495                 0 txn_1GxwywFC3UHDqjaSsX2PTh44
Destiny 2 VIP Access                  3495                 0 txn_1GxxvPFC3UHDqjaSXgNLMSYq
Destiny 2 VIP Access                  1748                 0 txn_1Gy8yDFC3UHDqjaSdAN3Q0FV
Destiny 2 VIP Access                  3495                 0 txn_1GydLFFC3UHDqjaSrcLO4lMq
Destiny 2 VIP Access                  3495                 0 txn_1Gyo4IFC3UHDqjaSByP6CQ8Q
Destiny 2 VIP Access                  1748                 0 txn_1GysVAFC3UHDqjaSrWmwrXQ1
Destiny 2 VIP Access                  3495                 0 txn_1GyvhHFC3UHDqjaSoP0yOEQr
Destiny 2 VIP Access                  1748                 0 txn_1Gz3MTFC3UHDqjaSyWJaPP5e
Destiny 2 VIP Access                  3495                 0 txn_1Gz45uFC3UHDqjaSJqU9va2v
Destiny 2 VIP Access                  3495                 0 txn_1Gz4VOFC3UHDqjaSYhRjIfJ6
Destiny 2 VIP Access                  3495                 0 txn_1Gz6TAFC3UHDqjaSLhn1qQyT
Destiny 2 VIP Access                  3495                 0 txn_1Gz9EHFC3UHDqjaSuGI5Ko5X
Destiny 2 VIP Access                  1748                 0 txn_1GzctiFC3UHDqjaS325fkQDw
Destiny 2 VIP Access                  1748                 0 txn_1GzdOCFC3UHDqjaShLAiCCU8
Destiny 2 VIP Access                  3495                 0 txn_1GzhvDFC3UHDqjaShVmWS6Kj
Destiny 2 VIP Access                  3495                 0 txn_1GznbbFC3UHDqjaS7kEgJZHx
Destiny 2 VIP Access                  3495                 0 txn_1H01eHFC3UHDqjaS400TC4dn
Destiny 2 VIP Access                  1748                 0 txn_1H02nfFC3UHDqjaSlLLuMU7L
Destiny 2 VIP Access                  1748                 0 txn_1H05lfFC3UHDqjaS9xN0wErR
Destiny 2 VIP Access                  3495                 0 txn_1H0BnUFC3UHDqjaSADeBgYrN
Destiny 2 VIP Access                  3495                 0 txn_1H0E92FC3UHDqjaSy5Pbz0WB
Destiny 2 VIP Access                  3495                 0 txn_1H0EKrFC3UHDqjaSId0qGAXH
Destiny 2 VIP Access                  1748                 0 txn_1H0WGfFC3UHDqjaSejS4YtXI
Destiny 2 VIP Access                  1748                 0 txn_1H0jyxFC3UHDqjaSMh8h2eWl
Destiny 2 VIP Access                  3495                 0 txn_1H0nypFC3UHDqjaStwT2xt8I
Destiny 2 VIP Access                  3495                 0 txn_1H0qx0FC3UHDqjaSTN4ACPEK
Destiny 2 VIP Access                  1748                 0 txn_1H0v0gFC3UHDqjaSQHevma1c
Destiny 2 VIP Access                  1748                 0 txn_1H11FKFC3UHDqjaSwPEjjsLP
Destiny 2 VIP Access                  3495                 0 txn_1H13jVFC3UHDqjaSIZ0wxl5Q
Destiny 2 VIP Access                  3495                 0 txn_1H1No0FC3UHDqjaSrSfaWjEc
Destiny 2 VIP Access                  3495                 0 txn_1H1PFPFC3UHDqjaSOd6e6nAA
Destiny 2 VIP Access                  3495                 0 txn_1H1PM8FC3UHDqjaS7drUS3vd
Destiny 2 VIP Access                  3495                 0 txn_1H1STCFC3UHDqjaSIQRa9R68
Destiny 2 VIP Access                  3495                 0 txn_1H1cbrFC3UHDqjaSGj3A821Q
Destiny 2 VIP Access                  1748                 0 txn_1H1dYqFC3UHDqjaSdNVSmb8y
Destiny 2 VIP Access                  3495                 0 txn_1H1g7VFC3UHDqjaSEJqVh4iT
Destiny 2 VIP Access                  3495                 0 txn_1H1ko5FC3UHDqjaSAJHzZwYh
Destiny 2 VIP Access                  3495                 0 txn_1H1mQOFC3UHDqjaS3MsoUmZp



                                                 Page 6 of 14



                                               BX143.028
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 30 of 46


Bungie v. Aimjunkies et al.                                                       Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1H1ulmFC3UHDqjaS13LgRzma
Destiny 2 VIP Access                  3495                 0 txn_1H1xISFC3UHDqjaSt8WTej6U
Destiny 2 VIP Access                  2971                 0 txn_1H26cIFC3UHDqjaSgryjDypr
Destiny 2 VIP Access                  1748                 0 txn_1H28brFC3UHDqjaS0eezLQpa
Destiny 2 VIP Access                  3495                 0 txn_1H2M7WFC3UHDqjaSLnvalaBZ
Destiny 2 VIP Access                  3495                 0 txn_1H2QlrFC3UHDqjaSvHnDuLRM
Destiny 2 VIP Access                  3495                 0 txn_1H2ZvaFC3UHDqjaSCWp5mkHI
Destiny 2 VIP Access                  3495                 0 txn_1H2tC2FC3UHDqjaSY7gLUDv0
Destiny 2 VIP Access                  3495                 0 txn_1H30niFC3UHDqjaSMJ64QhWE
Destiny 2 VIP Access                  1748                 0 txn_1H3BqDFC3UHDqjaS2fU9Ollu
Destiny 2 VIP Access                  3495                 0 txn_1H3I54FC3UHDqjaSfFu7Y0ND
Destiny 2 VIP Access                  1748                 0 txn_1H3IKCFC3UHDqjaSRgystToL
Destiny 2 VIP Access                  3495                 0 txn_1H3SGhFC3UHDqjaSdnTCDF6q
Destiny 2 VIP Access                  3495                 0 txn_1H3UQtFC3UHDqjaSAhiIBqEX
Destiny 2 VIP Access                  1748                 0 txn_1H3ia3FC3UHDqjaSOc28q96r
Destiny 2 VIP Access                  3495                 0 txn_1H3tC1FC3UHDqjaSalxDwGl4
Destiny 2 VIP Access                  1748                 0 txn_1H3uwzFC3UHDqjaSeUX9YXEd
Destiny 2 VIP Access                  3495                 0 txn_1H40JmFC3UHDqjaS58QfsHgA
Destiny 2 VIP Access                  1748                 0 txn_1H45HBFC3UHDqjaSwL1HzVWx
Destiny 2 VIP Access                  1748                 0 txn_1H46dPFC3UHDqjaSgu1fMJ7p
Destiny 2 VIP Access                  3495                 0 txn_1H4CreFC3UHDqjaShNQ93Nel
Destiny 2 VIP Access                  3495                 0 txn_1H4In2FC3UHDqjaSyHb290mD
Destiny 2 VIP Access                  3495                 0 txn_1H4gDfFC3UHDqjaSPFH5ia3x
Destiny 2 VIP Access                  1748                 0 txn_1H4pKCFC3UHDqjaSVg8exHFC
Destiny 2 VIP Access                  3495                 0 txn_1H4uKTFC3UHDqjaS61ebLlik
Destiny 2 VIP Access                  3495                 0 txn_1H4uR4FC3UHDqjaSFrNW6FmC
Destiny 2 VIP Access                  3495                 0 txn_1H4uuhFC3UHDqjaSqKxVmsjH
Destiny 2 VIP Access                  3495                 0 txn_1H4x1vFC3UHDqjaSoxRV3Caj
Destiny 2 VIP Access                  3495                 0 txn_1H52DaFC3UHDqjaSrSjLHZ2j
Destiny 2 VIP Access                  1748                 0 txn_1H5GeRFC3UHDqjaSEhYJmmuE
Destiny 2 VIP Access                  3495                 0 txn_1H5XFKFC3UHDqjaShu67QWyk
Destiny 2 VIP Access                  3495                 0 txn_1H5YXcFC3UHDqjaSUCxz8lk6
Destiny 2 VIP Access                  3495                 0 txn_1H5ginFC3UHDqjaSNBtB3buq
Destiny 2 VIP Access                  3495                 0 txn_1H5l4hFC3UHDqjaSzEuJ3eho
Destiny 2 VIP Access                  3495                 0 txn_1H5pQWFC3UHDqjaSsNs8x4SK
Destiny 2 VIP Access                  3495                 0 txn_1H5pWsFC3UHDqjaSAUVPQjPL
Destiny 2 VIP Access                  3495                 0 txn_1H5ub1FC3UHDqjaS8YPqER4V
Destiny 2 VIP Access                  1748                 0 txn_1H665EFC3UHDqjaSIcjt5Orb
Destiny 2 VIP Access                  3495                 0 txn_1H66osFC3UHDqjaSZeJRVI33
Destiny 2 VIP Access                  3495                 0 txn_1H6BxHFC3UHDqjaSb2somlhp
Destiny 2 VIP Access                  3495                 0 txn_1H6FDwFC3UHDqjaSOF0Adh65
Destiny 2 VIP Access                  3495                 0 txn_1H6FQ3FC3UHDqjaS9nD31VjJ
Destiny 2 VIP Access                  1748                 0 txn_1H6GbBFC3UHDqjaSzQJURTm3
Destiny 2 VIP Access                  1748                 0 txn_1H6GcVFC3UHDqjaSeTKTifFj
Destiny 2 VIP Access                  3495                 0 txn_1H6RFQFC3UHDqjaS7mydJnE4
Destiny 2 VIP Access                  3495                 0 txn_1H6RhwFC3UHDqjaS8yE356VE
Destiny 2 VIP Access                  3495                 0 txn_1H6aNFFC3UHDqjaS1AnkTrX3
Destiny 2 VIP Access                  3495                 0 txn_1H6ahmFC3UHDqjaSJYrzZHA8
Destiny 2 VIP Access                  1748                 0 txn_1H6eblFC3UHDqjaSlZWhBtrz
Destiny 2 VIP Access                  3495                 0 txn_1H6iMdFC3UHDqjaS8jNqjrIR



                                                 Page 7 of 14



                                               BX143.029
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 31 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  1748                 0 txn_1H6pORFC3UHDqjaStoHLcHVt
Destiny 2 VIP Access                  3495                 0 txn_1H6zcuFC3UHDqjaSvGpMk962
Destiny 2 VIP Access                  3495                 0 txn_1H71WGFC3UHDqjaSogb2HPGa
Destiny 2 VIP Access                  3495                 0 txn_1H76XzFC3UHDqjaSjipo2W68
Destiny 2 VIP Access                  1748                 0 txn_1H7EOtFC3UHDqjaS5WQcyu5Q
Destiny 2 VIP Access                  3495                 0 txn_1H7TECFC3UHDqjaSt1dRzfCf
Destiny 2 VIP Access                  3495                 0 txn_1H7WNTFC3UHDqjaSEXmcxCEX
Destiny 2 VIP Access                  3495                 0 txn_1H7fhHFC3UHDqjaSmDCMFBEQ
Destiny 2 VIP Access                  3495                 0 txn_1H7r7WFC3UHDqjaSi6Y4t5uA
Destiny 2 VIP Access                  3495                 0 txn_1H8GlaFC3UHDqjaSCju4w99O
Destiny 2 VIP Access                  1748                 0 txn_1H8OgUFC3UHDqjaSvFHGD908
Destiny 2 VIP Access                  1748                 0 txn_1H8QNPFC3UHDqjaSN6Ri8UGS
Destiny 2 VIP Access                  3495                 0 txn_1H8cLMFC3UHDqjaS5FAzBH9l
Destiny 2 VIP Access                  3495                 0 txn_1H8tsqFC3UHDqjaSqDF0eToB
Destiny 2 VIP Access                  3495                 0 txn_1H8vRFFC3UHDqjaSNL4KXcxn
Destiny 2 VIP Access                  3495                 0 txn_1H91ghFC3UHDqjaS6oHnlXZh
Destiny 2 VIP Access                  1748                 0 txn_1H9Gr2FC3UHDqjaSmlygEY3S
Destiny 2 VIP Access                  3495                 0 txn_1H9JzGFC3UHDqjaSZs0iZsdc
Destiny 2 VIP Access                  3495                 0 txn_1H9UGXFC3UHDqjaSKEh77zsd
Destiny 2 VIP Access                  3495                 0 txn_1HAGeEFC3UHDqjaSjlkHFdlZ
Destiny 2 VIP Access                  3495                 0 txn_1HAYVcFC3UHDqjaS3GxFXIJl
Destiny 2 VIP Access                  3495                 0 txn_1HAf5dFC3UHDqjaS4dgFCGeV
Destiny 2 VIP Access                  1748                 0 txn_1HAwUPFC3UHDqjaS2YzwZ87Q
Destiny 2 VIP Access                  3495                 0 txn_1HBC2fFC3UHDqjaSupU76U6V
Destiny 2 VIP Access                  3495                 0 txn_1HBDzYFC3UHDqjaSg16kdeGT
Destiny 2 VIP Access                  1748                 0 txn_1HBK9IFC3UHDqjaS8FwwjPuw
Destiny 2 VIP Access                  3495                 0 txn_1HBPXCFC3UHDqjaSOuG40YVC
Destiny 2 VIP Access                  3495                 0 txn_1HBXjbFC3UHDqjaS8Gb31RfU
Destiny 2 VIP Access                  3495                 0 txn_1HBgQdFC3UHDqjaSxBhxQFvn
Destiny 2 VIP Access                  3495                 0 txn_1HBhp4FC3UHDqjaS0zcD9QtF
Destiny 2 VIP Access                  3495                 0 txn_1HBnHmFC3UHDqjaSG8v5BFT4
Destiny 2 VIP Access                  3495                 0 txn_1HBwyMFC3UHDqjaSpalhny7q
Destiny 2 VIP Access                  3495                 0 txn_1HCdMQFC3UHDqjaSJhuSVnTw
Destiny 2 VIP Access                  3495                 0 txn_1HCfDjFC3UHDqjaSBmsdyCdw
Destiny 2 VIP Access                  3495                 0 txn_1HCrNvFC3UHDqjaSrzWQ4rBy
Destiny 2 VIP Access                  3495                 0 txn_1HCzK7FC3UHDqjaSz7GpWNjG
Destiny 2 VIP Access                  3495                 0 txn_1HD7qxFC3UHDqjaSW5hrOggT
Destiny 2 VIP Access                  3495                 0 txn_1HD86wFC3UHDqjaSPZOR4j8i
Destiny 2 VIP Access                  3495                 0 txn_1HD8mLFC3UHDqjaSC2lCMPRh
Destiny 2 VIP Access                  1748                 0 txn_1HDCwMFC3UHDqjaSIXZbIVKE
Destiny 2 VIP Access                  3495                 0 txn_1HE1rrFC3UHDqjaSSb6JhnJS
Destiny 2 VIP Access                  1748                 0 txn_1HE9eUFC3UHDqjaS4aae8v0J
Destiny 2 VIP Access                  3495                 0 txn_1HECodFC3UHDqjaS4CZgUhMe
Destiny 2 VIP Access                  3495                 0 txn_1HEWSwFC3UHDqjaSdMM8skDe
Destiny 2 VIP Access                  2971                 0 txn_1HEcPTFC3UHDqjaS1cNsTwtt
Destiny 2 VIP Access                  3495                 0 txn_1HErRaFC3UHDqjaSnXwyf2Rc
Destiny 2 VIP Access                  1748                 0 txn_1HErbAFC3UHDqjaSteOteYHT
Destiny 2 VIP Access                  1748                 0 txn_1HEycqFC3UHDqjaSUH6StSxH
Destiny 2 VIP Access                  3495                 0 txn_1HEyhrFC3UHDqjaSfF772o1D
Destiny 2 VIP Access                  1748                 0 txn_1HF3zDFC3UHDqjaSj5suNmmC



                                                 Page 8 of 14



                                               BX143.030
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 32 of 46


Bungie v. Aimjunkies et al.                                                     Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1HF74RFC3UHDqjaSxYvwlafa
Destiny 2 VIP Access                  1748                 0 txn_1HFBCTFC3UHDqjaSDwXXrldf
Destiny 2 VIP Access                  1748                 0 txn_1HFD6kFC3UHDqjaS3NAIWBNi
Destiny 2 VIP Access                  1748                 0 txn_1HFZzPFC3UHDqjaSzJ38eLkn
Destiny 2 VIP Access                  1748                 0 txn_1HFjdFFC3UHDqjaSHSEvY9N1
Destiny 2 VIP Access                  3495                 0 txn_1HFohPFC3UHDqjaSNBQwOZJL
Destiny 2 VIP Access                  1748                 0 txn_1HFsuBFC3UHDqjaSsFhDMZX6
Destiny 2 VIP Access                  1748                 0 txn_1HG0LtFC3UHDqjaSlEk9FFca
Destiny 2 VIP Access                  3495                 0 txn_1HGO67FC3UHDqjaSqNOmwZYu
Destiny 2 VIP Access                  3495                 0 txn_1HGWoIFC3UHDqjaSutvoDdDk
Destiny 2 VIP Access                  3495                 0 txn_1HGbkwFC3UHDqjaS0l5jEHsL
Destiny 2 VIP Access                  1748                 0 txn_1HGgIbFC3UHDqjaSj7X7tiBO
Destiny 2 VIP Access                  1748                 0 txn_1HGmU4FC3UHDqjaSXBQS6MmQ
Destiny 2 VIP Access                  3495                 0 txn_1HGptNFC3UHDqjaSRoGGp0co
Destiny 2 VIP Access                  3495                 0 txn_1HGwltFC3UHDqjaS6Ag9mQi5
Destiny 2 VIP Access                  1748                 0 txn_1HH1NwFC3UHDqjaS1rFs2H2K
Destiny 2 VIP Access                  3495                 0 txn_1HH8SLFC3UHDqjaSjsbYZU5Q
Destiny 2 VIP Access                  3495                 0 txn_1HHIzxFC3UHDqjaSm0Fg4MxP
Destiny 2 VIP Access                  3495                 0 txn_1HHLpBFC3UHDqjaSWDAr67RX
Destiny 2 VIP Access                  1748                 0 txn_1HHW62FC3UHDqjaSkCBf8Nte
Destiny 2 VIP Access                  1748                 0 txn_1HHX1qFC3UHDqjaSgr9rpXpj
Destiny 2 VIP Access                  3495                 0 txn_1HHZllFC3UHDqjaSbEpGrkfi
Destiny 2 VIP Access                  3495                 0 txn_1HHluRFC3UHDqjaSaxBtg6dK
Destiny 2 VIP Access                  1748                 0 txn_1HHrrZFC3UHDqjaSACjOP5ux
Destiny 2 VIP Access                  3495                 0 txn_1HIGsbFC3UHDqjaSVz0ZvpDt
Destiny 2 VIP Access                  3495                 0 txn_1HIIMvFC3UHDqjaSBeZnoAW9
Destiny 2 VIP Access                  1748                 0 txn_1HITOaFC3UHDqjaScyMTYvkU
Destiny 2 VIP Access                  1748                 0 txn_1HImEuFC3UHDqjaSYYEIHQIX
Destiny 2 VIP Access                  1748                 0 txn_1HInhWFC3UHDqjaSOiAvBotm
Destiny 2 VIP Access                  3495                 0 txn_1HIsHiFC3UHDqjaS5F1XdfK6
Destiny 2 VIP Access                  1748                 0 txn_1HItAYFC3UHDqjaSQFd58GFn
Destiny 2 VIP Access                  3495                 0 txn_1HItMgFC3UHDqjaSS4vPOsct
Destiny 2 VIP Access                  3495                 0 txn_1HIyQfFC3UHDqjaSD9GGQwTN
Destiny 2 VIP Access                  3495                 0 txn_1HJ4VQFC3UHDqjaSdcuPHmbz
Destiny 2 VIP Access                  1748                 0 txn_1HJLioFC3UHDqjaSWBc1XhGB
Destiny 2 VIP Access                  3495                 0 txn_1HJPB4FC3UHDqjaSWrJa1TGS
Destiny 2 VIP Access                  3495                 0 txn_1HJRGuFC3UHDqjaS2NuszrC7
Destiny 2 VIP Access                  3495                 0 txn_1HJs2sFC3UHDqjaSMrGhb8Di
Destiny 2 VIP Access                  3495                 0 txn_1HJsSPFC3UHDqjaS25eTJa5j
Destiny 2 VIP Access                  3495                 0 txn_1HJtEGFC3UHDqjaS8BC8WUUZ
Destiny 2 VIP Access                  3495                 0 txn_1HJwB0FC3UHDqjaStIlgdrVO
Destiny 2 VIP Access                  3495                 0 txn_1HK9PKFC3UHDqjaSy80n79p9
Destiny 2 VIP Access                  1748                 0 txn_1HKSPWFC3UHDqjaS4binD9Ch
Destiny 2 VIP Access                  1748                 0 txn_1HKi63FC3UHDqjaSVFTBYCu5
Destiny 2 VIP Access                  1748                 0 txn_1HKpNIFC3UHDqjaSPKlaxfd6
Destiny 2 VIP Access                  3495                 0 txn_1HKzwDFC3UHDqjaSZJv5tKpK
Destiny 2 VIP Access                  1748                 0 txn_1HL3xSFC3UHDqjaSRG2KLkxU
Destiny 2 VIP Access                  1748                 0 txn_1HL7xdFC3UHDqjaSbcvOGwrq
Destiny 2 VIP Access                  3495                 0 txn_1HL9CJFC3UHDqjaSFNKyU1EM
Destiny 2 VIP Access                  1748                 0 txn_1HLBMSFC3UHDqjaSbKx63V5t



                                                 Page 9 of 14



                                               BX143.031
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 33 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1HLC2wFC3UHDqjaSgFU4hVYt
Destiny 2 VIP Access                  3495                 0 txn_1HLfXgFC3UHDqjaSHi3ZBSUs
Destiny 2 VIP Access                  3495                 0 txn_1HLs0vFC3UHDqjaSoUvcsVKK
Destiny 2 VIP Access                  3495                 0 txn_1HMB1jFC3UHDqjaSqVzgGESM
Destiny 2 VIP Access                  3495                 0 txn_1HMJgiFC3UHDqjaSAH6M5noF
Destiny 2 VIP Access                  3495                 0 txn_1HMQ9FFC3UHDqjaScbBnaYhV
Destiny 2 VIP Access                  1748                 0 txn_1HMT8uFC3UHDqjaSJKaYyOme
Destiny 2 VIP Access                  1748                 0 txn_1HMocZFC3UHDqjaS5ybyqJko
Destiny 2 VIP Access                  3495                 0 txn_1HN7T2FC3UHDqjaSRm106MtR
Destiny 2 VIP Access                  1748                 0 txn_1HNJSmFC3UHDqjaS71EVtEKL
Destiny 2 VIP Access                  3495                 0 txn_1HNL0gFC3UHDqjaScmW1TJ4b
Destiny 2 VIP Access                  1748                 0 txn_1HNM4vFC3UHDqjaSP62u2uqg
Destiny 2 VIP Access                  3495                 0 txn_1HNNhgFC3UHDqjaS6Ry8Zrg9
Destiny 2 VIP Access                  1748                 0 txn_1HNYDzFC3UHDqjaSp287ZZI4
Destiny 2 VIP Access                  3495                 0 txn_1HNdKRFC3UHDqjaSIzMqF2UG
Destiny 2 VIP Access                  3495                 0 txn_1HNkhVFC3UHDqjaSWwEzEXXt
Destiny 2 VIP Access                  3495                 0 txn_1HNmEZFC3UHDqjaSMU7WpbgE
Destiny 2 VIP Access                  3495                 0 txn_1HNo1hFC3UHDqjaSa9UwedBR
Destiny 2 VIP Access                  1748                 0 txn_1HODEQFC3UHDqjaSG3Ot1jKa
Destiny 2 VIP Access                  3495                 0 txn_1HOPL1FC3UHDqjaSQye1lC5e
Destiny 2 VIP Access                  3495                 0 txn_1HORCQFC3UHDqjaSgqTLDhdv
Destiny 2 VIP Access                  3495                 0 txn_1HORalFC3UHDqjaSv4XWx33Y
Destiny 2 VIP Access                  2971                 0 txn_1HOqayFC3UHDqjaSZjahucHZ
Destiny 2 VIP Access                  3495                 0 txn_1HP4qkFC3UHDqjaStkkvNs0b
Destiny 2 VIP Access                  3495                 0 txn_1HPEGsFC3UHDqjaSXVgcLzTw
Destiny 2 VIP Access                  3495                 0 txn_1HPGFlFC3UHDqjaSKzAqS5BT
Destiny 2 VIP Access                  3495                 0 txn_1HPGUnFC3UHDqjaSs5xv97RL
Destiny 2 VIP Access                  1748                 0 txn_1HPlSwFC3UHDqjaSEJeFnang
Destiny 2 VIP Access                  3495                 0 txn_1HQCSIFC3UHDqjaScTTH7D00
Destiny 2 VIP Access                  3495                 0 txn_1HQDzmFC3UHDqjaSekVFhYuD
Destiny 2 VIP Access                  1748                 0 txn_1HQPEKFC3UHDqjaSY3jIoWhc
Destiny 2 VIP Access                  3495                 0 txn_1HQUOlFC3UHDqjaSsStvOLpM
Destiny 2 VIP Access                  3495                 0 txn_1HQypVFC3UHDqjaShyqBFr4U
Destiny 2 VIP Access                  3495                 0 txn_1HR4GIFC3UHDqjaSf6n9Od9M
Destiny 2 VIP Access                  3495                 0 txn_1HR8PMFC3UHDqjaScohSlVcI
Destiny 2 VIP Access                  1748                 0 txn_1HRfpnFC3UHDqjaS6DXm3V5q
Destiny 2 VIP Access                  3495                 0 txn_1HRsjhFC3UHDqjaSCOy5IRpR
Destiny 2 VIP Access                  1748                 0 txn_1HSMsBFC3UHDqjaS6sjLO46v
Destiny 2 VIP Access                  3495                 0 txn_1HSdNlFC3UHDqjaSXceY84sb
Destiny 2 VIP Access                  1748                 0 txn_1HSkpCFC3UHDqjaSc2KZ599g
Destiny 2 VIP Access                  3495                 0 txn_1HTFYpFC3UHDqjaSCq6oE0bg
Destiny 2 VIP Access                  3495                 0 txn_1HTH19FC3UHDqjaSY3gs89yo
Destiny 2 VIP Access                  3495                 0 txn_1HULP9FC3UHDqjaSvIJW8dn1
Destiny 2 VIP Access                  1748                 0 txn_1HUNebFC3UHDqjaSrKMEkakQ
Destiny 2 VIP Access                  3495                 0 txn_1HUzuuFC3UHDqjaSYF0nxPkv
Destiny 2 VIP Access                  3495                 0 txn_1HVKOQFC3UHDqjaSqteklYum
Destiny 2 VIP Access                  3495                 0 txn_1HVU2pFC3UHDqjaSAQLvvBTV
Destiny 2 VIP Access                  3495                 0 txn_1HVVq1FC3UHDqjaSbxPECAfB
Destiny 2 VIP Access                  3495                 0 txn_1HVXBsFC3UHDqjaSbOYbIzAb
Destiny 2 VIP Access                  1748                 0 txn_1HVXOuFC3UHDqjaS9EhD0JLM



                                                Page 10 of 14



                                               BX143.032
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 34 of 46


Bungie v. Aimjunkies et al.                                                       Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1HVdKYFC3UHDqjaS6pi8WuST
Destiny 2 VIP Access                  3495                 0 txn_1HVqbGFC3UHDqjaSDhhTQuIO
Destiny 2 VIP Access                  1748                 0 txn_1HW0djFC3UHDqjaS9sNbVERJ
Destiny 2 VIP Access                  3495                 0 txn_1HWDjuFC3UHDqjaSUczKUzak
Destiny 2 VIP Access                  3495                 0 txn_1HWEIYFC3UHDqjaSxsCDsaIB
Destiny 2 VIP Access                  3495                 0 txn_1HWESbFC3UHDqjaSysZuEoHP
Destiny 2 VIP Access                  1748                 0 txn_1HWYMmFC3UHDqjaSl8uFI4iY
Destiny 2 VIP Access                  1748                 0 txn_1HWacpFC3UHDqjaSn9l6ibP5
Destiny 2 VIP Access                  3495                 0 txn_1HWlU7FC3UHDqjaShU9YMD5P
Destiny 2 VIP Access                  3495                 0 txn_1HXIV3FC3UHDqjaSNqWU8Nd4
Destiny 2 VIP Access                  3495                 0 txn_1HXThxFC3UHDqjaSCLSeP2YO
Destiny 2 VIP Access                  3495                 0 txn_1HXq6IFC3UHDqjaSCJmEMFO4
Destiny 2 VIP Access                  3495                 0 txn_1HXq8hFC3UHDqjaSI9x1zQkh
Destiny 2 VIP Access                  3495                 0 txn_1HXrWrFC3UHDqjaShKsaZ7rk
Destiny 2 VIP Access                  1748                 0 txn_1HY1WIFC3UHDqjaS6ejTTOW0
Destiny 2 VIP Access                  3495                 0 txn_1HYBlQFC3UHDqjaSmhkrWygj
Destiny 2 VIP Access                  3495                 0 txn_1HYHnSFC3UHDqjaSdoskOq59
Destiny 2 VIP Access                  3495                 0 txn_1HYPefFC3UHDqjaStnxjHjMF
Destiny 2 VIP Access                  3495                 0 txn_1HYQ5KFC3UHDqjaSj3hq6JLg
Destiny 2 VIP Access                  3495              3495 txn_1HYRr0FC3UHDqjaS9NnV1zZ3
Destiny 2 VIP Access                  3495                 0 txn_1HYteUFC3UHDqjaSkNai6SJa
Destiny 2 VIP Access                  3495                 0 txn_1HZ1yrFC3UHDqjaSbTbyzuPI
Destiny 2 VIP Access                  3495                 0 txn_1HZ5gCFC3UHDqjaSWKUEYgg3
Destiny 2 VIP Access                  1748                 0 txn_1HZ9eSFC3UHDqjaSCu4jRMgY
Destiny 2 VIP Access                  3495                 0 txn_1HZKAYFC3UHDqjaSvtoIpn0g
Destiny 2 VIP Access                  3495                 0 txn_1HZSdGFC3UHDqjaS7dtFwkyp
Destiny 2 VIP Access                  2971                 0 txn_1HZgXPFC3UHDqjaSBK8qkyuW
Destiny 2 VIP Access                  3495                 0 txn_1HZnhvFC3UHDqjaSBk0Rn5Vb
Destiny 2 VIP Access                  3495                 0 txn_1HZs7oFC3UHDqjaSZVfDMAaN
Destiny 2 VIP Access                  1748                 0 txn_1HZyfiFC3UHDqjaS4BFwKZ5B
Destiny 2 VIP Access                  3495                 0 txn_1HaEA6FC3UHDqjaSFv8swcjG
Destiny 2 VIP Access                  3495                 0 txn_1HaPMRFC3UHDqjaStHUdpkGH
Destiny 2 VIP Access                  1748                 0 txn_1HahGuFC3UHDqjaSzdeaUdFJ
Destiny 2 VIP Access                  3495                 0 txn_1Haj1XFC3UHDqjaSQ5ABfMDf
Destiny 2 VIP Access                  3495                 0 txn_1Hb76tFC3UHDqjaSL8Qm9pXc
Destiny 2 VIP Access                  3495                 0 txn_1HbU5HFC3UHDqjaSXCiYPtZR
Destiny 2 VIP Access                  3495                 0 txn_1HbXLxFC3UHDqjaSHfHXeBkl
Destiny 2 VIP Access                  3495                 0 txn_1HbdQIFC3UHDqjaS0qWo8uDG
Destiny 2 VIP Access                  3495                 0 txn_1HcBO6FC3UHDqjaSivSj9CN6
Destiny 2 VIP Access                  3495                 0 txn_1HcKRmFC3UHDqjaSm7jztMlr
Destiny 2 VIP Access                  1748                 0 txn_1HcMiRFC3UHDqjaSlW51LIq6
Destiny 2 VIP Access                  3495                 0 txn_1HcQa1FC3UHDqjaSqoO4v76f
Destiny 2 VIP Access                  3495                 0 txn_1HcZfmFC3UHDqjaSUy2iKXYQ
Destiny 2 VIP Access                  3495                 0 txn_1HcqJpFC3UHDqjaSE9mO70gU
Destiny 2 VIP Access                  1748                 0 txn_1Hd7L8FC3UHDqjaSBHWQg2va
Destiny 2 VIP Access                  3495                 0 txn_1HdLxpFC3UHDqjaSYjRYWyAA
Destiny 2 VIP Access                  1748                 0 txn_1Hdbs9FC3UHDqjaSXNBb36QU
Destiny 2 VIP Access                  3495                 0 txn_1Hdfm5FC3UHDqjaScquhyidH
Destiny 2 VIP Access                  3495                 0 txn_1HdmfoFC3UHDqjaSG0l2CiW7
Destiny 2 VIP Access                  3495                 0 txn_1HeCNLFC3UHDqjaSpeNEefKP



                                                Page 11 of 14



                                               BX143.033
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 35 of 46


Bungie v. Aimjunkies et al.                                                      Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1HeDCBFC3UHDqjaSfwQwTZiT
Destiny 2 VIP Access                  3495                 0 txn_1HeMRYFC3UHDqjaSzoXOSVAT
Destiny 2 VIP Access                  3495              3495 txn_1HePX1FC3UHDqjaSSMfx8LdL
Destiny 2 VIP Access                  3495                 0 txn_1HeSIwFC3UHDqjaSoAi6uP56
Destiny 2 VIP Access                  3495                 0 txn_1HeTAdFC3UHDqjaSTPR6DBGW
Destiny 2 VIP Access                  3495                 0 txn_1Hei93FC3UHDqjaSS1QU19IF
Destiny 2 VIP Access                  3495                 0 txn_1HetwXFC3UHDqjaSvtil6BzO
Destiny 2 VIP Access                  3495                 0 txn_1Heu9aFC3UHDqjaSkirpF8zk
Destiny 2 VIP Access                  3495                 0 txn_1HeuAUFC3UHDqjaSaDPjjJgH
Destiny 2 VIP Access                  3495                 0 txn_1HevHyFC3UHDqjaSojkyAfJa
Destiny 2 VIP Access                  3495                 0 txn_1Hex0YFC3UHDqjaSalALbIXj
Destiny 2 VIP Access                  3495                 0 txn_1Hf00RFC3UHDqjaSsEYFaRaf
Destiny 2 VIP Access                  3495                 0 txn_1Hf01oFC3UHDqjaSJ9EGJ4QJ
Destiny 2 VIP Access                  3495                 0 txn_1Hf8EtFC3UHDqjaSTF1gojWr
Destiny 2 VIP Access                  3495                 0 txn_1HfErNFC3UHDqjaSeJeh0ANr
Destiny 2 VIP Access                  3495                 0 txn_1HfOI5FC3UHDqjaSFVnlBUra
Destiny 2 VIP Access                  3495                 0 txn_1HfQwuFC3UHDqjaSoypxhPna
Destiny 2 VIP Access                  3495                 0 txn_1HfS2lFC3UHDqjaSwEHvEdF2
Destiny 2 VIP Access                  3495                 0 txn_1HfTYYFC3UHDqjaSTNPaWiv3
Destiny 2 VIP Access                  3495                 0 txn_1HfVdLFC3UHDqjaSbwxHVYI0
Destiny 2 VIP Access                  3495                 0 txn_1HfWHUFC3UHDqjaSUPdIsxqx
Destiny 2 VIP Access                  2971                 0 txn_1HfYrNFC3UHDqjaSWUqpFoBO
Destiny 2 VIP Access                  3495                 0 txn_1HfazXFC3UHDqjaSLMdnZAht
Destiny 2 VIP Access                  3495                 0 txn_1HfeTkFC3UHDqjaSDFdwdwgW
Destiny 2 VIP Access                  3495                 0 txn_1HfhIYFC3UHDqjaSF9FtySQs
Destiny 2 VIP Access                  1748                 0 txn_1HflzHFC3UHDqjaS47r0q8nl
Destiny 2 VIP Access                  3495                 0 txn_1HformFC3UHDqjaShfMUDAmd
Destiny 2 VIP Access                  3495                 0 txn_1HfpEmFC3UHDqjaSvHgw5H0B
Destiny 2 VIP Access                  3495                 0 txn_1HfrwuFC3UHDqjaS2VNBZuEk
Destiny 2 VIP Access                  3495                 0 txn_1Hg27NFC3UHDqjaS5ROjxvOP
Destiny 2 VIP Access                  3495                 0 txn_1Hg741FC3UHDqjaS27JLK6tk
Destiny 2 VIP Access                  3495                 0 txn_1HgRRXFC3UHDqjaSAerDiyWY
Destiny 2 VIP Access                  3495                 0 txn_1HgahdFC3UHDqjaSluYFVJJb
Destiny 2 VIP Access                  3495                 0 txn_1Hgd4NFC3UHDqjaSWN5TERvV
Destiny 2 VIP Access                  3495                 0 txn_1Hghw1FC3UHDqjaSr5vy0p43
Destiny 2 VIP Access                  3495                 0 txn_1HgitpFC3UHDqjaS68Yce8lU
Destiny 2 VIP Access                  3495                 0 txn_1HglrOFC3UHDqjaSyB2vRMNR
Destiny 2 VIP Access                  3495                 0 txn_1HgoJKFC3UHDqjaS3lkfMoZL
Destiny 2 VIP Access                  3495                 0 txn_1Hgx1jFC3UHDqjaSmMsOneso
Destiny 2 VIP Access                  3495                 0 txn_1HgypdFC3UHDqjaSxAsaiMnH
Destiny 2 VIP Access                  3495                 0 txn_1HgzDoFC3UHDqjaSxJMAnZx6
Destiny 2 VIP Access                  3495              3495 txn_1Hh1zKFC3UHDqjaSFVCGogPD
Destiny 2 VIP Access                  1748                 0 txn_1HhRSGFC3UHDqjaSAonOPvNk
Destiny 2 VIP Access                  3495                 0 txn_1HhW2FFC3UHDqjaS8GBHTg9N
Destiny 2 VIP Access                  3495                 0 txn_1HhddOFC3UHDqjaSM28PtfJm
Destiny 2 VIP Access                  3495                 0 txn_1HhoqUFC3UHDqjaS0hyw31ow
Destiny 2 VIP Access                  3495                 0 txn_1HhpaZFC3UHDqjaSYrtjfQoe
Destiny 2 VIP Access                  1748                 0 txn_1HhvRXFC3UHDqjaSDP7804P6
Destiny 2 VIP Access                  3495                 0 txn_1Hi2wfFC3UHDqjaSAnx8a5wr
Destiny 2 VIP Access                  3495                 0 txn_1Hi4zoFC3UHDqjaS4bMFi7DO



                                                Page 12 of 14



                                               BX143.034
          Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 36 of 46


Bungie v. Aimjunkies et al.                                                       Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  1748                 0 txn_1HiJBOFC3UHDqjaSJ2ONLZH3
Destiny 2 VIP Access                  3495                 0 txn_1HiLsUFC3UHDqjaSEOOlMMj2
Destiny 2 VIP Access                  1748                 0 txn_1HiLzrFC3UHDqjaS1k1vChyj
Destiny 2 VIP Access                  3495                 0 txn_1HiMr9FC3UHDqjaSMf0FaOaM
Destiny 2 VIP Access                  3495                 0 txn_1HiUEbFC3UHDqjaSs4MEV5dZ
Destiny 2 VIP Access                  3495                 0 txn_1HiVMmFC3UHDqjaSS1Sq9xyC
Destiny 2 VIP Access                  3495                 0 txn_1HiXdYFC3UHDqjaSknS5xPuW
Destiny 2 VIP Access                  3495                 0 txn_1HiapsFC3UHDqjaSofDLgh3v
Destiny 2 VIP Access                  3495                 0 txn_1HieQOFC3UHDqjaS7XTJpYcu
Destiny 2 VIP Access                  3495                 0 txn_1HiiFXFC3UHDqjaSKdbaPpeP
Destiny 2 VIP Access                  3495                 0 txn_1HikcOFC3UHDqjaSNziAT6C3
Destiny 2 VIP Access                  3495                 0 txn_1HirCNFC3UHDqjaSrPIjo0rT
Destiny 2 VIP Access                  3495                 0 txn_1HirlTFC3UHDqjaSkzHByeBe
Destiny 2 VIP Access                  3495                 0 txn_1Hj2iaFC3UHDqjaSUrz5wByj
Destiny 2 VIP Access                  3495                 0 txn_1HjM7MFC3UHDqjaS7kUe0dDo
Destiny 2 VIP Access                  3495                 0 txn_1HjQOiFC3UHDqjaSUoRCrgmL
Destiny 2 VIP Access                  3495                 0 txn_1HjTdAFC3UHDqjaSXxsl7Ez5
Destiny 2 VIP Access                  3495              3495 txn_1HjUjgFC3UHDqjaS3649baiu
Destiny 2 VIP Access                  3495                 0 txn_1HjbOOFC3UHDqjaSDIQT3rhi
Destiny 2 VIP Access                  1748                 0 txn_1HjlITFC3UHDqjaS0OcfxmUL
Destiny 2 VIP Access                  1748                 0 txn_1HjnNSFC3UHDqjaSo342bOTZ
Destiny 2 VIP Access                  3495                 0 txn_1HjnafFC3UHDqjaSTCtRV1vT
Destiny 2 VIP Access                  3495                 0 txn_1HjrCZFC3UHDqjaSZk8BNdoE
Destiny 2 VIP Access                  3495                 0 txn_1HjuGGFC3UHDqjaSYtBQ4UEu
Destiny 2 VIP Access                  1748                 0 txn_1Hk1eUFC3UHDqjaSCLrGvXwq
Destiny 2 VIP Access                  3495                 0 txn_1HkJr1FC3UHDqjaSgb0f2HeS
Destiny 2 VIP Access                  3495                 0 txn_1HkK66FC3UHDqjaSbrbeB4sM
Destiny 2 VIP Access                  3495                 0 txn_1HkPapFC3UHDqjaSYK1kfDZX
Destiny 2 VIP Access                  1748                 0 txn_1HkUWTFC3UHDqjaShQHkjHIm
Destiny 2 VIP Access                  3495                 0 txn_1HkX1aFC3UHDqjaS19Uhr6yf
Destiny 2 VIP Access                  3495                 0 txn_1HkXSsFC3UHDqjaS3CxZLfe2
Destiny 2 VIP Access                  3495                 0 txn_1HkZMjFC3UHDqjaSFThVfqYi
Destiny 2 VIP Access                  3495                 0 txn_1HkbscFC3UHDqjaSD01LGUgm
Destiny 2 VIP Access                  3495                 0 txn_1HkddXFC3UHDqjaSD0AbGHzW
Destiny 2 VIP Access                  3495                 0 txn_1HkekoFC3UHDqjaSdjO6S9wE
Destiny 2 VIP Access                  3495                 0 txn_1HkhxgFC3UHDqjaSmNiN2dDC
Destiny 2 VIP Access                  3495                 0 txn_1HkhyvFC3UHDqjaS8FvSlbFh
Destiny 2 VIP Access                  3495                 0 txn_1HkmrRFC3UHDqjaSHbSCcTqq
Destiny 2 VIP Access                  3495                 0 txn_1HkypGFC3UHDqjaSR42Iacd8
Destiny 2 VIP Access                  3495                 0 txn_1Hl0BQFC3UHDqjaSbW1R6NkO
Destiny 2 VIP Access                  3495                 0 txn_1Hl1xIFC3UHDqjaSe4ASVlui
Destiny 2 VIP Access                  3495                 0 txn_1Hl69qFC3UHDqjaSBF4XdIqj
Destiny 2 VIP Access                  3495                 0 txn_1Hl9b6FC3UHDqjaSG4VqQJqk
Destiny 2 VIP Access                  3495                 0 txn_1HlENXFC3UHDqjaSlkfcK1Ou
Destiny 2 VIP Access                  3495                 0 txn_1HlG3kFC3UHDqjaStvyLXHdK
Destiny 2 VIP Access                  3495                 0 txn_1HlKbFFC3UHDqjaS8apz5Uin
Destiny 2 VIP Access                  3495                 0 txn_1HlRiSFC3UHDqjaS21noqlKL
Destiny 2 VIP Access                  3495                 0 txn_1HlTyYFC3UHDqjaSfkYS6Rl8
Destiny 2 VIP Access                  3495                 0 txn_1HlcGNFC3UHDqjaSTk1APc7J
Destiny 2 VIP Access                  3495                 0 txn_1HldLoFC3UHDqjaSWlBDpYTG



                                                Page 13 of 14



                                               BX143.035
           Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 37 of 46


Bungie v. Aimjunkies et al.                                                       Schedule 2
Respondents' Sales per PDG0101.xlsx

Product                    Amount            Amount Refunded Balance_transaction_id
Destiny 2 VIP Access                  3495                 0 txn_1HlgaqFC3UHDqjaS8jCBxhmO
Destiny 2 VIP Access                  3495                 0 txn_1HllFfFC3UHDqjaSNlUe7gnr
Destiny 2 VIP Access                  3495                 0 txn_1Hm4tGFC3UHDqjaSPaEDgYZc
Destiny 2 VIP Access                  3495                 0 txn_1Hm5GPFC3UHDqjaSnDN5rPqb
Destiny 2 VIP Access                  3495                 0 txn_1Hm5cSFC3UHDqjaS3KdPPdLH
Destiny 2 VIP Access                  3495                 0 txn_1Hm7C9FC3UHDqjaS8s8S6Ubt
Destiny 2 VIP Access                  3495                 0 txn_1Hm8YxFC3UHDqjaSzEYGTxRl
Destiny 2 VIP Access                  3495                 0 txn_1HmSkXFC3UHDqjaSNc2XDdzj
Destiny 2 VIP Access                  3495                 0 txn_1HmTcwFC3UHDqjaSCP1SabBT
Destiny 2 VIP Access                  3495                 0 txn_1HmTdvFC3UHDqjaStr9ziTNX
Destiny 2 VIP Access                  3495                 0 txn_1HmTlxFC3UHDqjaSzthge6yo

                               Total              Less             Assumed Net Total
Total (Divided by 100)      $ 20,430.85 $            209.70 $                      20,221.15
Count                                661                   6                             655




                                                Page 14 of 14



                                               BX143.036
        Case 2:21-cv-00811-TSZ DocumentExhibit
                                        124-21 Filed 05/01/23 Page 38 of 46




Drew E. Voth
CPA/CFF, CIRA/CDBV, CFE, CVA




Senior Director, Advisory Services
As a Senior Director in Alvarez and Marsal’s               A past member of the AICPA’s FVS Damages Task
valuation and litigation support practice, Mr. Voth        Force, Mr. Voth co-authored the practice aid book
brings significant financial consulting experience to      Calculating Damages in Intellectual Property Disputes, 4th
his clients in the areas of forensic accounting,           edition.
valuation, reorganization, and expert witness
testimony.                                                 Professional qualifications and
                                                           memberships
Experience
                                                            Certified Public Accountant
Mr. Voth brings his 30 years of experience in
                                                            Certified Insolvency and Restructuring Advisor,
accounting, finance, valuation, economics and                Certified in Distressed Business Valuation
statistics to bear on earnings evaluations, reasonable
                                                            Certified Valuation Analyst
royalty studies, valuations, damages studies, licensing,
                                                            Certified Fraud Examiner
and other areas. He has testified in deposition
and/or trial in a variety of matters including              Member of Assoc. of Certified Fraud Examiners
intellectual property infringement, class action,           Member of Assoc. of Insolvency Advisors
defamation, employment, investigation, and breach           Member of National Association of Certified
of contract matters.                                         Valuators and Analysts
                                                            Member of the AICPA, Certified in Financial
Notable engagements include: prevailing testimony            Forensics
in the oft-cited copyright infringement indirect            Member of the Licensing Executives Society
damages matter Mackie v. Reiser, 296 F.3d 909 (9th
                                                            Member WA State Patent Law Association
Cir. 2002); a no-damage ruling in an underlying
                                                            Past Treasurer, Habitat for Humanity, San
patent infringement legal malpractice claim in excess
                                                             Gabriel Chapter, and ArtsWest
of a billion dollars; testimony in multiple class action
matters; and multimillion dollar awards in various         Education/Former Firms
matters including breach of contract and theft of          Mr. Voth holds an honors degree in economics from
trade secret matters.                                      Pomona College. Former firms: PwC, Arthur
                                                           Andersen, KPMG, FTI, Grant Thornton
Mr. Voth has provided consulting to clients in many
industries, including consumer products, aerospace,        Contact details
hospitality, telecommunications, gaming, computer          1111 3rd Avenue, Suite 2450
software, computer hardware, bio-pharma, medical           Seattle, WA 98101
                                                           206.664.8954 Direct
specialty products, retail, manufacturing, natural
                                                           206.948.6962 Mobile
resources and others.                                      drew.voth@alvarezandmarsal.com




                                                 BX143.037
     Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 39 of 46




Drew E. Voth
Trial Testimony (clients underlined)
  U.S. District Court, Central District of California
      Vital Pharmaceuticals, Inc. d/b/a Bang Energy, and JHO Intellectual Property Holdings, LLC v.
      PhD Marketing, Inc. et al.

  Superior Court of the State of Washington in and for King County
     Providence Health & Services v. Atigeo Corporation

  U.S. District Court, Middle District of Florida at Orlando
      National Products, Inc. v. High Gear Specialties, Inc.

  Franklin County Superior Court, Washington
      Hilt Investment Holdings, LLC and Northwest Motorsport, Inc. v. J. Dudley LLC, Bulldog Motors,
      LLC, and Frank and Julie Lindstrom

  Pierce County Superior Court, Washington
       Conmed, Inc. v. Pierce County

  U.S. District Court, Anchorage Alaska
      Anthony Henry v. Municipality of Anchorage, Anchorage Police Department, and Mark Mew


  U.S. District Court, Western District of Washington at Seattle
      Eko Brands, LLC. v. Adrian Rivera Maynez Enterprises, Inc. and Adrian Rivera

  U.S. District Court, Wester District of Washington at Seattle
      National Products, Inc. v. Arkon Resources, Inc.

  U.S. District Court, District of Oregon, Eugene Division
      Omnigen Research, LLC and Prince Agri Products, Inc. v. Yongqiang Wang, Yan Zheng and
      Bioshen

  U.S. District Court, Northwestern Division, North Dakota
      Energy Heating, LLC and Rocky Mountain Oilfield Services, LLC v. Heat On The Fly, LLC and
      Super Heaters North Dakota, LLC

  U.S. District Court, Western Washington
     Pacific Bioscience Laboratories, Inc. v. Nutra Luxe et al.




                                             BX143.038
     Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 40 of 46




  Washington County, Oregon
   Ivey Imaging, LLC v. Jackie Reeder and Vertis, Inc.

  State District Court, Idaho
     Arnzen v. Fisher Broadcasting



Arbitration Testimony (clients underlined)
  Arbitration, NP4019, ACS 19-02
      International Brotherhood of Electrical Workers Local 1547 v. Alaska Communications

  Arbitration, Los Angeles
      Orange Bang, Inc., et al. v. Vital Pharmaceuticals, Inc. d/b/a VPX Sports

  Arbitration, International Chamber of Commerce, International Court of Arbitration
      Kabushiki Kaisha Too Marker Products, Inc. v. Imagination International, Inc. and John Darland

  Arbitration, Chicago, Illinois
      Wedi Corp. v. Brian Wright and Sound Product Sales, L.L.C.

  Arbitration, Seattle, Washington
      Northwest Motorsport, Inc. v. Sunset Chevrolet, Inc., Sunset Trucks, Inc. and Phillip Mitchell

  Arbitration, Seattle, Washington
      Paula’s Choice, LLC v. Paula’s Choice (Australia) Pty, Ltd.

  Arbitration, Seattle, Washington
    Avanti Markets, Inc. v. Certefi, Inc.


Deposition Testimony (clients underlined)
  U.S. District Court, Western District of Texas, Waco Division
      Arruda, et al. v. Curves International, Inc., et al.

  U.S. District Court, Western District of Wisconsin
      National Products, Inc. v. ProClip USA, Inc. and Brodit AB

  U.S. District Court, Central District of California
      Vital Pharmaceuticals, Inc. d/b/a Bang Energy, and JHO Intellectual Property Holdings, LLC v.
      PhD Marketing, Inc. et al.




                                            BX143.039
   Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 41 of 46




Superior Court of the State of Washington in and for King County
   Providence Health & Services v. Atigeo Corporation

U.S. District Court, Western District of Washington at Seattle
    Mountaineers Foundation v. The Mountaineers

U.S. District Court, Northern District of California, San Francisco Division
    Atari Interactive, Inc. v. Teespring, Inc.

Arbitration, Los Angeles
    Orange Bang, Inc., et al. v. Vital Pharmaceuticals, Inc. d/b/a VPX Sports

U.S. District Court, Central District of California
    Monster Energy Company, et al. v. Vital Pharmaceuticals, Inc. d/b/a VPX Sports, a Florida
    Corporation; and Jack H. Owoc, a.k.a. Jack Owoc, an individual

U.S. District Court, Western District of Washington at Seattle
    Philips North America LLC v. Summit Imaging, Inc. and Lawrence Nguyen

Arbitration, Seattle Washington
    Brian Simmons v. Kevin Britton-Simmons and Todd Britton-Simmons

U.S. District Court, Western District of Washington at Seattle
    Corus Realty Holdings, Inc. v. Zillow Group, Inc., Zillow, Inc., and Trulia, LLC

U.S. District Court, Northern District of California
    Primus Group, Inc. v. Institute for Environmental Health, Inc.

U.S. District Court, Western District of Washington at Seattle
    Phytelligence, Inc. v. Washington State University

U.S. District Court, District of Oregon
    Leupold & Stevens, Inc. v. Lightforce USA, Inc., d/b/a Nightforce Optics and Nightforce USA

Superior Court of Washington for King County
   Conmed LLC f/k/a Conmed, Inc. v. Pierce County

Franklin County Superior Court, Washington
    Hilt Investment Holdings, LLC and Northwest Motorsport, Inc. v. J. Dudley LLC, Bulldog Motors,
    LLC, and Frank and Julie Lindstrom

U.S. District Court, Central District of California at Santa Ana
    National Products, Inc. v. Arkon Resources, Inc.




                                           BX143.040
   Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 42 of 46




U.S. District Court, Central District of California at Santa Ana
    National Products, Inc. v. Wireless Accessories Solutions, Inc. (Patent matter)

U.S. District Court, Central District of California at Santa Ana
    National Products, Inc. v. Wireless Accessories Solutions, Inc. (Trademark matter)

U.S. District Court, Middle District of Florida at Orlando
    National Products, Inc. v. High Gear Specialties, Inc.

U.S. District Court, Western District of Washington at Seattle
    National Products, Inc. v. Bracketron, Inc.

Superior Court of Washington, Pierce County
   Northwest Motorsport, Inc. v. Sunset Chevrolet, Inc., Sunset Truck, Inc., and Phillip Mitchell

U.S. District Court, Western Washington
    Talking Rain Beverage Company, Inc. v. DS Services of America, Inc.

U.S. District Court, Anchorage Alaska
    Anthony Henry v. Municipality of Anchorage, Anchorage Police Department, and Mark Mew

U.S. District Court, Western Washington
    Tefere Abebe Bikila, et al. v. Vibram USA, Inc., et al.

U.S. District Court, Western Washington
   Microban Systems, Inc. and Microban Liquids, LLC v. Skagit Northwest Holdings, Inc., II Rep-Z,
   Inc. dba ProRestore Products; and Dri-Eaz Products, Inc

Arbitration, Seattle, Washington
    Northwest Motorsport, Inc. v. Sunset Chevrolet, Inc., Sunset Trucks, Inc. and Phillip Mitchell

U.S. District Court, Western Washington
   Juli Adams v. The Hartz Mountain Corporation

Arbitration, Seattle, Washington
    Paula’s Choice, LLC v. Paula’s Choice (Australia) Pty, Ltd.




                                           BX143.041
   Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 43 of 46




U.S. District Court, Northwestern Division, North Dakota
    Energy Heating, LLC and Rocky Mountain Oilfield Services, LLC v. Heat On The Fly, LLC and
    Super Heaters North Dakota, LLC

U.S. District Court, Central District of California, Western Division
   Grupo Bimbo, S.A.B. De C.V.; and Barcel USA, LLC, v. Snak-King Corp.; and The Trustee of the
   Levin Family 2010 Irrevocable Gift Trust

Bonneville County, Idaho
  Melaleuca, Inc. and Frank L. VanderSloot v. The Foundation for National Progress et al.

U.S. District Court, Western Washington
    Jack Mackie v. Bonnie Rieser and Seattle Symphony Orchestra




                                        BX143.042
       Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 44 of 46




Drew E. Voth
Publications
Calculating Damages in Intellectual Property Disputes, 4th Edition, 2019, published by the
American Institute of Certified Public Accounts and the Chartered Institute for Management
Accountants

Posts on https://amonsocial.alvarezandmarsal.com/:
             Supreme Courts Sides with Google over Oracle in Copyright Dispute, 4/12/2021
             Supreme Court Settles Circuit Split on Trademark Damages, 9/29/2020
             Covid-19 Has Exposed Massive Fraud Weaknesses, 9/27/2020
             SCOTUS to Settle 10-Year, $8.8 Billion Copyright Battle Between Google and
                Oracle, 12/19/2019
             Supreme Court to Settle Circuit Split on Trademark Damages, 10/22/2019
             Defend Trade Secrets Act, 10/3/2019
             Changing Patent Rules, 9/17/2019
             New IP Damages Book, 9/6/2019

Misapplication of Gordon Growth Model Can Lead to Undervaluing, Business Valuation Resources,
Business Valuation Update, May 2015

Intellectual Property Licenses and Bankruptcy: The Latest Word, American Bar Association’s Business
Law Today, August 2014

Apportionment of Intellectual Property Value – Where Economic Theory Meets Legal Practice,
The Federal Lawyer, Oct/Nov 2013

The Clear Decision in Uniloc Needs Clarification, les Nouvelles, March 2013

Anatomy of a Record-Setting $1.17 Billion Patent Verdict, Action Matters Update, January 2013

Recent Entire Market Value Rule Opinions Impact Patent Valuation, les Nouvelles, September 2011

Delaware Chancery Court Update, Business Valuation Monitor, May 2011

Patent Damages Apportionment and the Cornell Case, Website of William Carleton Counselor @
Law, www.wac6.com, October 2010

Recent Court Opinions Impact Patent Valuation, Business Valuation Monitor, September 2010




                                              BX143.043
        Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 45 of 46




Drew E. Voth
Speeches
Annual Economic Damages Case Law Update, AICPA, October 2020
Calculating Damages in Intellectual Property Disputes: New Guidance, Business Valuation Resources, August 2019
Economic Damages Update – Reasonable Certainty, Lost Profits and Intellectual Property, AICPA, May 2019
Strategic Intellectual Property Commercialization, University of Washington School of Law, Seattle, WA, ongoing
Current Issues in IP Litigation, American Institute of CPAs Forensic and Valuation Services Conference, Nashville TN,
November 2016
Techniques for IP Valuation and How Recent Challenges in US Law Affect Valuations, Licensing Executives Society,
Vancouver B.C. Chapter, May 2016
IP value – techniques, recent court decisions, and the impact of proposed USPTO changes, Licensing Executives
Society, Seattle WA Chapter, January 2016
Pricing IP – The Cost of a License or Damages, Washington State Bar Association 10th Annual IP Licensing Seminar,
May 2015
Patent Infringement Reasonable Royalty Damages Strategies in Light of Recent Federal Circuit Decisions, The
Knowledge Congress, October 2013
Accounting for Lawyers, K&L Gates, July 2013
AICPA Expert Witness Skills Workshop, July 2013
Kirkland Institute for Trial Advocacy, Kirkland & Ellis, March 2013
IP in Divorce: Dividing Patents, Copyrights, and Trademarks, Business Valuation Resources, May 2012
Intellectual Property and Other Intangibles: A Practical Approach to Assigning Value, Tech America, November 2011
Understanding the Recent Bankruptcy Court Decision Regarding Intellectual Property Rights of Licensees from Foreign
Owners, The Knowledge Congress, September 2011
Roundtable on Patent and Trademark Damages: Fundamentals and Emerging Trends, King County Bar Association,
June 2011
Valuation 101, Miller Nash, May 2011
Business Valuation and Damages, Microsoft, May 2011
Sea Change In Patent Damages, Licensing Executives Society, Seattle Chapter, April 2011




                                                  BX143.044
Case 2:21-cv-00811-TSZ Document 124-2 Filed 05/01/23 Page 46 of 46


                     Exhibit 2: Documents Considered


 2020.12.02 aimjunkies.com - Forums - Destiny 2 Aimbot - purchase.pdf
 2020.12.02 aimjunkies.com - Forums - Destiny 2 Aimbot.pdf
 2022-02-10 Bungie_s Demand for Arbitration.PDF
 2022-06-22 Respondents Response to Demand for Arbitration.PDF
 2022-07-28 Proposed Protective Order (JAMS).PDF
 2022-09-02 Phoenix Digital Supplemental Response 1st ROGs.PDF
 AimJunkies website 2022Sep13.pdf
 PayPal0000034 [Confidential].xlsx
 PDG0101 [Attorneys Eyes Only].xlsx




                                  BX143.045
